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           Exhibit F
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                                 The Pork Industry
                                 at a Glance




                           For the latest updates, visit pork.org or call the
                           Pork Checkoff Service Center (800) 456-7675.
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                                                                       Quick Facts




Welcome...

Thank you for your interest in learning more about the dynamic U.S.
Pork Industry through Quick Facts, a Pork Checkoff publication.
As you’ll see in the following pages, the story of pork production in
America offers a unique and fascinating look at how modern livestock
production has evolved. While the economies of scale are unlike those
of past decades, the commitment of today’s pork producers remains
unchanged – to provide their communities and the world with safe,
wholesome and sustainable sources of high-quality pork.

For 25 years, the Pork Checkoff has worked successfully to advance the
pork industry through promotion, research and consumer information
programs. Through these efforts, U.S. pork producers continue to lead
agriculture in the adoption of new technologies and have achieved
record-high productivity. For example, output per breeding animal has            Chris Novak
more than doubled in the past 30 years, while the U.S. breeding herd has   National Pork Board CEO
been reduced by more than 50 percent. This tremendous improvement
in productivity has translated into a continued good value to consumers
who purchase pork.

Despite the ongoing pursuit of efficiency by today’s pork producers, the
industry continues to face substantial challenges in the complex, global
food system. Regardless of these pressures, however, producers of all
sizes and types of operations continue their dedication to creating a
high-quality ideal protein source that’s produced in an environmentally
friendly and humane manner. The industry’s We Care initiative
underscores this enduring commitment.

For more information, visit the Pork Checkoff’s website at pork.org or
call the Pork Checkoff Service Center at (800) 456-7675.

Cordially,




                                                                                                     3
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Pork Checkoff
History
  The National Pork Board, which provides the
producer leadership for the Pork Checkoff, is the
descendent of a long line of U.S. pork associations.
The associations were formed by pork producers
who faced profitability challenges and knew that they
could best address these common issues by working
together and jointly finding sources of funding.
  The organization traces its roots to the mid-
1950s when a group of producers, concerned about
the future growth and profitability of the pork
industry, organized the National Swine Growers
Council (NSGC). In 1965, this group evolved into
the National Pork Producers Council (NPPC), as it
took the first steps toward creating the meat-type pig
needed to produce pork products consumers desired.

“Moline 90”
   In May 1966, about 90 pork producers from
Illinois, Indiana, Iowa, Kansas, Minnesota, Missouri,    Stockyards Act that opened the way for a voluntary
Nebraska, North Carolina, South Dakota, Tennessee        checkoff system. Reflecting the forward-thinking
and Wisconsin met in Moline, Ill. This group, which      of producers back then, as well as today, this
came to be known as the “Moline 90”, gathered to         represented the first voluntary checkoff program.
establish a voluntary checkoff.
   The group agreed to hire the first full-time          “Nickels for Profits”
executive secretary for the council and to raise,
through contributions, a “Get Ready Fund” of                In 1967, after months of organizing at the county
$40,000. A bank note was passed around and eight         and state levels, NPPC started the voluntary “Nickels
pork producers signed it, obligating each of them to     for Profit” checkoff in six counties in Iowa and
pay if the “Get Ready Fund” was not raised. The note     Illinois. The first check received was for $4.90. By
was never needed.                                        1968, producer enthusiasm had spread, with 16
   With some funds and staff, NPPC began moving          states organized and the nickel checkoff program
toward development of the meat-type hog that             launched nationwide.
more health-conscious consumers were beginning              By 1970, NPPC membership rose to 40,000
to demand. Realizing that promotion would create         producers with a $1 million operating budget.
more pork sales, producer leaders sought U.S.            In response to members’ increasing needs for
Congressional action that would permit a market          promotion and research, the checkoff increased over
deduction to fund product promotion. They                the years from a nickel, to a dime, to 20 cents, then
succeeded in getting amendments to the Packers and       to 0.3 percent of each hog’s market value.




                                                                                                     Pork Checkoff 7
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        Pork Promotion, Research and                               to strengthen the position of the pork industry in the
        Consumer Information Act of 1985                           marketplace, and to maintain, develop and expand
                                                                   markets for pork and pork products. Checkoff funds
           The need for additional funds to keep pork              cannot be used for influencing government or for
        competitive with other meat and poultry helped             lobbying efforts.
        producers make the decision to move from a                   The Pork Checkoff funds programs in the
        voluntary to a legislative checkoff. A “100 percent        following areas:
        Producer Task Force” organized an effort that led to         • Promotion – Centered on Pork. The Other
        the successful passage of federal legislation – The Pork   White Meat®, one of the best-known advertising lines
        Promotion, Research and Consumer Information               in history, the Pork Checkoff’s primary function is to
        Act of 1985, more commonly referred to as the Pork         promote pork in the United States and abroad.
        Act, as part of the 1985 Farm Bill.                          • Consumer information – Teaching consumers
           After being overwhelmingly approved by a                about the characteristics, versatility, and uses of
        producer referendum, the national legislative Pork         today’s pork products and making them aware of the
        Checkoff was set in motion under the supervision           role that pork plays in a balanced healthy diet is an
        of the U.S. Department of Agriculture (USDA)               important part of the board’s promotion activities.
        Agriculture Marketing Service. The Checkoff is               • Research – Unique among commodity programs,
        designed to provide funds for pork promotion,              the Pork Act enables the Pork Checkoff to conduct
        research and consumer information to enhance pork          research on a wide variety of topics, ranging from
        producers’ opportunity for success.                        production methods to product development to
           Under the terms of the Pork Act, all pork               environmental solutions. Pork Checkoff education
        producers and importers of pigs and pork products          programs complete this activity by making research
        contribute a portion of all sales. The current             results available to producers.
        checkoff rate is 0.4 percent of value (i.e., 40 cents
        for every $100 market value). The Pork Act created
        the National Pork Board, which is responsible for
        collecting the Checkoff and administering Checkoff-
        funded programs that benefit producers with all
        sizes of operations.
           The National Pork Board is made up of 15
        members who are nominated by the Pork Act
        Delegate Body and appointed by the secretary of
        agriculture. The board is headquartered in Des
        Moines, Iowa.
           Since 2001, the National Pork Board has assumed
        responsibility for promotion, consumer education
        and research programs. NPPC, supported by
        producer membership, has responsibility for public
        policy affecting pork producers.

        Promotion, Consumer
        Information and Research
          The Pork Act stipulates that Checkoff funds must
        be used for promotion, research and consumer
        information programs. These programs are designed




8   Pork Checkoff
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 Frequently Asked
 Questions
What is the National Pork Board and                          Do you have
how are its members appointed ?                              a Web site?
Through a legislative national Pork Checkoff, pork           Yes, two. At pork.
producers invest $0.40 for each $100 value of hogs           org you’ll find
sold. The 15-member National Pork Board collects             information about
Checkoff funds and implements research, promotion            pork production,
and consumer information programs, such as                   along with updates
advertising, retail marketing, export promotion,             on Pork Checkoff
production improvement, and environmental                    research and
management.                                                  education. For pork recipes, consumer information and
   At Pork Forum, the industry’s annual business             more, visit TheOtherWhiteMeat.com.
meeting, delegates from all the state associations
nominate new members of the National Pork
Board. The list is then given to the U.S. Secretary of       Where can I get a meat cut poster?
Agriculture, who selects the final board members.            Meat-cut charts and posters are available for purchase by
The board members are featured on the Checkoff’s                                             calling (800) 456-PORK
Web site at pork.org.                                                                        (7675). Or you can
                                                                                             download them online
                                                                                             at the Pork Store at
      Where can I purchase pig parts                                                         pork.org.
      (ears, feet, intestines, tails or
      other non-meat)?
      Contact one of the following associations for           How do I convert a carcass price to a
      assistance: American Association of Meat                live price?
      Processors, www.aamp.com; North American                Multiply the carcass price by 0.74 to convert the carcass
      Meat Processors Association, www.namp.                  price to the live price. To convert the live price to the
      com; or the American Meat Institute at www.             carcass price, divide by 0.74.
      meatami.com.



                                 Do you collect Checkoff on the Canadian hogs that come
                                 into the United States?
                                 Just as all U.S. pork producers pay the Pork Checkoff, so do importers. The same
                                 assessment of $0.40 per $100 of value is paid when pigs are sold and when pigs or
                                 pork products are brought into the United States.




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                                                                     What is the Transport Quality
       What steps are producers taking                               Assurance™ (TQA) program?
       to improve animal well-being?                                                                      TQA helps swine
       The Checkoff’s Pork Quality Assurance® Plus (PQA                                                   transporters,
       Plus®) program incorporates 10 Good Production                                                     producers and
       Practices so producers can measure, track and                                                      handlers learn how
       continuously improve animal well-being and focus                                                   to handle, move
       on food safety. Also, the Youth PQA Plus provides                                                  and transport pigs
       an education program to increase animal well-being                                                 properly, as well
       awareness among pork producers ages 8 to 18.                                                       as understand the
                                                                                                          potential impacts
                                                                                                          of those actions
       Who can certify producers in PQA Plus?                                                             on pig well-being
       Advisors can include veterinarians, university Extension      and pork quality. Two types of individuals can be
       specialists and ag educators with a B.S. or equivalent        certified through the program. A handler receives TQA
       in animal science or a related field; two years of recent,    certification to move, handle and transport pigs. An
       documentable swine production experience and PQA
                                                                     advisor is trained by the Pork Checkoff and can offer
       Plus advisor training taken from a PQA Plus trainer.
                                                                     certification training and administer exams to handlers.

       How do I go about having a PQA Plus
       site assessment performed?                                    Does the Pork Checkoff offer
       After receiving PQA Plus certification, producers may         educational materials for producers?
       obtain PQA Plus site status for a production site by          Factsheets, brochures, DVDs and research data on a
       having an assessment of animal well-being practices           wide range of topics are available at pork.org or by
       at that production site. Producers can request that a         calling (800)-456-PORK (7675).
       PQA Plus Advisor perform the on-site assessment.
       Or, producers can self-assess their site after receiving
                                              training and
                                                                     What about pork’s carbon footprint?
                                              endorsement to
                                              do so from a PQA       A recent greenhouse gas (GHG) emission report from
                                              Plus Advisor. For      the U.S. Environmental Protection Agency shows that
                                              more information,      the livestock industry only generates 2.4 percent of the
                                              log onto Pork.org.     total GHG emissions in the United States. The pork
                                                                     industry’s contribution is about one third of 1 percent
                                                                     of the total, thanks in part to improved management of
                                              How often              swine diets and proper manure management.
                                              do I need
                                              to recertify?
                                              A PQA Plus pro-
                                              ducer certification
                                              and PQA Plus site
                                              status are valid for
                                              three years.




10   Frequently Asked Questions
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How have pork and hog prices
changed over time?
Pork prices are cyclical
and depend on many
supply and demand
factors, both at home and
abroad. Looking back 40
years, hog prices rose in
the 1970s, as did the prices
of many other agricultural
products. Hog prices
stabilized in the 1980s                              Where can I find the delicious pork
and trended downward                                 burgers/ pork chops. etc., that I
into the 1990s, due to new technologies and          had at my local state fair?
production efficiencies.                             Contact your state pork association (see the
    By 2004, both pork and hog prices rose again,    Names and Numbers section on pork.org) or
with pork prices reaching record levels and hog      the group that had the fair booth.
prices nearly matching record levels. By the
fourth quarter of 2007, however, producers began
to experience economic losses, and a downturn
in the global economy in 2008, combined with
the outbreak of the H1N1 flu virus in 2009,
created a perfect storm for the pork industry.
    As prices declined, producers began taking
steps to reduce the supply, which is one of the
few steps producers of commodities can take to
raise prices.


What’s the role of the National
Pork Board and the National Pork
Producers Council?
The National Pork Board, which represents all
producers by law, collects Pork Checkoff funds
and uses those funds for education, promotion,
research and communication. The National
                                                     Does today’s pork fit into a
Pork Producers Council collects voluntary
funds and uses them to manage industry and
                                                     healthy diet?
legislative issues affecting the pork industry and   As a good source of protein and nutrients, lean
its members.                                         pork plays a key role in eating right. You can
                                                     find the latest nutritional information, plenty
                                                     of pork recipes, cooking tips and more at
                                                     TheOtherWhiteMeat.com.




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                                                                   Does the USDA buy any pork for
                                                                   our school lunch programs?
                                                                   Yes. For 2009/2010, USDA bought 100 million
                                                                   pounds, valued at $165 million, for food as-
                                                                   sistance programs, including food aid, school
                                                                   lunch and breakfast. Also,
                                                                   the Pork Checkoff devel-
                                                                   ops nutritionally balanced
                                                                   pork recipes, from Pork
                                                                   Taco Pasta with Chipotle
                                                                   Cream to Asian Pepper Pot
                                                                   with Ham, for school lunch
                                                                   programs.


              What is the current U.S. daily                                  What is the market price for
              slaughter capacity for pigs?                                    hogs today?
              It is currently about 444,925 head, up from                     Current information on pork economics
              428,335 in 2007 and 407,875 in 2004.                            and marketing can be found at Pork.org.



              Why are there fewer hog
              operations?
              Due to advances in technology and transportation,
              the proportion of the world’s population required
              to produce our food has decreased dramatically
              through the years. The decline has been even
              faster and more pronounced since the advent of
              the tractor.
                 The same pattern has applied to all U.S.
              agricultural sectors. Economies of size and
              technology have allowed fewer people to care for
              more hogs at a lower average cost. Every pork
              producer group, whether small, mid-sized or
              large, contains some operations with low costs,
              average costs and high costs. Farms with cost
              advantages can make adequate profits at prices
              that may not provide sufficient profits to higher-
              cost producers. As the higher-cost farms exit
              the industry, their market share is captured by
              existing producers or newcomers to the industry.
              The net effect is for fewer, larger pork farms.




12 Frequently Asked Questions
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 Did You Know?
                                                                  Where did the saying “living high on
Where did Wall Street get its name?                               the hog” come from?
Free-roaming hogs were notorious for rampaging                    The saying originated among army enlisted men, who
through the precious grain fields of colonial New                 received shoulder and leg cuts while officers received
York City farmers. The Manhattan Island residents                 the top loin cuts.
chose to limit the forays of these riotous hogs by
erecting a long, permanent wall on the northern edge
of what is now Lower Manhattan. A street came to                      Fact or
border this wall, aptly enough named Wall Street.                     Hogwash?
                                                                      When hot dogs were
                                                                      first sold, street vendors
                              How did “Uncle Sam”                     called them “red hots,”
                              come to represent                       and they didn’t come
                              the U.S. Government?                    on a bun. Instead, a pair of white cotton
                               During the War of 1812, a              gloves came with each one to keep fingers
                               New York pork packer named             cool while eating.
                               Uncle Sam Wilson shipped a
                               boatload of several hundred            Fact.
     barrels of pork to U.S. troops. Because each barrel              People at the 1904 St. Louis World’s Fair
     was stamped “U.S.” on the docks, it quickly became               enjoyed “red hots.” Along with hot dogs,
     bantered about that the “U.S.” stood for “Uncle Sam,”            ice cream cones also were introduced there
     whose large pork shipment looked to be enough to                 to the public for the first time.
     feed the entire army. Thus did “Uncle Sam” come to
     represent the U.S. Government itself.
                                                                  What’s the origin of the saying
                                                                  “a pig in a poke?”
What was a key staple food for
                                                                  This common saying references a common trick
Washington’s troops at Valley Forge?
                                                                  played by unscrupulous merchants in 17th century
Salt pork from New Jersey was shipped behind                      England. They tried to pawn off a cat on an
British lines to Valley Forge to feed the hungry                  unsuspecting “greenhorn” as a suckling pig. When
Continental Army in the winter of 1776-77.                        he opened the poke (sack), he “let the cat out of the
                                                                  bag,” and the trick was disclosed.


                                What’s the origin of the word. “barbecue”?
                                “Barbecue” originated with French-speaking pirates, who called their Caribbean pork
                                feast “de barbe et queue.” Translated, it means “from beard to tail,” reflecting the fact
                                that the hog was an eminently versatile animal that could be consumed from head to
                                toe. Today, barbecue translates into delicious pork on the grill.




                                                                                                                   Did You Know? 13
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             Did you know that…
             The word, “earmark,” which we now use to mean
             ‘to designate’ or ‘to set aside for a particular
             purpose’, actually has a very simple origin. For
             centuries, farmers marked their livestock with
             distinctive notches in the animals’ ears. Earmark
             in the literal sense first appeared in English
             around 1591, but the use of earmark in the
             figurative sense ‘to designate’ arose only in the
             late 19th century.




                                                                                  DID
             Did you know that…
             Women who cut calories
             but included more protein,
             including six ounces of lean
             pork per day, kept more muscle
                                                                                  you know?
             mass while losing weight than
                                                                                    TheOtherWhiteMeat.com
             women who consumed the same amount of calories
                                                                                     offers over 1,700 pork
             but less protein. Consuming a higher-protein diet
             also helped retain a sense of satiety or fullness after
                                                                                     recipes to consumers,
             meals, according to the Checkoff-funded project                         along with information
             conducted by Purdue University.                                            on all things pork.


                               What’s the top price                                                What did
                               ever paid for a hog?                                                President Harry
                               The highest known price paid                                        Truman have to
                               for a hog was $220,000 at the                                       say about hogs?
                               2001 Summer Type Conference.
                                                                                                   “No man should be
                               The pig, bred by Todd Creager
                                                                                                   allowed to be president
                               of Ohio, sold to Lifeline
                                                                                                   who does not understand
                               Genetics of Oklahoma.
                                                                                                   hogs.”


             Fact: Pork can be part of a restricted-fat, low-cholesterol diet.
             Yes! Today, ounce for ounce, pork ternderloin is as lean as a skinless chicken breast. Six
             of the most common pork cuts have, on average, 16 percent less fat and 27 percent less
             saturated fat than 19 years ago. Pork also is an excellent source of protein, thiamin, vitamin
             B6, phosphorus and niacin, and a good source of potassium, riboflavin and zinc. For more
             nutrition info, go to TheOtherWhiteMeat.com.




14   Did You Know?
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Fact or hogwash?                                           Did you know that...
Pork tenderloin is just as lean as a skinless              As popular as pork is in
chicken breast.                                            America, it is not the United
                                                           States, but China, that is the
Fact.                                                      world’s No. 1 producer and
Research shows that ounce for ounce, pork                  consumer of fresh pork.
tenderloin is
lean as a skinless                                         Did you know that...
chicken breast.                                            In ancient China, fresh pork
A 3-ounce                                                  enjoyed royal status. Around
serving of pork                                            4000 B.C., the Chinese people
tenderloin has                                             were ordered to raise and breed hogs by a royal
only 2.98 grams                                            decree from the emperor of China.
of total fat and
1.02 grams of                                              Did you know that...
saturated fat.
                                                           The ancient Chinese so hated to be separated
                                                           from fresh pork that the departed sometimes
Did you know that...                                       were accompanied to the grave with their hogs.
Pork is the world’s most widely eaten meat.

                                                           What’s the origin of the saying to
What’s the origin of the saying                           “go whole hog”?
“pork barrel politics”?
                                                           The expression came from the 18th century,
                      The phrase is derived from           when the English shilling was at one time called
                      the pre-Civil War practice           a “hog.” Thus, a spendthrift, one willing to
                      of distributing salt pork to         spend an entire shilling on the entertainment of
                      the slaves from huge barrels.        a friend in a pub, was willing to “go whole hog.”
                      By the 1870s, congressmen
                      were referred to as regularly
                                                           What’s the heaviest hog ever?
                      dipping into the “pork
                      barrel” to obtain funds for          A Poland China hog named “Big Bill” weighed 2,552
                      popular projects in their            pounds and measured 9 feet long. The owner of this
                      home districts.                      hefty hog was Burford Butler of Jackson, Tennessee,
                                                           in 1933. In contrast, the average market weight of
                                                           today’s lean hogs is around 265 pounds.


Fact or Hogwash?
The longest single sausage was over a mile long.

Fact.
A single sausage measuring 5,917 feet in length was cooked in Barcelona,
Spain, on September 22, 1986.




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Pork Facts
   Pork Is the World’s Most Widely Eaten Meat



                 Turkey                                   Other
                  2%                                       5%




                           Chicken
                            29%

                                                   Pork
                                                   40%


                                  Beef
                                  24%




 Source: USDA Foreign Agricultural Service, 2008




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                        How Many Meals Come from One Pig?




                  Each market hog
                  represents...
                  371 servings of pork
                  Source: Locke Karriker, DVM, associate
                  professor of veterinary diagnostic and
                  production animal medicine at Iowa State
                  University. Based on a 265-pound market
                  weight, 70 percent yield and 8-ounce servings.




18   Pork Facts
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       U.S. In-Home Pork Consumption by Type
                                      Percent of Eatings




                         Fresh Pork           All Other
                     (excluding chops/ribs)
                                                1.3%
                             9.2%


         Pork Chops
           10.2%                                                                     Ham
                                                                              (including lunchmeat)
                                                                                    31.1%




 Lunchmeat
(excluding ham)
    10.3%




                       Bacon
                       18.1%                                        Sausage
                                                                     19.8%




Source: The NPD Group/National Eating Trends – year ending November 2009




                                                                                                  Pork Facts   19
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                      Fresh vs. Processed Pork Consumption
                                           Percent In-Home Pork Eatings




                   The majority of pork eatings involve processed pork,
                  with fresh pork accounting for 21.5 percent of eatings.




                                          Processed                          Fresh
                                            78.6%                            21.5%
                                         (ham, bacon,                     (chops, ribs,
                                         sausage, etc.)                   roasts, etc.)




              Source: The NPD Group/National Eating Trends – year ending November 2009




20   Pork Facts
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              In-Home Total Pork Consumption*
     Percent Consuming Pork In-Home at Least Once in an Average Two Weeks



     Some 81 percent of the
     population consumes pork
     at least once in a two-week
     period. These users enjoy
     more than two eatings a week.




                                              Do Not
             Eat Pork
               81%                           Eat Pork
                                               19%




*Consumed in-home/carried.
Source: NPD’s National Eating Trends (NET) Service, two years ending August 2009




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                       Pork No. 1 in In-Home Protein Eatings


                                          Total In-Home Consumption*
                                           (Annual Eatings Per Capita)


                                                                                                             Pt. Change
                                                                                                             ’08 vs. ’99
                                                                                                                +7.9




                                                                                                                -3.0

                                                                                                                +5.0
                                                                                                                +1.1




              ’99      ’00        ’01      ’02       ’03       ’04       ’05       ’06        ’07      ’08


                          Fresh Pork             Fresh Beef             Poultry              Seafood




              Source: NPD’s National Eating Trends (NET) Service, two years rolling August




22   Pork Facts
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       Annual In-Home Pork Eatings Per Capita

                                                                                               Percent
       100
                                                                                               Change
        90                                                                                    ’09 vs. ’06
        80                                                                                       +3.5
        70
        60                   Steady from                          Slight dip in eatings
                             ’99 to ’04                           in ’06 and ’07;
        50                                                        rebounding in ‘08
        40
        30
        20
        10
          0
               ’99    ’00    ’01    ’02    ’03    ’04     ’05    ’06    ’07    ’08    ’09




Fresh vs. Processed In-Home Pork Consumption
                                    Annual Eatings Per Capita

                                                                                             Percent
      100                                                                                    Change
       90                                                                                   ’06 vs. ’09

       80                                                                                      +2.2
       70
       60
       50
       40
       30
       20                                                                                      +1.2
       10
         0
              ’99    ’00    ’01    ’02    ’03    ’04    ’05     ’06    ’07    ’08    ’09


Processed pork does not include hot dogs.
Consumed in-home/carried.
Source: NPD’s National Eating Trends (NET) Service, two years ending August 2009




                                                                                                          Pork Facts   23
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                        Pork Consumption by Age and Gender
                             Total Processed Pork vs Pork, Fresh (excluding ham and bacon)


                        Percent of Eatings Indexed to Sample 2008/2009



                               Total Processed Pork                   Pork, Fresh (excluding ham and bacon)



                                                                               130
                                                                                      118                             95    106
                                                                103    108                             93     103
                                        100       96      95
                                                                                                87
                                80




                                <6     6-12      13-17   18-34 35-44 45-54 55-64      65+     18-34 35-44 45-54 55-64       65+




                                      Children                        Males                                 Females
             % of Sample        8.0     9.6      6.4      8.4   6.9     7.6    6.2    5.7      10.7   8.3     8.3     6.7   7.1
            Total Processed Pork
              % of Eatings      6.4     9.6      6.2      8.0   7.1     8.2    8.1    6.8      9.3    7.7     8.5     6.3   7.5


            Pork, Fresh (Excluding Ham + Bacon)
              % of Eatings      6.3     7.9      6.8      7.8   7.0     8.4    7.0    6.9      9.1    8.8     8.0     7.8   8.3

                                              Note: Index of 120+ = greater than average; Index of 80 or less = less than average




              Source: NPD’s National Eating Trends (NET) Service, two years rolling August




24   Pork Facts
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       Growth in Number of Menued Pork Items

                         Number of Menued Pork Items

            0           500           1,000          1,500          2,000     2,500   3,000



   Bacon




    Ham




Breakfast
 Sausage                                                                      2000

                                                                              2005

Pepperoni                                                                     2009




 Sausage



  Chops,
   Loins,
 Tenders




     Ribs




 Source: MenuMine 2009, analyses conducted on a “same-store” basis of chain
 and independent restaurant menus




                                                                                         Pork Facts   25
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                    Pork Items on Restaurant Menus – 2009


                  Pork Consumption By Type
                  Percent of Eatings




                                         Other*
                                          11%

                           BBQ Ribs
                             4%                                    Breakfast
                                                                   Sandwich
                                                                     32%

                    Cold-Cut
                     Combo
                      10%



                    Sausage
                      8%

                           Ham
                         Sandwich
                            5%                                   Bacon
                                                              Cheeseburger
                                 Breakfast                        13%
                                  Burrito         Bacon
                                    5%             10%




              Source: NPD Group CREST




26   Pork Facts
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                      Pork Use by Meal Occasion

In-Home Breakfast                                    33              Percent of Eatings
                      2                                              2008/2009
                                                    31
   In-Home Lunch
                                      14

                                               27
   In-Home Dinner
                                                                                                      81

                            8
Carried From Home
                      2                                       Total Processed Pork

                     1                                        Pork, Fresh (excluding ham + bacon)
   In-Home Snack
                     1



            Ham Lunchmeat, Sausage, Bacon and Hot Dogs
              Are Each Consumed Regularly by Roughly
                    One-Third of the Population

         Penetration: Percent of Individuals Consuming in-Home in Two Weeks – 2009

  Ham Lunchmeat                                                                         32.8
         Sausage                                                                                    37.8

            Bacon                                                                          34.2
         Hot Dogs                                                                              35.7
       Pork Chops                                                           26.9
  Pork Lunchmeat
                                                            19.4
   (excluding ham)
      Ham Entrees                                                  21.5
        Pork Ribs                 6.1

       Pork Roast               4.6

Source: The NPD Group/National Eating Trends – year ending November 2009




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                      Percentage of Processed Pork Eatings

                                 Ham Makes Up Over a Third
                                  of Processed Pork Eatings



                                                                               Sausage   Breakfast Sausage = 13.2%
                  Bacon, Pork/All Other                                          25%     Dinner Sausage = 12.0%
                          23%




                                                                                             Pork
                                                                                          Lunchmeat*
                                                                                             13%


                                  Ham
                         (including lunchmeat)
                                  39%




             *Pork lunchmeat = bologna, salami, luncheon loaf, etc.; excludes ham
              Source: The NPD Group/National Eating Trends – Year ending November 2009




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              The Lowdown on Lean Cuts

                                 Trim to Slim – Reduce calories and fat
                                 by trimming all visible fat from lean
                                 cuts before cooking. This can cut fat
                                 content per serving in half. Trimming
                                 prevents fat from being absorbed into
                                 the meat during cooking.

                                 Cook It Light – Using low-fat cooking methods like
                                 grilling, broiling, stir-frying and pan broiling maximizes
                                 flavor while keeping added fat to a minimum.

                                 Spice for Life – Pork comes in a variety
                                 of cuts and its versatility complements
                                 numerous flavors. Seasoning pork with

DID
you know?
                                 herbs and spices (other than salt) is an
                                 easy way to boost flavor and cut back on
                                 fat and salt at the same time. Rub the
                                 pork with a combo of herbs and spices, such as rosemary,
                                 basil, cayenne or paprika, before grilling, broiling or
                                 roasting.
The leanest cuts of pork
have the word loin               Develop an Eye for Size – Practicing
in the name, such as             portion control is just as important as
pork tenderloin or loin          buying and cooking lean. The USDA
                                 Food Guidance System recommends
chop. Fresh or cured             two or three servings from the Meat,
ham also can be a lean           Poultry, Fish, Dry Beans, Eggs and Nuts
choice.                          Group each day, or the equivalent of 5 to 6 ½ ounces of
                                 cooked lean meat for adults.




Quick Shopping Tip – Estimate about 4 ounces of
boneless, trimmed raw pork to get 3 ounces of cooked
pork. A 3-ounce serving of trimmed, cooked pork is
about the size of a deck of cards. A ¾-inch pork chop
will be about 3 ounces when cooked.




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                             The Power of Pork For Healthy Eating

                  Seven common cuts of pork are, on average, 16 percent leaner than 20 years ago.
                  Here are seven cuts of lean pork with a total fat content that falls between a skinless
                  chicken breast and a skinless chicken thigh.




                               Pork Tenderloin       1.02g               2.98g                      Saturated Fat


                     Skinless Chicken Breast         0.86g                3.03g                     Total Fat



             Pork Boneless Top Loin Chop             1.77g                                     5.17g



                      Ground Pork, 96% Lean          1.77g                                      5.27g



            Pork Boneless Top Loin Roast             1.64g                                      5.34g



           Pork Bone-In Center Loin Chop             1.83g                                               6.20g



                       Pork Bone-In Rib Chop        2.17g                                                         7.10g



                  Pork Bone-In Sirloin Roast         2.44g                                                                    8.02g



                      Skinless Chicken Thigh         2.58g                                                                            9.25g




                  Based on 3-ounce cooked servings (roasted or broiled), visible fat trimmed after cooking.
                  Reference: U.S. Department of Agriculture, Agriculture Research Service, 2009.

                  Lean: Less than 10 grams total fat, 4.5 grams saturated fat and 95 milligrams cholesterol per serving.
                  Extra Lean: Less than 5 grams total fat, 2 grams saturated fat and 95 milligrams cholesterol per serving.




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                                                                  Quick Facts




    Ham Still No. 1 In-home Lunch Sandwich


 Top 10 Sandwiches Served In-home at Lunch

                    1995                                       2009
      1. Ham                                    1. Ham
      2. Turkey                                 2. Peanut Butter and Jelly
      3. Cheese                                 3. Turkey
      4. Peanut Butter and Jelly                4. Cheese
      5. Bologna                                5. Hot Dog
      6. Tuna                                   6. Burger
      7. Hot Dog                                7. Tuna
      8. Hamburger                              8. Bologna
      9. Egg                                    9. Chicken
     10. Chicken                               10. Egg

Sources: The NPD Groups National Eating Trends® Service




 How to Carve a Ham:

  1.                            2.                               3.




  1. Place the ham on a cutting board with the shank – or lower leg – to the carver’s right.
  Steady the ham with a fork and cut a few slices from the thin side of the leg as shown.
  2. Place the ham on the side where you removed slices. Make perpendicular slices to the leg
  bone. 3. To loosen the slices, cut along the leg bone, removing each slice with the fork.




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             Cues for the Conscientious Cook

• Use an instant-read thermometer to determine when meat is cooked
  to a safe temperature. The U.S. Department of Agriculture recom-
  mends that pork be cooked to an internal temperature of 145° F,
  followed by a three-minute rest time (medium-rare), up to 160° F
  (medium). This range of cooking will result in a flavorful, tender and
  juicy eating experience.
• Keep hot foods hot (140° F or above) and cold foods cold
  (40° F or below).
• Never leave cooked meat out at room temperature for more than two
  hours (one hour in hot weather 90° F or above).
• Serve cooked food on a clean plate and use clean utensils. Use separate
  serving plates and utensils for raw and cooked meats.



A Plan for Preparation                           Pork Fits into a Healthy Diet
• Wash hands, all utensils, contain-             Leaner than ever – USDA research reveals that six
  ers, cutting boards                            of the most common cuts of pork are 16 percent
  and work surfaces                              leaner and contain 27 percent less saturated fat than
  with warm soapy                                they did 19 years ago. As a lean protein option,
  water for 20 seconds                           pork can be part of heart-healthy diet.
  (count to 30) before                           Protein power – Women who cut calories but
  and after handling                             included more protein, including six ounces of lean
  meat or other food.                            pork per day, kept more muscle mass while losing weight
• Thaw meat in                                   than women who consumed the same amount of
  the refrigerator or microwave,                 calories but less protein. Consuming a higher-
  not at room temperature.                       protein diet also helped retain a sense of satiety or
                                                 fullness after meals.
• Do not wash raw meat before cooking.
                                                 Nutrient rich – One serving of pork tenderloin
• Cook meat immediately after thawing,           contains many vitamins and minerals. It’s an excel-
  especially if thawed by microwaving.
                                                 lent source of many B-vitamins and a good source
• Cut meat, poultry and fish on a                of other nutrients including phosphorus, zinc and
  separate cutting board from the one            potassium. It’s also naturally low in sodium – only
  you use for fresh foods like vegetables,       2 percent of the Daily Value per serving.
  or thoroughly clean the cutting board
  between uses.




                                                                                                    Pork Facts   33
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                           Pork Cooking Times and Temperatures
                                                                                                                                       Average
                                                                                                      Internal Temp.                Recommended
                                                                              Thickness/
                  Method                             Cut                                               Followed By a                Cooking Time
                                                                                Weight
                                                                                                    Three-Minute Rest              (minutes per pound OR
                                                                                                                                       total minutes)

                                       Loin Roast, Bone–In or
                                                                                 2–5 lbs.                     145°                  20 minutes per lb.
                                       Boneless*
              Roasting                 Crown Roast*                               10 lbs.                     145°                  12 minutes per lb.
           Roast at 350° F.,
           unless otherwise            Fresh Leg/Uncured Ham*                   18-20 lbs.                    145°                  15 minutes per lb.
            noted. Roast in            Tenderloin*                                                                                   20-27 minutes
            a shallow pan,                                                      ½–1½ lbs.                     145°
                                        (roast at 425°F.)                                                                              total time
              uncovered
                                       Ribs                                         —                        Tender                    1½–2 hours
                                       Ham, fully cooked                         5–6 lbs.                     140°                  20 minutes per lb.

               Broiling                Loin Chops, Bone–In or
                                                                                  ¾ inch                      145°                     8–9 minutes
        4-5 inches from heat           Boneless
                  OR                   Thick Chop                               1½ inches                     145°                    12–16 minutes
                Grilling
       over direct medium heat;        Loin Kabobs                            1 inch cubes                   Tender                   10–15 minutes
          turn once halfway            Tenderloin                               ½–1½ lbs.                     145°                      20 minutes
            through grilling
                                       Ground Pork Patties                        ½–inch                      160°                    8–10 minutes
                                                                                                                                      2 lbs. roast =
                                       Loin Roast, Bone–In or                                                                       20 minutes per lb.
                                                                                 2–5 lbs.                     145°
              Barbecuing               Boneless*                                                                                    3½–5 lbs roast =
       over indirect medium heat                                                                                                    15 minutes per lb.
                (285° F.)
                                       Shoulder (Butt)*                          3–6 lbs.                    Tender                 45 minutes per lb.
                                       Ribs                                         —                        Tender                    1½–2 hours

                                       Cutlets                                    ¼ inch                     Tender                    3–4 minutes
               Sautéing
         Add a little cooking oil
                                       Loin Chops, Bone–In or
           to pan; sauté over                                                     ¾ inch                      145°                    8 minutes total
                                       Boneless
         medium-high heat and
       turn once halfway through       Tenderloin Medallions                    ¼–½ inch                     Tender                 4–8 minutes total
              cooking time
                                       Ground Pork Patties                        ½ inch                      160°                  8–10 minutes total
                                       Loin Chops, Bone-In or
                                                                                ½–¾ inch                      145°                  6-8 minutes total
                Braising               Boneless
         Cook, covered, with a         Loin Cubes                                 1 inch                     Tender                   8–10 minutes
        liquid at a simmer; turn
                                       Tenderloin Medallions                    ½–¾ inch                     Tender                   8–10 minutes
          once halfway through
              cooking time             Shoulder Butt*                            3–6 lbs.                    Tender                    2–2½ hours
                                       Ribs                                         —                        Tender                    1½–2 hours
              Stewing
       Cook, covered, with liquid      Loin or Shoulder Cubes                     1 inch                     Tender                45 minutes–1 hour
          at a slow simmer

       Pork today is very lean and shouldn’t be overcooked. To check doneness, use a digital cooking thermometer. The National Pork Board follows
       the guidance of the U.S. Department of Agriculture, which recommends cooking roasts, tenderloins and chops to an internal temperature of
       145° F, followed by a three-minute rest time, resulting in a flavorful, tender and juicy eating experience. Ground pork, like all ground meat,
       should be cooked to 160° F. Pre-cooked ham can be reheated to 140° F or enjoyed cold.
       *Note: For easier slicing and to let the pork juices redistribute throughout the meat, remove larger cuts, such as roasts, from the oven or grill
       and let them stand for a total of 10 minutes before serving.




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                                 Making Sense of the Meatcase
                  What’s for supper? Whether you’re in a hurry or have time to spend in the kitchen, pork
                  offers a variety of delicious options. Use this guide to help decide what cut will make the
                  most of your meal.



                                 Quick meals – cuts that cook in 30 minutes or less

                        Chops:                                         Tenderloin
                        Loin, rib,
                        sirloin, top
                        loin, blade



                            Cooking Tip: Paired with your favorite veggies, cubes of boneless chops or
                                                tenderloin make great kabobs.


                        Ground                                         Ham Steaks
                        Pork




                            Cooking Tip: For delicious pork burgers on the grill, form ground pork into
                             1/2-inch thick patties and broil 4 inches from heat for about 8 minutes.


                            Time on your side – cuts that cook in 30 minutes or more

                        Ribs:                                          Roasts:
                        Back,                                          Loin, ham,
                        spareribs,                                     fresh leg,
                        country-style                                  shoulder


                        Cooking Tip: Don’t boil ribs prior to grilling or roasting. They will keep their flavor
                         and tenderness better if slow-cooked in the oven or over indirect heat on the grill.




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             Cues for the Conscientious Cook

• Use an instant-read thermometer to determine when meat is cooked
  to a safe temperature. Correctly cooked pork is juicy and tender, with
  a slight blush of pink in the center and will be ready when it reaches an
  internal temperature of 160° F. For large cuts of pork, cook to 150° F
  and allow the roast to sit on the counter about 10 minutes before cut-
  ting. The temperature will rise to 160° F.
• Keep hot foods hot (140° F or above) and cold foods cold
  (40° F or below).
• Never leave cooked meat out at room temperature for more than two
  hours (one hour in hot weather 90° F or above).
• Serve cooked food on a clean plate and use clean utensils. Use separate
  serving plates and utensils for raw and cooked meats.



A Plan for Preparation                            Pork Fits into a Healthy Diet
• Wash hands, all utensils, contain-              Leaner than ever – USDA research reveals that six
  ers, cutting boards                             of the most common cuts of pork are 16 percent
  and work surfaces                               leaner and contain 27 percent less saturated fat than
  with warm soapy                                 they did 19 years ago. As a lean protein option,
  water for 20 seconds                            pork can be part of heart-healthy diet.
  (count to 30) before                            Protein power – Women who cut calories but
  and after handling                              included more protein, including six ounces of lean
  meat or other food.                             pork per day, kept more muscle mass while losing weight
• Thaw meat in                                    than women who consumed the same amount of
  the refrigerator or microwave,                  calories but less protein. Consuming a higher-
  not at room temperature.                        protein diet also helped retain a sense of satiety or
                                                  fullness after meals.
• Do not wash raw meat before cooking.
                                                  Nutrient rich – One serving of pork tenderloin
• Cook meat immediately after thawing,            contains many vitamins and minerals. It’s an excel-
  especially if thawed by microwaving.
                                                  lent source of many B-vitamins and a good source
• Cut meat, poultry and fish on a                 of other nutrients including phosphorus, zinc and
  separate cutting board from the one             potassium. It’s also naturally low in sodium – only
  you use for fresh foods like vegetables,        2 percent of the Daily Value per serving.
  or thoroughly clean the cutting board
  between uses.




                                                                                                     Pork Facts   33
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       Convenience Drives the Dinner Menu


                                     75 percent of consumers
                                     decide what to prepare for an
                                     in-home dinner that same day.
                                         • 38 percent of these consumers
                                           decide “right before” preparing.




Four of the top five reasons listed for serving a specific
dish revolve around time and ease. Family satisfaction
also is important.
   • Requires little effort or easy
   • Takes little/no planning
   • Made with foods that are on hand
   • Liked by everyone
   • Easily cleaned up




Source: The NPD Group’s NET Plus Dinner database




                                                                              Pork Facts   35
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                           Pork Cooking Times and Temperatures
                                                                                                           Final Internal
                                                                                 Thickness/                                             Total Cooking
                  Method                               Cut                                                 Temperature
                                                                                   Weight                                               Time (Minutes)
                                                                                                            (Fahrenheit)

                                        Loin Roast*, Bone–In and
                                                                                    2–5 lbs.                      150°                  20 minutes per lb.
                                        Boneless
                                        Crown Roast*                               6-10 lbs.                      150°                  20 minutes per lb.
              Roasting                  Fresh Leg/Uncured Ham*                      3½ lbs.                       150°                  20 minutes per lb.
          Roast at 350° F.,
                                        Shoulder Butt*                              3-6 lbs.                      160°                  30 minutes per lb.
        Roast in a shallow pan,
              uncovered                 Tenderloin*
                                                                                  ½–1½ lbs.                       160°                    20-30 minutes
                                         (roast at 425°F.-450°F.)
                                        Ribs                                           —                        Tender                      1½–2 hours
                                        Ham, fully cooked                           5–6 lbs.                      140°                  20 minutes per lb.

               Broiling                 Loin Chops, Bone–In or
                                                                                    ¾ inch                        160°                     8–10 minutes
          4 inches from heat            Boneless
                                        Thick Chop                                1½ inches                       160°                    12–16 minutes
                   OR
                                        Kabobs                                   1 inch cubes                   Tender                    10–15 minutes
               Grilling                 Tenderloin*                               ½–1½ lbs.                       160°                    15–25 minutes
            over direct heat
                                        Ground Pork Patties                         ½–inch                        160°                     8–10 minutes
                                        Loin Roast*, Bone–In or
                                                                                    2–5 lbs.                      160°                  20 minutes per lb.
                                        Boneless
            Barbecuing                  Leg                                         3½ lbs.                       160°                  40 minutes per lb.
           over indirect heat
                                        Shoulder Butt                               3–6 lbs.                      160°                  45 minutes per lb.
                                        Ribs                                           —                        Tender                      1½–2 hours

                                        Cutlets                                      ¼ inch                     Tender                      3–4 minutes
              Sautéing
                                        Loin Chops, Bone–In or
         Add a little fat to pan;                                                    ¾ inch                       160°                      7-8 minutes
                                        Boneless
              sauté over
          medium-high heat              Tenderloin Medallions                      ¼–½ inch                     Tender                      4–8 minutes
                                        Ground Pork Patties                          ½ inch                       160°                     8–10 minutes
                                        Chops or Cutlets                           ¼–1 inch                       160°                     8-15 minutes
              Braising
            Cook, covered,              Cubes                                        1 inch                     Tender                     8–10 minutes
             with a liquid              Tenderloin Medallions                      ½–¾ inch                     Tender                     8–10 minutes
             at a simmer
                                        Shoulder Butt                               3–6 lbs.                    Tender                      2–2½ hours
                                        Ribs                                           —                        Tender                      1½–2 hours
                                        Ribs                                           —                        Tender                      2–2½ hours
              Stewing
       Cook, covered, with liquid
          at a slow simmer              Cubes                                        1 inch                     Tender                  45 minutes–1 hour


       Today’s pork is very lean and shouldn’t be overcooked. The best test of doneness is to use an instant-read meat thermometer to check the internal
       temperature. We recommend cooking pork chops, roasts and tenderloins to 160° F, which leaves the center pink and juicy.* Less tender cuts, like
       pork shoulder (butt) and ribs can be cooked long and slow, to render them tender.
        * For larger cuts of pork, such as roasts, cook to 150° F; remove from the oven or grill and allow to set for 10 minutes before slicing. The temperature
       of the roast will continue to rise to 160°, and the pork juices will redistribute throughout the roast before slicing.



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       Convenience Drives the Dinner Menu


                                     75 percent of consumers
                                     decide what to prepare for and
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Four of the top five reasons listed for serving a specific
dish revolve around time and ease. Family satisfaction
also is important.
   • Requires little effort
                      ffort or easy
   • Takes little/no planning
   • Made with foodss that are on hand
   • Liked by everyone
                   one
   • Easily cleaned up




Source: The NPD Group’s NET Plus Dinner database




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                                          Everything But the Oink

                      The hog is serving essential human needs every-
                  day. From the safe and high-quality product on your
                  plate to a medical lifesaving device and everything in
                  between no other animal provides society with a wider
                  range of products than the hog.
                      Co-products from hogs play a vital though less vis-
                  ible role in maintaining and improving the quality of
                  human life. Thanks to innovative research and new
                  technologies, new and different co-products from hogs
                  are constantly being developed.
                      Insulin from hogs is used in the treatment of diabe-
                  tes. Hog heart valves are used to replace damaged or
                  diseased human heart values. Skin from hogs is used
                  to treat severe burn victims.
                      The amazing utility of the hog has motivated the
                  saying, “We use everything but the oink.”
                      A viable animal agriculture not only provides an
                  abundant supply of vital nutrients found in meat, but is
                  also a ready source of essential and useful co-products
                  that people depend on so extensively.
                                                                             DID
                                                                             you know?
                                                                             Hog heart valves, specially
                                                                             preserved and treated,
                                                                             are surgically implanted
                                                                             in humans to replace
                                                                             heart valves weakened
                                                                             by disease or injury.
                                                                             Since the first operation
                                                                             in 1971, thousands
                                                                             of hog heart valves
                                                                             have been successfully
                                                                             implanted in human
                                                                             recipients of all ages.




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                            Everything But the Oink

Pharmaceutical Co-Products
            Pharmaceuticals rank second only to meat itself in the important contributions hogs make
            to society. Rapidly advancing science and technology are continually adding to the list of
            life-supporting and lifesaving products derived from the incredible hog.
Hogs are powerful medicine: All told, hogs are a source of nearly 20 drugs and pharmaceuticals.
Adrenal Glands             Heart                         Kallikrein                          Skin
 Corticosteroids            Heart Valves                 Glucagon                             Porcine Burn Dressings
 Cortisone                 Intestines                    Lipase                               Gelatin
 Epinephrine                Enterogastrone               Pancreatin                          Spleen
 Norepinephrine             Heparin                      Trypsin                              Splenic Fluid
Blood                       Secretin                     Chymotrypsin
                                                                                             Stomach
 Blood Albumens            Liver                        Pineal Gland                          Pepsin
 Blood Fibrin               Cholic Acid Catalase         Melatonin                            Mucin
 Fetal Pig Plasma           Desiccated Liver            Pituitary Gland                       Intrinsic Factor
 Plasmin                                                 ACTH - Adrenocorticotropic
                           Ovaries                                                           Thyroid Gland
Brain                       Estrogens                             Hormone                     Thyroxin
 Cholesterol                Progesterone                 ADH - Antidiuretic Hormone           Calcitonin
 Hypothalamus               Relaxin                      Oxytocin                             Thyrogloblin
Gall Bladder                                             Prolactin
                           Pancreas Gland
 Chenodeoxycholic Acid                                   TSH - Thyroid Stimulating
                            Insulin
                                                                Hormone



   Industrial Co-Products

  Hogs also make a very significant contribution to the world of industrial and consumer products.
  Hog co-products are sources of chemicals used in the manufacture of a wide range of products
  that cannot be duplicated by syntheses. And, of course, pigskin is used extensively as high-
  quality leather for clothing, shoes, handbags, sporting goods, upholstery and more.
  Blood                  Bones & Skin              Gall Stones            Rubber                     Phonograph
   Sticking Agent         Glue                      Ornaments             Cosmetics                    Records
   Leather Treating       Pigskin Garments         Hair                   Antifreeze                 Matches
     Agents               Gloves & Shoes            Artist’s Brushes      Nitroglycerine             Putty
   Plywood               Dried Bones                Insulation            Plastics                   Paper Sizing
     Adhesive             Buttons                   Upholstery            Plasticizers               Insulation
   Protein Source in      Bone China               Meat Scraps            Printing Rollers           Linoleum
   Feeds                  Bone Meal                 Commercial Feeds      Cellophane
   Fabric Printing &      Mineral Source            Pet food              Floor Waxes
     Dyeing                 in Feed                Fatty Acids &          Waterproofing
  Brains                  Fertilizer                Glycerine               Agents
   Cholesterol            Porcelain Enamel          Insecticides          Cement
                          Glass                     Weed Killers          Fiber Softeners
                          Water Filters             Lubricants            Crayons
                                                    Oil Polishes          Chalk




                                                                                                                       Pork Facts   37
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                                      Know Your Pork Cuts




                                                            Loin
                                                            Tenderloin          Ribs:
                  Blade                                                         Back Ribs
                  Boston-style                              Pork Chops
                                                                                Country-style Ribs
                  Shoulder                                  Roasts:
                  Shoulder Roast                            Loin Roast
                  Ground Pork                               Rib Roast (rack of pork)




                                                                                        Leg
                                                                                        Cured Ham
                                                                                        Fresh Leg




                     Arm Picnic
                     Shoulder
                     Shoulder Roast
                     Smoked Hocks               Side
                     Shanks
                                                Spareribs
                                                Bacon




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History of Pork
                                                             fields of New York that colonists who owned a pig 14 or
                                                             more inches high had to put a ring in the pig’s nose. On
                                                             Manhattan Island, a long solid wall was constructed on
                                                             the northern edge of the colony to control roaming herds
                                                             of pigs, as well as to protect the colonists from native
                                                             Americans. This area is now known as Wall Street.
                                                                The pig population in the Pennsylvania colony num-
                                                             bered in the thousands by 1660. As the 17th century
                                                             closed, the typical farmer owned four or five pigs, supply-
                                                             ing salt pork and bacon for his table, with surpluses sold
                                                             as barreled pork. Following a practice that had become
                                                             common in Pennsylvania, pigs were fed a diet of native
                                                             American corn.
                                                                After the Revolutionary War, pioneers began head-
The History of Pork                                          ing west, taking their indispensable pigs with them. A
                                                             wooden crate filled with young pigs often was hung from
   The pig dates back 40 million years to fossils, which     the axles of prairie schooners.
indicates that wild pig-like animals roamed forests and         As western herds grew, so did the need for pork pro-
swamps in Europe and Asia. By 4900 B.C., pigs were           cessing facilities. Packing plants began to spring up in
domesticated in China, and by 1500 B.C., they were being     major cities. Pigs were first commercially harvested in
raised in Europe.                                            Cincinnati, which became known as Porkopolis. More
   On the insistence of Queen Isabella, Christopher          pork was packed there than any other place in the mid-
Columbus took eight pigs on his voyage to Cuba in 1493.      1800s.
However, it is Hernando de Soto who could be dubbed
“the father of the American pork industry.” The explor-      “Drovers” Herd Pigs to Market
er landed with America’s first 13 pigs at Tampa Bay, Fla.,     Moving pigs to market in the 1850s was no small
in 1539.                                                     undertaking. “Drovers” herded their pigs along trails,
   Native Americans reportedly became very fond of the       which later developed into railroad routes. Between
taste of pork, resulting in some of the worst attacks on
the de Soto expedition. By the time of de Soto’s death
three years later, his pig herd had grown to 700 head, not
including the ones his troops had consumed, those that
ran away and became wild pigs (the ancestors of today’s
feral pigs or razorbacks) and those given to the Native
Americans to help keep peace.

America’s Pork Industry Had Begun
  Pig production spread throughout the new colonies.
Hernando Cortez introduced hogs to New Mexico in
1600, and Sir Walter Raleigh brought sows to Jamestown
Colony, now in Virginia, in 1607.
  Semi-wild pigs conducted such rampages in the grain



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         40,000 and 70,000 pigs were driven from Ohio to eastern         The 1980s and 1990s brought major technological
         markets in any one year. Drivers, the drovers’ hired         developments in the pork industry, some of which allowed
         hands, each managed up to 100 hogs, and the herds            production to grow dramatically in states not known for
         moved five to eight miles a day, covering distances up to    pig production. The most notable growth occurred in
         700 miles.                                                   North Carolina, which is now the second largest pork-
            The refrigerated railroad car transformed the meat        producing state.
         industry when it was introduced shortly after the Civil         Despite inherently more expensive feed, North Carolina
         War. It enabled packing plants to be centralized near        producers became cost competitive by using pigs with
         points of production instead of near points of con-          the genetic capability for higher reproductive efficiency
         sumption. Large “terminal markets” with railroad             and enhanced lean muscle growth, resulting in better
         access developed in major cities, such as Chicago,           feed efficiency. They also captured economies of size and
         Kansas City, St. Joseph, Mo.; and Sioux City, Iowa.          developed pig-raising methods that controlled disease, and
         Large packing plants were located adjacent to these          improved productive efficiency. Many producers in other
         stockyards. Live pigs were shipped via railroad to the       areas have now adopted these same methods.
         markets, and pork was shipped, again mainly by rail, to         Today the United States is one of the world’s leading
         consumers nationwide.                                        pork-producing countries. Also, the U.S. became the
            As a result of these transportation developments, the     largest pork exporter in 2005 and remains so today. U.S.
         pork industry relocated to the upper Midwest, where          production accounted for 10.5 percent of total world sup-
         ample amounts of feedgrains were produced, and the           ply in 2008.
         “Corn Belt” also became known as the “Hog Belt.” In             You can find more informatin about today’s U.S. pork
         fact, Iowa, Illinois, Minnesota, Nebraska, Indiana and       industry in the rest of this book. And for more informa-
         Missouri held the top six spots in state rankings for pork   tion, go to the Pork Checkoff’s Web site at pork.org or call
         production for many years. Iowa is still No. 1.              the Producer Service Center at (800) 456-PORK (7675).



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Timeline
1954 National Swine Growers Council formed to
     pursue goal of developing a leaner, meat-
     type hog and to develop more pork-specific
     promotion funding.



1966 Meeting of 90 pork producers – the
     “Moline 90” – in Moline, Ill., results in
     $40,000 “Get Ready” fund to launch a
     national voluntary market checkoff.                    begins repositioning pork as a lean,
                                                            nutritious protein source.
1967 The first voluntary market checkoff funds
     are collected in six pilot counties in Iowa
     and Illinois.

1968 Pork industry launches first national, pork-    1988 The first World Pork Expo at the Iowa State
     specific voluntary producer checkoff. Called         Fairgrounds in Des Moines, Iowa, attracts
     “Nickels for Profit,” the program is based on        60,000 people.
     a checkoff of five cents per hog.
                                                     1989 The Checkoff’s Pork Quality Assurance®
                                                          (PQA) Program is introduced. The
                                                          producer education and management
1972 Pork industry starts celebrating October as
                                                          program emphasizes good management
     National Pork Month.
                                                          practices in the handling and use of animal
1977 Voluntary producer checkoff is raised to 10          health products.
     cents per head.
                                                     1989 Technology developed with producer
                                                          Checkoff funds is used by McDonald’s
                                                          nationally to market The McRib® pork
1985 The Pork Promotion, Research and                     sandwich.
     Consumer Information Act of 1985 is
     signed into law. Known as the Pork Act,
     it provides a national, legislative Checkoff
                                                     1990 The Checkoff-funded Market Basket Study
     on sales of market hogs, breeding stock,
                                                          examines the nutrient composition of pork
     imported hogs and pork products.
                                                          at supermarkets nationwide. It reinforces
1986 National legislative Checkoff begins, with           the Pork. The Other White Meat® slogan,
     initial rate at 0.25 of one percent of the           and shows that pork is, on average, 31
     market value of each hog.                            percent leaner than it was 10 years before
                                                          due to pork producers responding to
1987 The well-known national promotion                    consumers wanting leaner pork. Notably,
     campaign, Pork. The Other White Meat®, is            the study identifies the eight cuts of pork
     introduced and through the Pork Checkoff             that are as lean as chicken.



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                                                              1998 The U.S. government imposes Hazard
                                                                   Analysis Critical Control Point (HACCP)
                                                                   rules on packers. The Pork Quality
                                                                   Assurance® (PQA) Program provides
                                                                   producers a mechanism to comply.

                                                              1998 United States becomes the second largest
                                                                   pork exporter in the world.



                                                              2000 A Northwestern University study ranks
                                                                   the Pork. The Other White Meat® slogan
                                                                   as the fifth most recognized tagline in
                                                                   contemporary advertising.

                                                              2000 The Pork Checkoff plays a key role
                                                                   in shaping the U.S. Department of
         1991 The Checkoff rate increases to 0.35 of one           Agriculture’s point-in-time national study
              percent of value (35 cents per $100 value).          of the U.S. swine industry. Results are
                                                                   distributed in the National Animal Health
         1995 Through Checkoff-funded promotions and               Monitoring System (NAHMS).
              focus on market development activities,
              the United States becomes a net exporter        2001 Changes from the Pork Checkoff agreement
              of pork for the first time in more than 40           with USDA take effect July 1. The Pork
              years.                                               Checkoff has its own location, accounting
                                                                   system and staff to expand domestic and
         1995 At the request of producers, Pork Checkoff           foreign markets, conduct research and
              increases to 0.45 of one percent (45 cents           provide consumer information.
              per $100 value). This checkoff rate stays the
              same until 2002.                                2001 The Checkoff-funded Transport Quality
                                                                   AssuranceTM (TQA) program starts,
         1995 The Environmental Assurance Program                  providing information on proper techniques
              (EAP) is launched to help producers meet             to use when handling, loading and
              environmental challenges.                            transporting hogs. By 2005, 330 trainers are
         1995 Results of the Checkoff-funded Terminal              certified to administer TQA examinations
              Line Genetic Evaluation Program are                  and more than 10,000 drivers are certified in
              released. It is the largest unbiased study of        the program.
              genetic lines in U.S. pork industry.            2002 The Pork Checkoff rate drops 5 cents, to
         1996 The second Market Basket Study confirms              $0.40 per $100 of value for hogs sold in the
              the comparable fat content between pork              United States.
              cuts and poultry cuts. This Checkoff-funded     2002 The new Pork Checkoff Service Center,
              study also reinforces the initial Market             now called the Producer Service Center, is
              Basket Study that provided revised data              launched to answer calls from individual
              for USDA’s pork nutrient database, which             pork producers at (800) 456-PORK (7675).
              continues to be used by nutritionists as a
              standard food reference.




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2002 Checkoff-funded research determines that        2003 The United States continues to export more
     consumers spend an average of four minutes           pork, setting a new record for pork exports
     deciding what to buy in the meatcase,                for the 12th consecutive year.
     compared with one minute in other parts
     of the store. By showing that consumers         2003 More than 480 producers participate in
     take time to make their decisions at the             promotions
     meatcase, this research indicates that point-        related to
     of-purchase promotions can be an effective           Checkoff’s
     way to bring pork to their attention.                racing
                                                          sponsorship.
2002 Pork Checkoff launches Consumer’s Choice             Some 61.7
     Pork AwardsSM to showcase best new pork-             million pounds of
     based products in supermarkets.                      pork were sold in race
                                                          -related promotions, up nearly 15
2002 Checkoff-funded research leads to the                million pounds from 2002.
     development of Biosecurity and Security
     Guides.                                         2003 Checkoff-funded retail promotions help sell
                                                          more pork. In 2003, the Checkoff invested
2003 The Pork Checkoff launches the Swine                 $1.1 million in retail promotions, or about
     Welfare Assurance ProgramSM supported by             42 percent of the cost of the promotions.
     science-based research. The education and            Retail partners sold 573 million pounds of
     assessment program allows producers to               pork, 16 percent more than during 2002.
     demonstrate the care and well-being of their
                                                                                      TM
     animals. This initiative was led by the pork    2004 The Pork Quality Assurance program
     producer members of the Animal Welfare               celebrates 15 years of helping pork
     Committee.                                           producers contribute to a healthy and safe
                                                          food supply. Pork Checkoff launches the
2003 The Pork Checkoff has two primary                    Youth PQA Program for youth ages 9 to 18.
     Internet sites: pork.org primarily for pork
     producers and TheOtherWhiteMeat.com             2004 The Pork Checkoff creates the Animal
     for consumers.                                       Science Committee to serve producer needs
                                                          for production and animal science-related
                                                          information and research.

                                                     2004 The Pork Checkoff expands the Hispanic
                                                          Marketing program to a dozen markets
                                                          from five, continuing to share information
                                                          that pork is lean and nutritious. The
                                                          Hispanic Marketing initiative starts with
                                                          Checkoff-funded research in 2001.

                                                     2004 The Operation Main Street
                                                          program is launched
                                                          to help train
                                                          producers to share
                                                          pork’s positive
                                                          story, helping those




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                  not in pork production understand the        2006 The Pork Checkoff’s Porcine Reproductive
                  value and importance of pork production to        and Respiratory Syndrome (PRRS)
                  their local community.                            Initiative, has funded 18 research projects.
                                                                    Research needs
         2004 An advertising and information campaign




                                                                                                                                             2009
                                                                    are identified and
              for consumers who are counting
                                                                    prioritized so the
              carbohydrates is launched. New ads point
                                                                    USDA, university
              out pork’s great taste and versatility: “Not
                                                                    researchers, Extension
              all proteins are created equal.”
                                                                    personnel, animal
         2004 TheOtherWhiteMeat.com is the                          health companies, state and federal agencies
              Checkoff’s direct connection to consumers             and swine veterinarians can work together
              on the Internet. On average, more                     to map out a plan to successfully manage
              than 60,000 unique visitors come to                   and eliminate PRRS in the U.S. swine
              TheOtherWhiteMeat.com each month.                     herd. It is estimated that PRRS costs U.S.
                                                                    producers $650 million annually.
         2004 Through the Pork Checkoff, seven distance
              learning courses allow producers and
              their employees easy access to the latest
              production information via CD-ROM or
              the Internet.

         2005 The Pork Checkoff successfully launches the
              new Don’t be blah™ campaign, an extension
              of The Other White Meat, to revitalize pork
              and reconnect with consumers.

         2005 America’s pork producers continue to
              grow sales abroad, with the United States
              becoming the largest pork exporter.

         2005 The Checkoff launches the Take Care™: Use
              Antibiotics Responsibly program, which
              defines how antibiotics should be used              I’m a pork producer.                                                                     I’m a soybean farmer.
              in pork production. This program helps
              identify pork producers as responsible              Together, we raise our community’s standard of living.
              stewards and caretakers, who are concerned         The swine industry is the soybean industry’s second largest domestic customer. Pork producers purchase over
                                                                 8.7 million tons of locally grown soybean meal to feed their hogs. And that’s just part of their economic impact.
              with public health.                                They also account for more than 340,000 jobs nationwide, and generate more than $1.6 billion in tax revenue.
                                                                 A strong animal agriculture industry helps ensure a better living for pork producers, soybean farmers and the
                                                                 entire rural community.
                                                                 Brought to you by America’s pork producers and soybean farmers.

                                                                 800-456-PORK www.pork.org
                                                                 www.animalag.org
                                                                  ©2007 National Pork Board
                                                                  ©2007 United Soybean Board [29348 pk 05/07]




                                                               2006 The Pork Checkoff and the Soybean
                                                                    Checkoff partner to create an informational
                                                                    campaign to help spread the word about the
                                                                    positive impact pork producers have on the
                                                                    local community.




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2006 A Web-based Air Management Practices            2008 The Pork Checkoff launches The Other
     Assessment Tool is designed to assist                White Meat® Tour, designed to involve
     producers in identifying practices to address        consumers in a pork experience. The tour
     air quality issues on their farm in the areas        reaches pork’s consumer target audience
     of animal housing, manure storage and land           with stops at 23 high-traffic events
     application.                                         across the U.S. The tour stops celebrate
                                                          pork’s positive benefits through cooking
2007 A study of the economic value of Pork                demonstrations, product sampling and one-
     Checkoff programs concludes that the                 on-one interactions.
     Checkoff has a significantly positive effect
     on the demand for hogs and pork. Specific
     results indicate that producers would gain
     an additional $13.80 for each additional $1
     of program expenditures.

2007 Over 1,600 Operation Main Street
     presentations reach over 44,000 people. The
     Neighbor-to-Neighbor program, a three-
     hour short-course to help producers answer      2008 Historically unprecedented high feed costs
     tough questions, trains 715 producers.               lead to one of the most challenging times
2007 U.S. Pork exports broke records for the              in history for pork producers. The blow,
     16th consecutive year. Exports totaled               softened only by record-high market hog
     1.3 million metric tons, nearly 2.9 billion          prices, causes many producers extreme
     pounds, at a value exceeding $3.15 billion.          financial distress. The Pork Checkoff
                                                          provides producers tools to work with their
2007 The Pork Quality Assurance® Plus (PQA                lenders and information to help weather
     Plus®) program is introduced to pork                 the storm, including how to take advantage
     producers at World Pork Expo. The                    of marketing opportunities and identify
     workable, affordable, credible on-farm               opportunities to improve efficiency in their
     program answers customers’ questions                 production.
     about animal care and food safety. Over
     5,300 producers are certified.                  2008 Pork’s new spokesperson Guy Fieri (below),
                                                          one of the rising stars of the Food Network
                                                                Channel, excites consumers about
                                                                   pork’s personality, flavor and fun
                                                                     during promotions.




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                                                                     the program’s inception in 1989. And
                                                                     over 7,000 on-farm site assessments are
                                                                     completed, representing nearly 30 percent of
                                                                     the total U.S. hog inventory.

                                                              2009 The redesigned TheOtherWhiteMeat.com Web
                                                                   site features over 1,700 recipes and a new
                                                                   look to make it even easier for consumers
                                                                   to find the basics on pork cooking. The site
                                                                   remains the Checkoff’s go-to source for all
                                                                   things pork for consumers.




         2008 The We Care, joint
              industry initiative is
              launched to help build
              consumer trust. Six ethical
              principles outline producers’ commitment
              to producing safe food, while protecting
              animal well-being, natural resources, public
              health and the environment, as well as
              contributing to their communities.

         2009 Beginning in April, news coverage of H1N1,
              or “swine flu” as it was erroneously referred   2009 Operation Main Street celebrates its 5th
              to by the media, added to an already                 anniversary. More than 750 participants
              challenging economic time for producers. It          have made over 3,500 presentations,
              was estimated that producers lost more than          reaching millions of people through their
              $2 billion after the outbreak of H1N1.               talks and media coverage.
         2009 Over 40,000 producers and employees are
              certified in PQA Plus®, the most ever since




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Pork Production Today
Types of Operations                                      than 65 percent of all production expenses. The aver-
                                                         age whole-herd feed conversion ratio, or pounds of
   Today, pork production combines many inputs           feed required per pound of live weight produced,
into a complex process of converting feedgrains,         for the U.S. pork industry is about 3.0 to 3.2 and
high-protein feed ingredients, vitamins, minerals and    is improving (getting lower) steadily. This figure
water into live hogs and eventually, pork and pork       includes the feed fed to boars and sows.
products. This ultimate goal is attained by five basic      For comparison, consider that beef cattle take 7 to
production systems:                                      10 pounds of feed to produce a pound of live weight,
• Farrow-to-finish farms that involve all stages of      and broiler chickens require about 2 pounds of feed
  production, from breeding through finishing to         per pound of live weight produced. The most efficient
  market weights of about 265 pounds.                    U.S. swine herds have whole-herd feed conversion
• Farrow-to-nursery farms that involve breeding          ratios under 3.0.
  through marketing 40- to 60-pound feeder pigs to          A variety of feed ingredients is used in proper pro-
  grow-finish farms.                                     portions to produce “balanced” diets for pigs at each
• Farrow-to-wean farms that involve breeding             stage of their development. Corn, barley, milo (grain
  through marketing 10- to 15-pound weaned pigs to       sorghum), oats and sometimes wheat are used to
  nursery-grow-finish farms.                             provide dietary energy in the form of carbohydrates
• Wean-to-finish farms that involve purchasing           and fat. In 2009, corn usage was 1.07 billion bushels
  weaned pigs and finishing them to market weights.      and soybean usage was 425 million bushels. Corn
• Finishing farms that buy 40- to 60-pound feeder        usage was lower than in recent years due to the
  pigs and finish them to market weight.                 substitution of distillers dried grains with solubles
   Feed is the major production input to the pork        (DDGS), a by-product of ethanol production, for
production process. In fact, feed accounts for more      corn in pig diets.




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           Symbol III
                         Adopted in 2005


                                                                        • Free of all abscesses, injection-site blemishes,
                                                                          arthritis, bruises and carcass trim
                                                                        • Structurally correct and sound, with proper
                                                                          angulation and cushion and a phenotypic design
                                                                          perfectly matched to the production environment
              SYMBOL III is an ideal market hog that symbolizes
              profitability for every segment of the industry. This     • Produced in a production system that ensures
              hog has correctness of structure, production,               the opportunity for stakeholder profitability from
              performance, function, livability, attitude, health and     the producer to retailer while providing a cost
              optimum lean yield. SYMBOL III also produces the            competitive product retail price in all domestic
              best quality, safest pork that provides the optimum         and export markets
              nutrients for human nutrition.
                                                                        • Produced from genetic lines that have utilized
                                                                          genomic technology to support maximum
              Production Characteristics                                  improvement in genetic profitability and efficiency
              • Live-weight feed efficiency of 2.4 (2.4)
                                                                        Carcass Characteristics
              • Fat-free lean gain efficiency of 5.9 (5.8)
                                                                        • Hot carcass weight of 205 lbs.
              • Fat-free lean gain of 0.95 lbs. per day
                                                                        • LMA of 6.5 (7.1)
              • Marketed at 156 (164) days of age
                                                                        • 10th rib backfat of 0.7 (0.6) inch
              • Weighing 270 pounds
                                                                        • Fat-Free Lean Index of 53.0 (54.7)
              • All achieved on a corn-soy equivalent diet
                from 60 pounds
                                                                        Quality Characteristics
              • Free of all internal and external parasites
                                                                        • Muscle color score of 4.0
              • From a high-health production system
                                                                        • 24-hour pH of 5.9
              • Immune to or free of all economically important
                swine diseases                                          • Maximum drip loss of 2.5 percent
              • Produced with Environmental Assurance                   • Intramuscular fat level of 3.0 percent
              • Produced under Pork Quality Assurance® 1MVT             • Free of within-muscle color variation and coarse
                and Transport Quality Assurance™ guidelines               muscle texture
              • Free of the Stress Gene (Halothane 1843                 • Free of ecchymosis (blood splash)
                mutation) and all other genetic mutations that
                                                                        • Provides an optimum balance of nutrients
                have a detrimental effect on pork quality.
                                                                          important for human nutrition and health
              • Result of a systematic cross-breeding system,
                                                                        • Provides a safe, wholesome product free of all
                emphasizing a maternal dam line and a terminal
                                                                          violative residues and produced and processed
                sire selected for growth, efficiency and superior
                                                                          in a system that ensures elimination of all food-
                muscle quality
                                                                          borne pathogens
              • From a maternal line weaning >25 pigs/year after
                multiple parities

               Note: Numbers in parentheses represent gilt numbers corresponding to the barrow numbers shown




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    Oilseed meals, mainly soybean meal, are the major     Genetics for Leaner Pork
 source of protein, the building block of muscle and
                                                             Today’s pigs are bred and fed to be leaner than
 other organs. Vitamins and minerals, such as calcium
                                                          the pigs of yesteryear. Compared with pigs from
 and phosphorous, also are included in balanced diets.
                                                          the 1950s, today’s model has slimmed down
    Young pigs usually are fed a diet containing 20 to
                                                          considerably, with 75 percent less fat. Around
 22 percent crude protein. Diets are changed when
                                                          World War II, pigs averaged 2.86 inches of backfat
 pigs reach pre-determined weights in order to bal-
                                                          compared with less than 0.75 inches today. At the
 ance the amounts of nutrients that the pigs consume
                                                          time, lard was in demand for use in manufacturing
 with what they actually need. The balanced diets
                                                          ammunition.
 improve growth and performance, while reducing
                                                             Consumers, and consequently packers, prefer lean
 the amount of nutrients excreted. Crude protein lev-
                                                          pork, and producers are raising leaner, heavier-mus-
 els usually drop by increments of 2 percent until pigs
                                                          cled pigs to satisfy these demands. The leaner pork is
 are consuming a 13 to 15 percent crude protein diet
                                                          the result of new technologies in hog production and
 at finishing. Concentrations of other nutrients are
                                                          superior genetics. Producers use purebred seedstock
 changed in a similar fashion.
                                                          of eight major swine breeds, which are:
    Pig diets are produced in a variety of ways. Many
 producers have on-farm feed mills and mix their            • Yorkshire (or Large White),
 own feed from individual ingredients. Others use           • Duroc,
 home-grown grain and either a commercial protein           • Hampshire,
 supplement that contains all of the protein, vitamins      • Landrace,
 and minerals needed or add a protein meal (soy-
                                                            • Berkshire,
 bean, canola, peas) and a premix that contains only
 vitamins and minerals. Finally, some farms purchase        • Spotted,
 complete rations from feed manufacturers that              • Chester White
 require no further processing or mixing.                   • Poland China




Major Swine Breeds




      Berkshire                   Chester White                   Landrace                       Yorkshire




     Hampshire                        Duroc                     Poland China                      Spotted




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            Producers also use various genetic lines derived
         from these breeds. Virtually all market pigs are
         produced by crossing purebred breeds or using
         multi-genetic lines to take advantage of heterosis or
         hybrid vigor.
            Heterosis is a biological phenomenon in which
         the offspring of a mating of two separate breeds or
         lines performs better than the average of their par-
         ents. Crossbred offspring, such as the pork industry’s
         SYMBOL III (described on the previous page) grow
         faster, have lower mortality rates and convert feed to
         meat more efficiently. Symbol III is a visual image of
         the ideal pig.
            Rotational breeding systems involve the succes-
         sive use of boars of different breeds and the retention
         of gilts that are superior for growth rate, leanness
         and reproductive potential (as evidenced by their
         mothers’ reproductive record). These systems reduce
         out-of-pocket breeding stock expenses since replace-
         ment females are home-raised.                               terminal sire lines use the colored breeds, which are
            However, the retention of gilts from all sires means     generally more durable, leaner and heavier muscled.
         that all sires must be selected for superior genetic           A major change in the pork industry since 1980
         potential for carcass (backfat, muscling), production       has been the shift from rotational to terminal
         (feed efficiency, growth rate) and reproduction (pigs       breeding systems. This change was brought about
         per litter, milking ability) traits. Boars that are above   largely by pig-pricing systems that explicitly reward
         average in all three types of traits are not likely to be   leaner hogs and penalize fatter pigs, as well as a
         truly superior in any one area.                             more thorough understanding of the economic
            Terminal breeding systems involve crossing boar          importance of high reproductive efficiency. Today,
         lines selected strictly for carcass and production traits   the majority of pigs in the U.S. are produced from
         with gilt lines that are selected mainly for reproduc-      terminal breeding systems.
         tive potential. These matings, usually involve artificial      Many of the most modern pork production sys-
         insemination (AI) and produce offspring that are all        tems have gone to a closed-herd concept, where all
         marketed (therefore the name “terminal”), with no           the breeding females are produced in-house. Genetic
         gilts retained for breeding.                                advances are made strictly through the use of boar
            Since terminal boars are selected without concern        semen brought in from the outside. The major
         for reproductive potential (remember that no gilts          advantage of this system is that it reduces possibility
         will be kept from the matings), ones that are truly         of introducing any new diseases to the operation and
         exceptional for carcass and production traits can           thus enhances pigs’ health status.
         be used for breeding. The same is true of gilt lines.
         Emphasis can be placed on reproduction, with other          Swine Production Systems
         traits being important but secondary.
            Gilt lines used in modern terminal breeding sys-           Whether pigs are raised in pastures or in
         tems involve mainly the white breeds – Yorkshire,           enclosed barns, systems approaches dominate pork
         Landrace and Chester White. These breeds are gen-           production. Repeatable methods and specialization
         erally superior in reproductive traits, such as litter      characterize the modern pork producers regardless
         size, milk production and docile temperament. Most          of the type of facilities that they use.




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Housing System            Description                            Benefits                            Challenges

                 • Either naturally or mechanically   • Reasonable control of the           • High capital investment in a
                   ventilated, or a combination         environment.                          single purpose building.
                   of the two, depending on the       • Separation of manure from
                   season.                              the pig resulting in fewer
                 • Bedding optional.                    opportunities for disease
                 • Can accommodate group and            transmission.
                   individual housing.                • Easy to clean and disinfect.
                                                      • Multiple pens allow for split-sex
     Barn                                               feeding and separation of pigs
 (Confinement)                                          by weight.
                                                      • Excellent parasite control
                                                        opportunities.
                                                      • Multiple pens and feeders allow
                                                        for age-appropriate diets to be
                                                        fed.
                                                      • Less time required for observing
                                                        and managing pigs.




                 • A lower-cost facility.             • Low investment cost per pig.        • Lots of bedding required plus a
                 • Deep bedding used to absorb        • Multiple-use building (can be         place to store the bedding.
                   manure, which is handled as a        used for other storage purposes     • Can be difficult to cool pigs in
                   solid.                               if not                                hot, humid weather.
                 • Usually used for gestation and       for pigs).                          • More difficult to identify and
                   grow-finish pigs.                  • Reasonable control of the             treat sick pigs.
                 • Group sizes often 100 or more.       environment with adequate           • Difficult to clean and disinfect.
                                                        bedding.                            • Difficult to separate pigs from
  Hoop Barn                                                                                   the manure.
                                                                                            • More time required for handling
                                                                                              and bedding pigs.




                 • Used for all stages of             • Ability to disperse pigs over a     • Minimal control of the
                   production, with obvious             large area.                         environment.
                   seasonal limitations               • Low cost of facilities.             • Difficult to clean and disinfect,
                   for winter production in some      • Quality forage on the pasture         requiring adequate pastures to
                   parts of the United States.          can meet a portion of pigs’           allow for rotation to clean
                 • Pasture production systems           nutritional needs.                    ground each year.
                   involve intensive production       • Ability to root and forage.         • Controlling predators necessary.
                   management and pasture                                                   • Control of diseases spread by
   Pasture         rotation.                                                                  wild animals.
                 • Low cost of facilities, but the                                          • Managing in cold, hot or rainy
                   opportunity cost of the land for                                            weather.
                   crop production must be                                                  • Parasite control needed.
                   considered.                                                              • More time required for
                                                                                              individually treating and
                                                                                              handling pigs.
                                                                                            • Ground cover needs to be
                                                                                               maintained.




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            The choice of facility type is mainly a balancing of      Regardless of type of facilities used, the objective
         capital investment, labor requirement and manage-         is the same: To provide the proper environment to
         ment expertise. Animal and worker well-being are          maximize the well-being and productivity of both
         primary concerns to producers, regardless of the type     animal and the workers.
         of facilities chosen. The key to good swine care rests
         more on the producer’s ability to properly manage         Breeding and Gestation
         housing than it does on the specific type of housing         The design of breeding facilities depends largely
         provided.                                                 on the type of mating system used.
            Controlled-environment buildings require a                Pen mating, where one or more boars are placed
         much higher investment but lower labor per unit of        with a group of sows, is frequently used in pasture
         output. These facilities make handling hogs easier,       systems. This approach requires little labor but pro-
         provide for more direct observation of animals, allow     vides little information about when, or even if, a sow
         greater control of the production process, protect        is actually bred.
         both animals and workers from the heat, cold, rain           Hand-mating predominates in controlled-
         and snow, and usually result in faster growth to mar-     environment facilities and can be used in outdoor
         ket weight, along with better feed efficiency.            facilities, as well. This method involves placing one
            Most controlled-environment facilities are oper-       boar with one sow and observing to make sure that
         ated in “all-in/all-out” fashion where pigs are moved     a mating occurs. This takes more labor, but it results
         in groups, and buildings are thoroughly cleaned and       in very accurate information to use in making future
         disinfected between groups. Controlled-environment        management decisions.
         facilities take little land, leaving more available for      Artificial insemination (AI), the predominant
         grain production.                                         breeding method on farms of all sizes, allows
            Pasture or outdoor production systems involve          improved genetic material to be introduced faster
         more acres of land and more labor per unit of out-        and minimizes the risk of disease transmission. AI’s
         put. They require generally lower capital investment,     greatest value is in controlled-environment facili-
         especially when marginal land can be used, but usu-       ties where breeding efficiency is a major factor that
         ally give lower productivity in terms of output per       impacts profitability.
         unit of land or labor or feed. Interest in outdoor           AI involves no boar on site and requires the high-
         or pasture facilities has increased in recent years as    est level of management expertise and labor of all the
         “systems” ideas have been imported from Europe            alternative mating systems. Commercial boar studs
         and as some niche markets have developed for meat         meet the demand for semen from genetically supe-
         from pasture-raised pigs.                                 rior boars.
                                                                      Sows can be housed in groups on pasture, in
                                                                   groups in controlled-environment buildings or indi-
                                                                   vidually in controlled-environment buildings during
                                                                   breeding and their 114-day gestation (pregnancy).
                                                                   Boars usually are housed in the same way as sows.
                                                                      The type of housing offered to gestating sows has
                                                                   been a topic of debate for many audiences. The
                                                                   available science shows that both individual and
                                                                   group housing systems are acceptable for providing
                                                                   for the well-being of the sow. Regardless of the sys-
                                                                   tem used, the caretaker’s husbandry skills and ability
                                                                   to provide good care most influences the well-being
                                                                   of the sow.




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   The American Veterinary Medical Association           being crushed by sows that sometimes accidentally
(AVMA) and the American Association of Swine             lay on them and also prevent injury to pigs or work-
Veterinarians (AASV) have reviewed existing scien-       ers if the sow’s protective instincts cause aggres-
tific literature on gestational sow housing and have     sive behavior. Farrowing buildings are thoroughly
published position statements that concluded that        cleaned before sows enter, and farrowing pastures
both types of housing types have advantages and dis-     are rotated in order to control disease.
advantages. They also concluded that regardless of          Farrowings average 10 to 12 pigs per litter (with
the type of housing system in use, the system should:    a practical range of 6 to 13). In 2009, the average
                                                         number of pigs weaned per litter in the U.S. was
                                                         about 9.6. Baby pigs are carefully observed to keep
                                                         mortality to a minimum and to ensure rapid early
                                                         growth and development.
                                                            The highest losses of the entire pork production
                                                         process occur within three or four days of birth, and
                                                         these losses are costly. It may cost a producer $700 to
                                                         $725 a year to keep a sow. If she raises 20 pigs dur-
                                                         ing that year, the cost per pig is $35 to $38. However, if
                                                         a sow raises 25 pigs, the cost per pig falls to $28 to $30.
                                                            With this in mind, producers follow many steps
                                                         to ensure the survival of each pig. Newborn piglets
                                                         need special attention because they are born with
                                                         little stored energy, have little ability to regulate their
  • Minimize aggression and competition among            own body temperature and can easily be injured by
    sows.                                                the sow.
  • Protect sows from detrimental effects associated        After birth, several procedures may be performed
    with environmental extremes, particularly tem-       on piglets to improve their survival chances and/or
    perature extremes.                                   to prevent future problems. These may include dis-
  • Reduce exposure to hazards that result in inju-      infecting navels to prevent infections, clipping needle
    ries, pain, or disease.                              teeth to prevent injuries to other pigs or the sow,
  • Provide every animal with daily access to appro-     giving supplemental iron to improve the blood’s oxy-
    priate food and water.
  • Facilitate observation of individual sow appetite,
    respiratory rate, urination and defecation, and
    reproductive status by caregivers.
  • Allow sows to express most normal behavior
    patterns.

Farrowing
  Farrowing facilities range from pasture systems
with small, individual sow huts to enclosed
farrowing houses that are part of either partial or
totally controlled-environment operations.
   Farrowing houses contain individual farrowing
pens or stalls designed to provide a place for the
sow to farrow and to protect both newborn pigs and
workers. These facilities protect newborn pigs from




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           do so. Producers realize that pigs are living beings
           and as such, they must receive a level of care that
           promotes their well-being. At minimum, U.S.
           pork producers commit to:
               • Provide feed, water and an environment that
                 promotes the well-being of their animals.
               • Provide proper care, handling and transpor-
                 tation for pigs at each stage of life.
               • Protect pig health and provide appropriate
                 treatment, including veterinary care, when
                 needed.
               • Use approved practices to euthanize, in a
                 timely manner, those sick or injured pigs
                 that fail to respond to care and treatment.
              Pork producers realize that consumers of pork       ducers and other industry spokespeople connect
           are increasingly interested in how the animals         with community leaders and the general public
           used to produce meat are raised and trust that         through presentations given in their communities.
           those animals were raised in a way that ensured
           their well-being. Also, good animal care provides      Education Programs for Swine
           an economic advantage. Animals that are cared          Care in the United States
           for appropriately grow faster and more efficiently
           than those that are not. Good animal care prac-           To fulfill its mandate of providing knowledge
           tices promote good health, which reduces produc-       and opportunities that enable producers to be
           tion costs associated with veterinary services and     competitive, the Pork Checkoff has developed
           animal health products.                                several education and certification programs. These
                                                                  programs are designed to help producers tackle
                                                                  issues facing modern pork production.
           We Care Initiative                                        Several Checkoff-funded programs, such as the
              The pork industry’s We Care initiative, a joint     Pork Quality Assurance® Plus (PQA Plus®) and the
           effort of the Pork Checkoff and the National Pork      Transport Quality Assurance® (TQA®) programs
           Producers Council, helps demonstrate that pork         are considered industry standards.
           producers are committed to the well-being of              U.S. Pork producers have a long tradition of
           their animals. We Care also encompasses pro-           social responsibility. The tradition includes the
           ducers’ pledge to produce safe food, while being       development of producer certification programs
           good stewards of the environment and being good        that producers can use to ensure that U.S. pork
           neighbors,.                                            products are of the highest quality and safe, and
              The pork industry offers numerous pro-              that the animals raised for food are cared for in a
           grams, including Pork Quality Assurance® Plus          way that ensures their well-being.
           (PQA Plus®) and Transport Quality Assurance®              In 1989, pork producers developed the Pork
           (TQASM), to support animal well-being and main-        Quality Assurance® program, a producer education
           tain a safe, high-quality supply of pork. The We       and certification program to reduce the risk of
           Care initiative ties everything together to help the   violative animal health product residues in pork.
           public view the pork industry as a self-regulated      The program, better known as PQA®, was modeled
           business that earns the trust of others.               after the Hazard Analysis Critical Control Point
              Other programs that producers can take part         (HACCP) programs used by food manufacturers
           in to support the We Care initiative include           to ensure the safety of food products, but
           Operation Main Street. The program helps pro-          customized for on-farm use.



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   PQA was designed to identify the practices with



                                                     10
potential to result in a food safety hazard and
minimize this potential risk through producer                    Good Production
education on relevant on-farm practices. The
success of the program was demonstrated by
                                                                 Practices
significant producer participation, customer
acceptance and more importantly, a measurable        At the core of the PQA Plus program, 10 good
reduction in the instances of violative residues     production practices are used as guidelines
in pork. The program has been revised several        for safe and responsible use of animal health
times, with updated content taken from new           products and for continually and objectively
scientific knowledge, and to address the evolving    evaluating and, when necessary, improving
industry and changing production practices.          animal care. They are:
   As consumers show greater interest in the
                                                     GPP 1 -    Establish and implement an
attributes of the products they purchase for
                                                                efficient and effective herd health 		
food, their interest in the well-being of the
                                                                management plan.
animals raised by pork producers has come to
the forefront. Producers understand this and         GPP 2 -    Use a veterinarian/client/patient
since the mid-1990s have had programs and                       relationship as the basis for 			
educational materials in place to help them care                medication decision-making.
for their animals in a manner that promotes
animal well-being.                                   GPP 3 -    Use antibiotics responsibly.

Pork Quality Assurance® Plus                         GPP 4 -    Identify and track all treated animals.

   In 2007, PQA evolved into PQA Plus® to reflect    GPP 5 -    Maintain medication and
increasing customer and consumer interest in                    treatment records.
the way food animals are raised. PQA Plus was
built as a continuous improvement program.           GPP 6 -    Properly store, label, and account
Maintaining its food-safety tradition to ensure                 for all drug products and
that U.S. pork products continue to be recognized               medicated feeds.
domestically and internationally as the highest
                                                     GPP 7 -    Educate all animal caretakers on 		
quality and safest available, it also provides
                                                                proper administration techniques, 		
information to ensure producers can measure,
                                                                needle-use procedures, observance
track and continuously improve animal well-
                                                                of withdrawal times and methods 		
being. With PQA Plus, pork producers have
                                                                to avoid marketing adulterated
another tool to demonstrate that they are socially
                                                                products for human food.
responsible.
   The PQA Plus program achieves its goals           GPP 8 -    Follow appropriate on-farm feed 		
through:                                                        processing and commercial feed 		
                                                                processor procedures.

                                                     GPP 9 -    Develop, implement and document 		
                                                                an animal caretaker training 			
                                                                program.

                                                     GPP 10 - Provide proper swine care to 		
                                                              improve swine well-being.




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                                                                     Today, pigs are seldom moved at 120 pounds,
                                                                  and the “grow-finish” phase comprises two to nine
                                                                  phases in which unique diets are fed to closely match
                                                                  pigs’ nutritional requirements. Barrows and gilts
                                                                  are frequently fed separately during the grow-finish
                                                                  phase because their nutritional requirements are
                                                                  significantly different. “Split-sex” feeding results in
                                                                  leaner, meatier animals from fewer pounds of feed.
                                                                     Either pasture or controlled-environment facilities
                                                                  may be used for the grow-finish phase. General types
                                                                  of buildings that are used include:
                                                                     • Totally enclosed, controlled-environment –
                                                                       Usually the most costly but provides the greatest
         gen-carrying capacity, docking tails to prevent future
                                                                       control over temperature and humidity. Electric
         injury and castrating boars to prevent aggression, as
                                                                       fans provide ventilation.
         well as off-flavored meat.
                                                                     • Open front with outside apron – Costs less
         Nursery                                                       to construct than other types, but because one
                                                                       side (usually the south) is always open, pigs are
            Pigs are generally weaned at 2 to 4 weeks of age           exposed to temperature variations that may
         when they weigh 10 to 15 pounds. At this time, they           reduce comfort and performance.
         are moved to either a nursery, a grower or a wean-           • Double-curtain buildings – Automatically con-
         finish building designed to meet the needs of pigs             trolled curtains on both sidewalls usually placed
         from weaning to market weight.                                 perpendicular to prevailing winds. A combina-
            Most housing for newly weaned pigs has slatted              tion of mechanical and natural ventilation main-
         floors that allow pigs’ waste to fall through into a           tains proper temperatures and provides fresh air.
         holding pit or gutter. This keeps floors drier and             Sometimes tunnel-ventilated, with big fans at
         cleaner, making it easier to provide the correct envi-         one end, these buildings have been a major tech-
         ronment to keep pigs comfortable and healthy. The              nological development. To be cost-competitive,
         slotted floors are made of easily cleaned and main-            these buildings must usually hold at least 800
         tained materials.                                              pigs per all-in/all-out group.
            Complex diets consisting of grain, plant proteins,       • Hoop buildings – Hoop structures have wooden
         milk products and animal proteins are fed to newly            or concrete sidewalls that are three to four feet
         weaned pigs. As many as five unique diets may be              high upon which are mounted hoops. The hoops
         fed to a pig before it is moved out of the nursery            support covers made of specially treated fabric or
         facility at 8 to 10 weeks of age and 40 to 60 pounds.         plastic. Straw or cornstalks are used for bedding
         Pigs that were moved to wean-market buildings are             over dirt floors. Research shows that these buildings
         simply changed to grower diets at this point.                 can provide cost-competitive all-in/all-out finishing
                                                                       facilities for as few as 200 pigs per group.
         Growing and Finishing
            Growing and finishing were once thought of as
         distinct phases in the pork production process. The
                                                                  Animal Care
         difference in terminology dates back to the time           Pork producers care
         when fat was more valuable and “finishing” pigs          about their animals’ well-
         meant feeding them to a sufficient degree of fatness.    being for several reasons.
         In fact, separate pens and even separate buildings       The main one is that
         were used for growing pigs (up to 120 pounds) and        producers feel the personal
         finishing pigs (120 pounds to market weight).            and moral responsibility to



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           do so. Producers realize that pigs are living beings
           and as such, they must receive a level of care that
           promotes their well-being. At minimum, U.S.
           pork producers commit to:
               • Provide feed, water and an environment that
                 promotes the well-being of their animals.
               • Provide proper care, handling and transpor-
                 tation for pigs at each stage of life.
               • Protect pig health and provide appropriate
                 treatment, including veterinary care, when
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                 timely manner, those sick or injured pigs
                 that fail to respond to care and treatment.
              Pork producers realize that consumers of pork       ducers and other industry spokespeople connect
           are increasingly interested in how the animals         with community leaders and the general public
           used to produce meat are raised and trust that         through presentations given in their communities.
           those animals were raised in a way that ensured
           their well-being. Also, good animal care provides      Education Programs for Swine
           an economic advantage. Animals that are cared          Care in the United States
           for appropriately grow faster and more efficiently
           than those that are not. Good animal care prac-           To fulfill its mandate of providing knowledge
           tices promote good health, which reduces produc-       and opportunities that enable producers to be
           tion costs associated with veterinary services and     competitive, the Pork Checkoff has developed
           animal health products.                                several education and certification programs. These
                                                                  programs are designed to help producers tackle
                                                                  issues facing modern pork production.
           We Care Initiative                                        Several Checkoff-funded programs, such as the
              The pork industry’s We Care initiative, a joint     Pork Quality Assurance¥ Plus (PQA Plus®) and the
           effort of the Pork Checkoff and the National Pork      Transport Quality Assurance® (TQA®) programs
           Producers Council, helps demonstrate that pork         are considered industry standards.
           producers are committed to the well-being of              U.S. Pork producers have a long tradition of
           their animals. We Care also encompasses pro-           social responsibility. The tradition includes the
           ducers’ pledge to produce safe food, while being       development of producer certification programs
           good stewards of the environment and being good        that producers can use to ensure that U.S. pork
           neighbors,.                                            products are of the highest quality and safe, and
              The pork industry offers numerous pro-              that the animals raised for food are cared for in a
           grams, including Pork Quality Assurance® Plus          way that ensures their well-being.
           (PQA Plus®) and Transport Quality Assurance®              In 1989, pork producers developed the Pork
           (TQASM), to support animal well-being and              Quality Assurance® program, a producer education
           maintain a safe, high-quality supply of pork. The      and certification program to reduce the risk of
           We Care initiative ties everything together to help    violative animal health product residues in pork.
           the public view the pork industry as a self-regulat-   The program, better known as PQA®, was modeled
           ed business that earns the trust of others.            after the Hazard Analysis Critical Control Point
              Other programs that producers can take part         (HACCP) programs used by food manufacturers
           in to support the We Care initiative include           to ensure the safety of food products, but
           Operation Main Street. The program helps pro-          customized for on-farm use.



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   PQA was designed to identify the practices with
potential to result in a food safety hazard and
minimize this potential risk through producer
education on relevant on-farm practices. The
success of the program was demonstrated by
significant producer participation, customer
                                                     10          Good Production
                                                                 Practices
acceptance and more importantly, a measurable        At the core of the PQA Plus program, 10 good
reduction in the instances of violative residues     production practices are used as guidelines
in pork. The program has been revised several        for safe and responsible use of animal health
times, with updated content taken from new           products and for continually and objectively
scientific knowledge, and to address the evolving    evaluating and, when necessary, improving
industry and changing production practices.          animal care. They are:
   As consumers show greater interest in the
                                                     GPP 1 -    Establish and implement an
attributes of the products they purchase for
                                                                efficient and effective herd health
food, their interest in the well-being of the
                                                                management plan.
animals raised by pork producers has come to
the forefront. Producers understand this and         GPP 2 -    Use a veterinarian/client/patient
since the mid-1990s have had programs and                       relationship as the basis for
educational materials in place to help them care                medication decision-making.
for their animals in a manner that promotes
animal well-being.                                   GPP 3 -    Use antibiotics responsibly.

Pork Quality Assurance® Plus                         GPP 4 -    Identify and track all treated animals.

   In 2007, PQA evolved into PQA Plus® to reflect    GPP 5 -    Maintain medication and
increasing customer and consumer interest in                    treatment records.
the way food animals are raised. PQA Plus was
built as a continuous improvement program.           GPP 6 -    Properly store, label, and account
Maintaining its food-safety tradition to ensure                 for all drug products and
that U.S. pork products continue to be recognized               medicated feeds.
domestically and internationally as the highest
                                                     GPP 7 -    Educate all animal caretakers on
quality and safest available, it also provides
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                                                                needle-use procedures, observance
track and continuously improve animal well-
                                                                of withdrawal times and methods
being. With PQA Plus, pork producers have
                                                                to avoid marketing adulterated
another tool to demonstrate that they are socially
                                                                products for human food.
responsible.
   The PQA Plus program achieves its goals           GPP 8 -    Follow appropriate on-farm feed
through:                                                        processing and commercial feed
                                                                processor procedures.

                                                     GPP 9 -    Develop, implement and document
                                                                an animal caretaker training
                                                                program.

                                                     GPP 10 - Provide proper swine care to
                                                              improve swine well-being.




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               • Producer training by a certified PQA Plus
                 advisor which results in the producer receiv-
                 ing PQA Plus certification.
               • An objective assessment of on-farm animal
                 well-being which, when combined with the
                 education of the producer through PQA Plus
                 certification, results in the farm receiving
                 PQA Plus site status.
               • A PQA Plus survey designed to evaluate the
                 implementation of PQA Plus in the industry.
                 Survey results are used to identify opportuni-
                 ties for improvement of the program’s infor-
                 mation and delivery.
              PQA Plus certification is valid for three
           years. To recertify every three years, producers         is the safest in the world and is safer than it has
           must attend a PQA Plus training session with a           ever been.
           certified PQA Plus advisor. Likewise, PQA Plus
           site status is valid for three years. An objective       Transport Quality Assurance®
           assessment of the well being of the animals on              The Transport Quality Assurance® (TQAsm)
           the farm is required for continuing a farm’s PQA         certification program ensures that pigs in the
           Plus site status. While site status is valid for three   United States are handled and transported in a
           years, producers may work with their PQA Plus            manner that ensures their well-being. Coupled
           advisor to determine the frequency and timing of         with PQA Plus®, the producer education and site
           assessments and training.                                assessment program that promotes food safety
              Producer training and third-party on-farm             and animal well-being on the farm, TQA gives
           assessments are performed by certified PQA Plus          the industry the information necessary so that
           advisors. The network of certified PQA Plus              animals receive a high standard of management
           advisors spans the United States. Certified advisors     and care as they are moved or transported.
           are veterinarians, animal scientists, university            TQA certified individuals receive training in
           Extension specialists or ag educators with a             areas that have been identified as critical to the
           bachelor of science degree in animal science or a        well-being of animals being moved within a facility
           related degree. They also must have two years of         or transported from one facility to another. Key
           recent, documented swine production experience.          learning objectives include an understanding of:
           Advisors must attend a PQA Plus training session             • Pig behavior, animal health and condition
           and successfully pass an examination proving                   and the implications of these during
           knowledge of the program, the implementation of                handling, moving, loading or unloading and
           training and the assessment.                                   during transport.
              Pork industry customers and consumers can                 • The need to maintain the health and well-
           be comfortable with the knowledge that U.S.                    being of the animals, on-farm and during
           pork products are produced following good                      transport.
           production practices that address their safety               • The differences between animals of
           and in a way that promotes animal well-being                   different sizes and the proper handling and
           because of programs such as PQA Plus. PQA Plus                 transporting techniques for each type of
           demonstrates America’s pork producers’ will to                 animal.
           commit and to make themselves accountable for                • The use and maintenance of equipment, facilities
           the way they produce the pork products that feed               and transport vehicles to facilitate humane and
           the world. Because of this commitment, U.S. pork               safe handling and transport of animals.



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   • The responsibilities and requirements of all      practices that ensure food safety and the well-
     parties involved in the planning, handling and    being of animals.
     transport of animals between facilities.
   • The potential risks associated with unplanned
     events (such as accidents, delays and plant       Marketing
     shutdowns).                                          When pigs reach about 260 to 270 pounds,
   • Basic emergency response.                         producers sell them on either a live-weight basis
   • The laws and regulations that apply to the        at terminal markets or auctions, or on a live-
     transport and transporters of animals.            weight or carcass-weight basis direct to packers.
   • The role livestock transporters play in the       Also, some producers use livestock exchanges or
     safety of the U.S. food supply, the image they    producer-owned marketing networks for price
     project and the expectations the pork industry    negotiation and transportation.
     has of them.                                         As noted earlier, terminal markets developed in
   Tens of thousands of pork producers, livestock      the late 1800s near packing plants in major metro-
transporters and personnel in charge of loading and    politan areas. These markets played a major role in
unloading animals have received TQA training since     the development of the U.S. livestock industry, but
the program’s development in 2002. In parallel to      they have declined in importance in recent years as
the program’s dissemination, the number of animal      communications systems have improved and farms
losses and fatigued pigs that arrive at harvesting     have become larger. Today, less than one percent of
facilities has been significantly reduced, according   all pigs are sold through terminal markets.
to industry experts. At the same time, pork quality       Auction markets were organized in many rural
defects caused by improper handling and/or             communities to provide a point of sale for small
transport of the animals also have been reduced.       lots of livestock from relatively small geographic
   These successes have been achieved through          areas. Like terminal markets, these markets are
the TQA training of producers, pig transporters        less numerous and handle fewer pigs today. They
and animal handlers by certified TQA advisors.         still provide needed price discovery and livestock
Advisors are qualified industry individuals who have   assembly services in some areas, especially those
completed TQA content and session facilitation         distant from packing plants or terminal markets.
training and who have successfully passed a               Producers also have the option of selling
comprehensive examination covering the program.        directly to packers and delivering pigs to the plant
   Thanks to TQA, pork industry customers              or to buying stations. This type of marketing has
and consumers can be assured that today’s pork         increased over the years and is now used for the
products are handled and transported following         vast majority of pigs produced.



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              More than 95 percent of the pigs produced in
           the United States are now sold on “carcass-merit”
           pricing systems in which a portion of the price is
           determined by certain characteristics of the ani-
           mal. Current systems pay premiums for pigs with
           low amounts of fat and high amounts of muscle.
           Advanced measurement systems that will allow
           premiums to be paid for carcasses with better-
           flavored, juicier and more tender meat are being
           researched by producers and processors.
              The marketing chain for pigs is made up of a
           wide variety of businesses that include pork pro-
           ducers, packers, processors, purveyors, retailers
           and foodservice operators. All play an important
           role in adding value to pigs by producing pork
           products that meet the needs and desires of con-     are high, more sows are bred and more pigs are
           sumers worldwide.                                    produced. But these pigs will not reach market for
                                                                about a year after they are conceived. When they
           Prices for Pigs                                      do, supplies increase and prices fall, thus causing
             No matter what marketing system is used, prices    a price cycle. Seasonal price variation is caused by
           are generally determined by supply and demand.       changes in production efficiency due to weather
           There have historically been few government          variation and by different demand levels, such as
           subsidies to support producers in times of low       higher demand during the fall months..
           prices. If supplies are low and/or demand is high,     Producers can manage the prices they receive by
           prices will be high. If supplies are high and/or     hedging hogs with futures or options contracts
           demand is low, prices will be low.                   or by forward contracting hogs with a packer.
             Pig prices vary cyclically and seasonally.         Futures and options are traded on the Chicago
           Cyclical price variation is caused by time lags      Mercantile Exchange (Lean Hogs and Pork Bellies
           inherent to biological production. When prices       contracts).




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Stewardship
   Pork producers are committed to managing their          Most producers have implemented a nutrient
farms in an environmentally responsible manner in        management plan, which is a compilation of
order to protect the environment and conserve the        conservation practices and management activities
natural resources for future generations. Today’s        developed for a specific production site that
pork production operations capture, treat and            helps ensure that both production and natural-
recycle the valuable nutrients produced in manure        resource conservation goals are achieved. The plan
so they can be used as a natural source of fertilizer.   incorporates practices to use animal manure as a
   Over the last decade, America’s pork producers        beneficial resource for crop production.
have played a leading role in advancing animal
agriculture’s environmental and conservation
efforts. Producers work to address environmental         Manure and Nutrient
challenges in a cooperative and productive               Management
fashion by partnering with government, scientists,
conservationists and the communities in which they
live and farm.                                           Manure as Fertilizer
   For instance, the pork industry’s work on the            Using manure as a crop nutrient is a practice
environment has included helping to develop better       as old as agriculture itself. Applying manure to
best-management practices (BMPs) in manure               cropland benefits crops and soil. Manure helps
containment and use, and working with the U.S.           build the organic content in soil and improve soil
Environmental Protection Agency (EPA) to fund            moisture-holding capacity, something commercial
air-quality monitoring studies.                          fertilizers can’t accomplish.




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                                                                   Every living thing needs nutrients to grow. Plants
           What are lagoons and slurry                           require nitrogen, phosphorus, potassium and many
           storage systems?                                      other elements to thrive. Most of these nutrients
                                                                 enter the plants through soil and application of
              Slurry systems are glass-lined steel, concrete     manure, which contains these nutrients. This is an
           or earthen structures that serve as storage for       important part in completing the natural nutrient
           manure and wastewater from animals. The               cycle of agriculture: Crops feed the animals and
           concrete structures are often built under the hog     the animal manure feeds the crops. It is a perfect
           building. External tanks are sometimes covered.
                                                                 example of “recycling.”
              Advantages of a slurry system include greater
                                                                   Modern pork production operations use manure
           retention of manure nutrients and less total
                                                                 storage and handling structures that safely contain
           volume of manure to handle. Nutrients also exist
                                                                 manure at the production site and apply swine
           in a more concentrated form. However, slurry
                                                                 manure according to a nutrient management plan
           storage structures may be more costly than
                                                                 and in a manner that does not cause surface or
           lagoons.
                                                                 groundwater pollution. Pork producers continue to
              Lagoon systems are larger clay- or plastic-lined
                                                                 develop innovative methods, such as injecting the
           earthen structures that act as digesters and as
                                                                 manure into the soil, that effectively minimize odor,
           storage structures for manure. As manure enters
                                                                 dramatically reduce runoff potential and increase
           a lagoon, the solids settle to the bottom where
           bacterial activity is promoted to break down many     the availability of the valuable nutrients in manure
           of the solids in the manure.                          to crops and plants.
               Lagoons have larger surface areas than              Sound manure management involves proper
           slurry tanks because of the sloped sides of the       design, construction, maintenance and operation of
           earthen structure and the need to treat and store     on-farm manure handling systems. Sound manure
           manure and waste water. Liquid manure typically       management systems allow producers to:
           is pumped from lagoons and contains lower                • capture and recycle valuable nutrients
           nutrient concentrations.                                 • comply with laws and regulations concerning
              Advantages of lagoon systems usually include            environmental management
           lower construction costs and bacterial degradation       • enhance the environment they live in
           of manure solids and nutrient levels. They also          • improve neighbor relations
           can provide a source of recycled water for flushing     Other manure treatment and handling
           manure from barns.                                    technologies also are being used by some pork
              Disadvantages include some loss of the nutrient    producers.
           nitrogen through the air, the need to periodically      Broad use of these alternative technologies is
           remove and manage nutrient-rich sludge from             slow because:
           the bottom of the lagoon and a greater potential        • the costs of implementing these technologies
           for generating odors associated with anaerobic            may be prohibitive to the majority of farms
           degradation of manure solids.                           • the expertise required for management of the
                                                                     technology is high

                                                                 Lagoon Aeration
                                                                    Aeration is a process sometimes considered in
                                                                 managing swine manure in lagoons or other outside
                                                                 storage structures. In this process, small bubbles of
                                                                 air are introduced into liquid manure to stimulate
                                                                 the growth of aerobic bacteria. These bacteria
                                                                 provide high-rate degradation of organic material



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  4
    Air Emissions Monitoring Protocol, Steven           greenhouse effect has the potential for global
J. Hoff PhD, PE, Professor, Department of               warming, resulting in climate change on earth.
Agricultural and Biosystems Engineering Iowa State         The global warming potential of each of these
University, 2006                                        gases is different and to be quantified needs to
                                                        be adjusted to a common unit of measure. That
                                                        common unit is carbon dioxide and is expressed as a
What Is a Carbon Footprint?                             carbon dioxide equivalent (CO2e). These emissions
   A carbon footprint is a technical assessment,        are generally measured in metric tons (2,204
which determines the amount of emissions of             pounds), the international standard.
certain gases resulting from a process, an activity,       Carbon dioxide, methane and nitrous oxide are
a business or even a person’s daily life-style. There   the primary GHGs that result from agricultural and
are six primary gases of interest: carbon dioxide       livestock operations. The other three gases are not
(CO2), methane (CH4), nitrous oxide (N2O),              generally associated with ag operations.
sulphur hexafloride (SF6), per-flourcarbons (PFCs)         A carbon footprint estimates the size and
and hydroflourocarbons (HFCs). These are often          breakdown of GHG emissions, identifies areas
referred to as greenhouse gases, or GHGs, because       where emissions may be positively impacted by
they are believed to contribute to a “greenhouse        improved efficiencies and provides a mechanism
effect,” which traps heat in our atmosphere. This       to track performance in improving efficiencies and
                                                        reducing emissions.

      In 2008, the National Pork Board
      adopted a resolution regarding the                What Is the Carbon Footprint
      pork industry’s carbon footprint.                 of U.S. Pork Production?
      The resolution established that:                     America’s pork producers are among the most
        • The carbon footprint of U.S. pork pro-        environmentally and socially conscious food
          duction is of significant importance to       producers in the world today. From their continual
          the pork industry and its customers.          emphasis on the well-being of the animals under
        • The industry must develop a strategy          their care to their stewardship of the soil, water and
          to measure its footprint and identify         land they call home, pork producers are leaders
          challenges and opportunities from             on many environmental fronts. And as always,
          which solutions that are ethically            producers continue to ensure that the food they
          grounded, scientifically verifiable and       produce is done so in a responsible and caring way
          economically sound can be imple-              for animals, consumers and the environment.
          mented by America’s pork producers.              Just as they took steps in the 1980s and ‘90s to
                                                        protect the soil and water, today’s pork producers are
                                                        leaders in assessing and understanding their carbon
                                                        footprint. Through the Pork Checkoff, producers are
                                                        funding research efforts at the University of Arkansas’
                                                        Applied Sustainability Center to measure and
                                                        identify the overall carbon footprint involved with
                                                        pork production. They are determined to address
                                                        this important area and capitalize on opportunities
                                                        that make good environmental sense and are
                                                        economically sustainable.
                                                           Animal agriculture as a whole contributes a small
                                                        part of U.S. Greenhouse Gas (GHG) emissions.



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in the manure with less odor than is produced
by anaerobic systems. However, aeration systems
require significant hardware (pumps, aerators),
energy inputs (usually electricity) and maintenance
to keep the system operating efficiently.

Solid Separation
   Separating solids from liquid manure may be
beneficial in some cases. Manure solids contain a
significant portion of the total manure phosphorus
if separated soon after excretion. Manure solids
high in phosphorus can be more fully used by
transporting a nutrient-dense smaller volume to
locations low in phosphorus for crop production.
These solids may be composted and sold or
otherwise removed from the livestock-production
area. The separated liquid contains only a reduced
amount of nutrients that are applied on the land.
                                                        of these nutrients with organic carbon provides
                                                        value to crop production and the environment.
Methane Digester                                           Manure applied properly to the land provides
   Methane generation through anaerobic digestion       many environmental benefits including: reduced
of manure is another management method. Manure          soil erosion and runoff; increased soil organic
is put into a closed container or a covered basin.      content and reduced atmospheric carbon levels;
where oxygen is not present. As manure is digested,     reduced demands for natural gas intensive nitrogen
methane gas is produced. This gas can be collected      fertilizers; reduced demand for commercial
and burned for heat or used to generate electricity.    phosphorus fertilizer; and improved crop productivity.
The leftover liquid has fewer odors than the original      Most producers complete a manure and nutrient
manure. However, the cost and labor needed for          management plan in which they delineate how
digesters has slowed implementation.                    they will recycle the valuable resources produced
                                                        as manure on their farms. If the nutrients will be
Land Application                                        applied to the land as fertilizer, the plan includes
                                                        regular soil testing to determine soil nutrient
  Manure contains elements required for plant           requirements and manure testing to determine the
growth, including nitrogen, phosphorus, potassium       nutrient content of the resource.
and micronutrients. Manure’s unique combination            The plan also identifies environmentally sensitive
                                                        areas where application should be avoided or special
                                                        precautions must be considered.
                                                           Pork production operations are effectively zero-
                                                        discharge systems and pork producers understand
                                                        and take seriously their responsibility to properly
                                                        manage manure from their operations.

                                                        Constructed Wetlands
                                                           In a constructed wetland, liquid manure is
                                                        treated aerobically (with oxygen), while aquatic



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         plants take up some of the nutrients in the manure.       Pork producers carefully plan and design manure
         Constructed wetlands can provide a high degree of      management systems to protect natural resources
         treatment to manure. So far, constructed wetlands      including water. Manure storage structures can be
         have not been used by a lot of farmers. They           constructed of concrete, metal or earthen materials.
         require a large area of ground, are expensive to       If earthen structures are used, they are generally
         construct and establish. Vegetation requires more      lined with compacted clay or synthetic materials
         management after storm events due to more surface      to ensure protection of ground water. Earthen
         area that collects rain water and they do not work     structures used by pork operations are very similar
         well during cold weather. Livestock producers are      to the earthen structures used at many municipal
         not allowed to release manure or wastewater into       sewage plants with one exception – pork operations
         waterways, so land application is still required for   do not discharge their effluent into surface-water
         water from a constructed wetland. Long-term use        sources like many municipal systems do.
         of wetlands with swine farms has not been well            When swine manure is applied to the land
         documented.                                            as fertilizer, pork producers follow nutrient
                                                                management plans that carefully consider the
                                                                amount of nutrients already available in the soil, the
         References                                             nutrients that will be needed by the farm crops to
         USDA Cooperative State Research, Education and         be raised and the nutrients in the manure. Manure
         Extension Service                                      is applied only as needed to meet the nutrient
         National Pork Board-Environment FAQs Manure            requirements of the crops and in ways that reduce
         National Pork Board-Quick Facts                        the potential for runoff of manure into bodies of
         Manure Management for Environmental Protection         water.
         Publication                                               The 2004 Water Quality Assessment Database
         Commonwealth of Pennsylvania, Department of            compiled by state environmental regulatory agencies
         Environmental Protection                               and the U.S. Environmental Protection Agency
         Office of Water Management 2001                        (EPA) lists sources of surface-water impairments
                                                                of the nation’s rivers, streams and lakes. It shows
                                                                that livestock agriculture ranks low as a potential
                                                                source of impairment. In Iowa, the state that raises
         Water Quality                                          the most hogs, livestock production ranks last as
           Pork producers are good stewards of the              the probable source of impairment for streams and
         environment and strive to manage their farms           rivers and is not a source of impairment for lakes,
         in ways that protect the environment. They are
         committed to operating their farms in a responsible
         manner with respect and care for precious surface-
         and ground-water resources.
           The nutrients in swine manure, principally
         nitrogen and phosphorous, are naturally occurring
         compounds that result from various biological
         processes other than animal agriculture. Nitrogen
         and phosphorous can result from the decomposition
         of organic material such as leaves, plants and
         wildlife droppings. These nutrients are also present
         in other sources that contribute to the environment
         such as the effluent from municipal and industrial
         sewage plants and urban runoff primarily from
         lawns and pet waste.



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ponds and reservoirs.1 Pork producers take their
responsibility to be good environmental stewards
very seriously and work hard each day to manage
their farms in ways that protect the precious water
resources we all rely upon.

Reference
  1
   U.S. EPA National Water Quality Assessment
Data for the State of Iowa, 2004.
                                                        them to incorporate manure beneath the soil
                                                        surface. Research has shown that this method of
Odor Management
                                                        application can reduce the release of odors by
   Odor can result from any livestock operation         more than 90 percent when compared to spreading
regardless of the type of animal being cared for        manure on the soil surface. Data indicate that there
or the size or type of operation. The perception        is no difference in odor from land where manure is
of odor can vary depending on the location of the
                                                        injected below the soil surface and land that has not
farm relative to human receptors, wind speed and
                                                        been fertilized with swine manure.1
direction, temperature, humidity and the individual
                                                           A study conducted by the Department of Natural
sensitivity of people to odors.
                                                        Resources in Iowa, the state that raises the most
   Some of the compounds that cause odor from
                                                        hogs, found that in very few cases (7 percent) did
livestock operations are not unique to agriculture
and are naturally occurring. For example, naturally
                                                        odor levels exceed the agency’s benchmark threshold
decaying organic materials in wetlands, streams and     at pork production operations. In even fewer cases,
rivers have the potential to create odor. Other types   a total of 4 percent, measurements taken near public
of odor-causing compounds also occur as a result of     use areas, educational and religious institutions,
human activities and other industries.                  residences or commercial enterprises exceeded the
   Pork producers are aware that there is a potential   benchmark thresholds.
for odor from their farms and use a variety of             When measurements were taken at land
management practices to mitigate and control odors      application sites, odor levels exceeded the threshold
from their operations. Because odor-causing gases       limit 11 percent of the time for surface application
can attach themselves to dust particles, producers      sites and only 6 percent in sites where manure was
practice dust-control measures including good           used to fertilize land by injection.2
housekeeping inside and outside of the barns and           Pork producers strive to reduce odors from pork
may use vegetative windbreaks, plant buffers or fan     production because it is the right thing to do for
filters to keep barn dust and odor from moving off      their neighbors and the communities they live and
the farm. Proper management of manure storage           work in.
helps reduce odors as well. Some pork producers
use natural or synthetic covers on manure storage
                                                        References
structures to help control odor.
                                                          1
   Land application of manure as fertilizer is              Swine Manure Land Application Practices to
another source of odor. However, it generally only      Minimize Odors, Robert Burns, Associate Professor
occurs over a few days, once or twice each year.        of Ag and Biosystems Engineering, Iowa State
Producers know that the greatest opportunity to         University.
                                                          2
reduce manure-odor release is during the actual             Results of Iowa DNR Animal Feeding
land-application process. For this reason, many         Operations Odor Survey, Iowa DNR Ambient Air
producers have adopted technologies that allow          Monitoring Group, January 2006



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         Air Quality and Emissions
            Livestock operations, including hog farms,
         regardless of the type and size of the operation can
         be a source of other air emissions besides odor.
         These include dust and gases.
            Because of this, pork producers use various
         measures to control and mitigate potential emissions
         from their operations. These practices include good
         housekeeping and dust-control measures inside and
         outside of hog barns, proper manure management
         and storage and use of natural vegetation windbreaks
         and filters on ventilation fans.
            Dust from livestock operations is generated
         through animal activity, building ventilation and
         the movement of outside soil particles. Feed is
         usually the main component of dust from animal-          production operations conducted by Iowa State
         feeding operations, but other solid particles also       University’s Department of Agriculture and
         can be found in dust. Dust also can be generated         Biosystems Engineering looked at ammonia and
         from sources other than hog farms, including row-        hydrogen sulfide from pork production operations
         crop agricultural activities, gravel roads, industrial   and their impacts on air quality at neighboring
         operations, construction activities and motor vehicle    residences. The study found that emissions from the
         exhaust.                                                 pork production operations did not affect air quality
             Dust from pork production operations is              at neighboring residences outside the farm site. In
         generally large-sized particles that do not travel far   fact, the study found that ammonia concentrations
         from the barns. A study conducted by researchers         inside residences tended to be more concentrated
         from the University of Saskatchewan found that air       than ammonia levels in the air outside or at the
         quality 600 meters downwind from barns was no            pork production operation’s property line. The
         different than “fresh country air” or air 2,400 meters   study’s authors said evidence suggests that ammonia
         upwind from the barn.1                                   levels may be related more to inhabitants’ lifestyles,
            Gas emissions from livestock operations can           including smoking cigarettes, use of certain cleaning
         include hydrogen sulfide and ammonia. These gases        products and having indoor pets, than to the
         are not unique to agriculture and can be produced        residence’s proximity to a hog farm.4
         naturally and from human-made processes.
            Some sources of hydrogen sulfide include
         municipal sewage plants, stagnant bodies of water,       References
                                                                    1
         and many industries such as petroleum refineries,            Saskatchewan Pork Final Report, Airborne Dust,
         food-processing plants, pulp and paper operations        Endotoxin, and DNA Downwind from Swine Barns,
         and tanneries.2                                          October 2002.
                                                                    2
            Sources of ammonia are found in water, soil,              Toxicological Profile for Hydrogen Sulfide,
         and air and are a source of much needed nitrogen         July 2006, U.S. Department of Health and Human
         for plants and animals. Most of the ammonia in           Services, Public Health Service, Agency for Toxic
         the environment comes from naturally occurring           Substances and Disease Registry.
                                                                    3
         processes. The odor of ammonia is familiar to most           Toxicological Profile for Ammonia, September
         people because ammonia is used in smelling salts         2004, U.S. Department of Health and Human
         and common household cleaners.3                          Services, Public Health Service, Agency for Toxic
            A study of air quality surrounding pork               Substances and Disease Registry.



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J. Hoff PhD, PE, Professor, Department of               warming, resulting in climate change on earth.
Agricultural and Biosystems Engineering Iowa State         The global warming potential of each of these
University, 2006                                        gases is different and to be quantified needs to
                                                        be adjusted to a common unit of measure. That
                                                        common unit is carbon dioxide and is expressed as a
What Is a Carbon Footprint?                             carbon dioxide equivalent (CO2e). These emissions
   A carbon footprint is a technical assessment,        are generally measured in metric tons (2,204
which determines the amount of emissions of             pounds), the international standard.
certain gases resulting from a process, an activity,       Carbon dioxide, methane and nitrous oxide are
a business or even a person’s daily life-style. There   the primary GHGs that result from agricultural and
are six primary gases of interest: carbon dioxide       livestock operations. The other three gases are not
(CO2), methane (CH4), nitrous oxide (N2O),              generally associated with ag operations.
sulphur hexafloride (SF6), per-flourcarbons (PFCs)         A carbon footprint estimates the size and
and hydroflourocarbons (HFCs). These are often          breakdown of GHG emissions, identifies areas
referred to as greenhouse gases, or GHGs, because       where emissions may be positively impacted by
they are believed to contribute to a “greenhouse        improved efficiencies and provides a mechanism
effect,” which traps heat in our atmosphere. This       to track performance in improving efficiencies and
                                                        reducing emissions.

      In 2008, the National Pork Board
      adopted a resolution regarding                    What Is the Carbon Footprint
      carbon footprints. The resolution                 of U.S. Pork Production?
      established that:                                    America’s pork producers are among the most
        • The carbon footprint of U.S. pork pro-        environmentally and socially conscious food
          duction is of significant importance to       producers in the world today. From their continual
          the pork industry and its customers.          emphasis on the well-being of the animals under
        • The industry must develop a strategy          their care to their stewardship of the soil, water and
          to measure its footprint and identify         land they call home, pork producers are leaders
          challenges and opportunities from             on many environmental fronts. And as always,
          which solutions that are ethically            producers continue to ensure that the food they
          grounded, scientifically verifiable and       produce is done so in a responsible and caring way
          economically sound can be imple-              for animals, consumers and the environment.
          mented by America’s pork producers.              Just as they took steps in the 1980s and ‘90s to
                                                        protect the soil and water, today’s pork producers are
                                                        leaders in assessing and understanding their carbon
                                                        footprint. Through the Pork Checkoff, producers are
                                                        funding research efforts at the University of Arkansas’
                                                        Applied Sustainability Center to measure and
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                                                        pork production. They are determined to address
                                                        this important area and capitalize on opportunities
                                                        that make good environmental sense and are
                                                        economically sustainable.
                                                           Animal agriculture as a whole contributes a small
                                                        part of U.S. Greenhouse Gas (GHG) emissions.



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     U.S. Greenhouse Gas Emission Sources                       Where Can GHG Emissions
                                                                Come from on a Hog Farm?
                          Other Livestock                         Carbon emissions can come from a variety of
                              2.44%
                                                                areas of a pork operation.
                Swine                         Human Waste
                0.33%                           Systems
                                                 2.65%
                                                                Manure Storage
                                                                   Manure lagoons represent one of the biggest
                                                                opportunities to reduce greenhouse gases (GHG)
                                                                emissions. The reason anaerobic lagoons are a good
                                                                reduction source is that they can be a source of
                                                                significant amounts of methane (CH4). Methane
                                                                has an impact potential 21 times higher than carbon
                                                                dioxide (CO2).
                        All Other Sources                          There may be various options for controlling
                             94.58%                             emissions from manure storage and handling. One
                                                                option is to cover manure storage structures and
                                                                capture the emissions. The gases can then be flared
                                                                or used as a fuel source to drive power generators or
     Source: Data from EPA GHG Report 2007.                     equipment.


          According to the U.S. Environmental Protection        Fuel Use by Facility Vehicles
          Agency (EPA), in 2007 only 2.8 percent of U.S.           Depending on the size of the facility and
          GHG emissions came from animal agriculture and        complexity of the facility processes, a facility’s
          pork production contributes even less--a mere         tractor and vehicle fleet can make up a sizeable
          one-third of one percent (0.33%) of total U.S. GHG    portion of a pork operation’s GHG emissions.
          emissions.1                                           Measures to reduce GHG emissions from vehicles
            Unlike some other livestock species, pigs with
          their single stomach don’t produce much expellable     Percent of U.S. Greenhouse Gas Emissions
          gas during digestion, which according to the United                                                                  Per Million Pounds of Pork
          Nations’ Framework Convention on Climate
          Change, is ranked as second among the top four                                                          .000000175
                                                                   % Total U.S. GHG / Million Lbs. Pork Product




          main sources for non-CO2 GHG emissions. The
          other main sources, in order, are soils, manure                                                         .000000165
          management and rice cultivation.
            In GHG emission terms, producing pork is                                                              .000000155
          easier on the environment than are people. In
          terms of waste handling, humans generate 2.65                                                           .000000145
          percent of total GHG emissions just from municipal
          sewage treatment plants and solid-waste landfills.                                                      .000000135
          Meanwhile, pigs only create 0.3 percent in total.
                                                                                                                  .000000125
                                                                                                                               1990   1995   2000   2005    2006   2007
          Reference
            1
             http://epa.gov/climatechange/emissions/             Source: Data from EPA GHG Report 2007;
                                                                 Pork Quick Facts, 2009.
          downloads09/Agriculture.pdf



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can be as simple as putting in place rules against     These general categories can begin to give ideas for
idling, more efficient routing or multi-purpose        reducing GHG emissions on pork operations.
single trips. Focusing on tractor and vehicle
efficiency also may result in significant savings.
                                                       Community and Neighbors
Hog Building Energy Consumption                           The distinction between “country” and “city”
   Reductions of GHG emissions from hog facilities     living used to be pretty clear. However, the lines
can be achieved in different ways. These reductions    between urban and rural areas are becoming
arise from energy efficiency measures such as          increasingly blurred. Today’s neighborhoods can
lighting upgrades, improved temperature regulation     include retail centers, business parks, housing
(heating and cooling) in buildings, upgrades on fan    developments expanding into traditionally
motors, the use of natural light and onsite fuel for   agricultural landscapes.
power production. An additional benefit from these        U.S. pork producers realize the importance of being
emission reductions is money saved from lower          good neighbors and active, responsible citizens in their
electricity and fuel bills.                            communities. Many of today’s pork producers, or
                                                       their family members, also are teachers, coaches,
                                                       community leaders, etc.
Feed Production and Delivery                              While concern is sometimes expressed about
  GHG emissions from feed crop production              quality-of-life issues near pork production
generally are the result of nitrous oxide emitted      operations, communities in North Carolina have
from fertilizer application and from nitrogen          experienced rapid growth in pork production while
volatilization after application. Emissions savings    at the same time tourism has increased. A study paid
in this area can be achieved primarily by increasing   for by the Minnesota Legislature and conducted by
the use of natural fertilizer such as pig manure       researchers at the University of Minnesota found
and through injection application of fertilizer.       that new, large livestock facilities were strongly



                                                                                         Environmental Stewardship 69
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                                                                  impact of their operations on the community in
                                                                  which they work and live.
                                                                    Pork producers of all sizes and types are
                                                                  dedicated to raising high-quality, safe food in an
                                                                  environmentally friendly and socially responsible
                                                                  manner. They also know it’s important to cultivate
                                                                  understanding, open lines of communication
                                                                  and good relationships with neighbors and the
                                                                  communities in which they have decided to work,
                                                                  raise a family and live.



                                                                  Environmental Stewards
                                                                    A strong commitment to the environment and
                                                                  to the communities that surround their operations
                                                                  characterize the Pork Industry Environmental
                                                                  Stewards program. The pork producers selected
                                                                  to receive these awards demonstrate that
                                                                  environmental responsibility is not just the right
                                                                  thing to do, but also plays a fundamental role in how
         associated with higher nearby residential property       they run their businesses.
         values. The study, the largest of its kind to date,        The awards are presented annually by the Pork
         looked at actual sales prices of 292 rural residential   Checkoff and partner and cosponsor, the National
         properties located near livestock facilities larger      Hog Farmer magazine. Candidates for the annual
         than 500 animal units (1,250 finishing pigs). The        environmental steward awards apply or can be
         study showed a mean price increase of 6.6 percent        nominated for the honor and represent all sizes
         for a rural residential property near a new feeding      and types of operations. A committee of producers
         operation of this size or greater.4                      evaluates and selects the winners based on:
            Regardless of the positive impact pork production         • Manure management
         may have on a community, conflicts can arise when            • Soil and water conservation practices
         urban and residential areas get too close to the farm.       • Air quality management
         For example, residents downwind from production              • Wildlife preservation
         operations may be offended by odor, or by the noise          • Farm aesthetics and neighbor relations
         from equipment such as tractors, grain dryers and            • Innovation
         trucks. Other common complaints involve dust and             • An essay on the meaning of environmental
         slow-moving farm equipment on roadways.                        stewardship
            Research funded by the pork industry continually        While environmental responsibility is one of
         sheds more light on how to control some of the           the hallmarks of responsible U.S. pork producers,
         noise, odor and dust associated with agriculture,        these operations have opened the doors of their
         and particularly pork production. Producers use          operations to share their story. The result is one
         this new information to reduce the impact of their       example of how pork producers’ seemingly routine
         farming operations on surrounding areas. Novel           and daily practices are, in reality, a display of their
         ventilation strategies that mitigate dust exhaust        dedication to the sustainability of the industry, of
         from production barns and manure storage systems         their communities and of the world.
         that reduce odor are just some examples of the             For more about the Environmental Steward
         projects producers put in practice to reduce the         program, go to pork.org.



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Public Health
  U.S. pork producers are committed to ensure their
practices protect public health. As such, they:
   • Use management practices consistent with pro-
     ducing safe food.
   • Manage the use of animal health products to
     protect public health.
   • Manage manure and air quality to protect pub-
     lic health.


Antibiotic Resistance
   Antimicrobial (antibiotic) use in livestock agricul-
ture is an issue that has received increased attention
in recent years.                                                 Antibiotics for prevention are typically deliv-
   Producers, veterinarians, and other food-chain                ered in feed or water.
participants share the concerns regarding the use of          • Improve Nutritional Efficiency – Antibiotics
antibiotics as tools utilized in the production of our           used to enhance the efficiency of pigs in con-
food supply. The responsible use of these products               verting feed. Antibiotics used to enhance
is beneficial both for the health and welfare of the             nutritional efficiency are typically delivered in
animal and for food safety and human health. It is               feed.
important to use antibiotics responsibly to minimize         Producers and their veterinarians use their expe-
the development of antibiotic resistance, preserve        rience and knowledge, in combination with scien-
their effectiveness and to maintain availability of       tific information, to decide when to use antibiotics
these products. Antibiotics, and other animal health      in their pigs. The use of animal health products,
products, while important tools for good animal           including antibiotics, is only one part of a compre-
health management, are only one component in a            hensive herd health program. Biosecurity, diagnos-
comprehensive herd health program. Antibiotics are        tics, vaccination, facility maintenance and animal
not used to replace good management, but rather as        care also contribute to a farm’s overall animal
a supplement to management when appropriate.              health picture.
   Pork producers use antibiotics for three purposes:        The appropriate use of antibiotics does not
treatment of illness, prevention of disease, and to       impact food safety negatively. There are animal
improve the nutritional efficiency of their animals.      health and societal benefits to using antibiotics
    • Treatment of Illness – The use of antibiotics in    to increase nutritional efficiency. Experience in
      animals to combat a clinical illness. Antibiotics   Europe, where the political decision was made to
      used for treatment are delivered by injection, in   ban the use of antibiotics to improve nutritional
      feed or in water.                                   efficiency, shows that there are disease prevention
    • Prevention of Disease – The use of antibiotics      benefits to using low levels of antibiotics. The ban
      in animals that have been, or are being, exposed    was put in place in 1998 and there has been no
      to a bacterial infection, or are in operations      demonstrated human health benefits from it.1 In
      that have historically experienced clinical out-    addition, animals that convert feed efficiently con-
      breaks of disease at certain production stages.     sume less feed and produce less waste. That means



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         more corn available for human food and for the pro-        ways to measure it. However, one panel of experts
         duction of renewable fuels and less manure for the         estimates that 96 percent of antibiotic resistance in
         producer to manage.                                        humans is due to human use of antibiotics and not
            Antibiotics for use in animals are regulated by the     because of antibiotic use in animals.3
         U.S. Food and Drug Administration (FDA). The                  According to the Institute of Food Technologists,
         FDA approves the use of antibiotics only after they        the estimated risk to human health from certain
         undergo a vigorous review for safety to animals,           antibiotics used in food animal production is low.
         humans and the environment. This ensures that              The institute also reports that the benefits of using
         food products from animals treated with antibiotics        antibiotics may very well outweigh the risk.4
         are safe. Additionally, the FDA has mandated that             Even though resistance problems in humans are
         food or milk from animals that have been treated           largely not attributable to antibiotic use in pork pro-
         with an antibiotic may not enter the food supply           duction, pork producers recognize the need to do
         until a predetermined amount of time has elapsed           their share to minimize risks of antibiotic resistance.
         since the animal’s last dosage. Samples of meat and        Producers are committed to protecting public health
         milk are tested to ensure adherence to the with-           and preserving animal health and well-being by
         drawal regulations. This process ensures the safety        using antibiotics responsibly as outlined in the Pork
         of our products.                                           Checkoff’s Pork Quality Assurance¥ Plus program
            It is a common misperception that only large pro-       and the Take Care – Use Antibiotics Responsibly™
         ducers use antibiotics. A 2000 survey conducted            program.
         by the U.S. Department of Agriculture’s National              The basis for using antibiotics responsibly dur-
         Animal Health Monitoring System (NAHMS) deter-             ing pork production involves evaluating their use
         mined that the use of antibiotics in animal feeds was      to protect animal health, optimize effectiveness and
         not related to the size of operation. In fact, a similar   minimize the risk of developing antibiotic resistance,
         percentage of small producers and large producers          thereby protecting animal health. In the Checkoff’s
         report using antibiotics.2                                 programs, producers are committed to the follow-
            The extent to which antibiotic use in animals           ing principles and guidelines to ensure the respon-
         affects human health is difficult to impossible to         sible use of antibiotics.
         determine due to a lack of scientifically definitive           • Take appropriate steps to decrease the need for
                                                                          the application of antibiotics.
                                                                        • Assess the advantages and disadvantages of all
                                                                          uses of antibiotics.
                                                                        • Use antibiotics only when they provide measur-
                                                                          able benefits.
                                                                        • Use professional veterinary input as the basis
                                                                          for all antibiotic decision-making.
                                                                        • Use antibiotics for treatment only when there is
                                                                          an appropriate clinical diagnosis.
                                                                        • Limit antibiotic treatment to ill or at-risk ani-
                                                                          mals, treating the fewest animals indicated.
                                                                        • Use antibiotics that are important in treating
                                                                          antibiotic-resistant infections in human or vet-
                                                                          erinary medicine in animals only after careful
                                                                          review and reasonable justification.
                                                                        • Minimize environmental exposure through
                                                                          proper handling and disposal of all animal
                                                                          health products, including antibiotics.
                                                                       Producers understand that it is essential to public



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health and food safety, animal health and well-being,
and the environment to maintain the effectiveness
and availability of antimicrobials.


References
  1
    World Health Organization. 2002. Impacts of
Antimicrobial Growth Promoters Termination in
Denmark.
  2
    http://www.aphis.usda.gov/vs/ceah/ncahs/
nahms/swine/index.htm.
  3
    Casewell and Bywater, Journal of Antimicrobial
Chemotherapy 46: 639-645, 2000.
  4
    Institute of Food Technologists, www.ift.org,
Antimicrobial Resistance: Implications for the Food
System, July 14, 2006.

Zoonotic Diseases
   Pork producers and public health officials under-
stand the importance of paying attention to zoonotic
diseases – those diseases that can be transmitted
between humans and animals. Zoonotic diseases
can be caused by bacteria, viruses, parasites or fungi.
   The most common zoonotic diseases humans
acquire from animals are foodborne, but zoonotic
diseases can also be transmitted through close con-         While influenza originates in birds, humans and
tact with animals or animal wastes. Considering             other animals also can contract certain types of
how many of us have close daily contact with our            influenza. Pork producers routinely work to pre-
pets or other animals, the overall number of zoo-           vent influenza in their pigs and their workers by
notic infections is fairly low.                             birdproofing buildings, practicing good hygiene
   As an example, in China there were over 200 cases        and biosecurity, vaccinating their pigs and encour-
of the swine pathogen Streptococcus suis (S. suis) in       aging their workers to get vaccinated.2 The U.S.
humans in 2005. However, these cases have been              pork industry has collaborated with USDA and the
blamed on the high degree of exposure of humans to          Centers for Disease Control and Prevention (CDC)
the carcasses or unprocessed pig meat of sick animals.      to develop surveillance systems for influenza that are
The close daily contact between backyard farmers            designed with public health and animal health goals.
and their animals also is suspected. It is believed that       Controlling the presence of pathogens on a
the bacteria enter the human through a break in the         livestock farm is important for the health and per-
skin, the respiratory or gastrointestinal tracts.1 In the   formance of the animals and to minimize the risk
United States, where federal inspection of animals in       to human health. Raising pigs indoors helps to
packing and processing facilities keeps sick animals        reduce the animals’ exposure to pathogens carried
out of the food supply and where pork producers             by rodents, wild animals or birds. Pork producers
utilize modern production practices and biosecurity         use the following four basic approaches to control
protocols in raising pork, there has only been one          pathogens on their farms:
reported human case of S. suis since 1968.                      • Minimizing the risk of introducing bacteria,
   Another zoonotic disease of interest is influenza.             viruses or parasites onto the farm by employ-



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                 ing strict biosecurity measures. Biosecurity
                 measures also prevent visitors or workers from
                 carrying pathogens off the farm.
               • Breaking the cycle of infection once the pres-
                 ence of pathogens has been identified on the
                 farm.
               • Handling and treating manure appropriately to
                 minimize the spread of pathogens.
               • Preventing pathogens from being exported off
                 the farm.


         Preventing Transmission of Disease
         from Animals to People
           While pork producers practice biosecurity and
         other measures to prevent and control disease on
         their farms, the CDC offers practical advice for
         people who have contact with animals:
            • Washing hands after visiting a farm or han-
               dling animals.
            • Proper handling and cooking of food.
            • Proper siting and maintenance of water wells.
            • Disinfecting drinking water when camping.
            • Washing hands before eating.
            • Keeping animals healthy.                            media began to report on infections acquired outside
                                                                  of health-care facilities. These community-acquired
                                                                  infections happened in locker rooms, gyms, military
         References                                               facilities, prisons and day-care facilities, among
           1
             Gottschalk, M. and Segura, M. 2007. Lessons          other places. These reports heightened concerns
         from China’s Streptococcus suis Outbreak: The Risk       because the people affected were not considered to
         to Humans. Proc: American Association of Swine           have weakened immune systems or other underlying
         Veterinarians                                            conditions that would predispose them to infection.
           2
             Olsen, C. 2004. Influenza: Pigs, People, and            Companion animals including cats, dogs and
         Public Health. http://www.pork.org/PorkScience/          horses have been found to carry MRSA. Studies
         Documents/PUBLICHEALTH%20influenza.pdf                   have found that veterinarians and others in close
                                                                  contact with these animals also may carry the
         Methicillin-Resistant                                    bacterium1.
                                                                     In late 2007, attention was called to the pork
         Staphylococcus Aureus (MRSA)                             industry and its products when the media reported
           In the past several years, methicillin-resistant       on a study by Canadian researchers that found
         Staphylococcus aureus (MRSA) has received                MRSA on pig farms2. MRSA had previously been
         increased media attention. The bacterium was             reported in pigs and pork products in Holland in
         associated primarily with post-surgical infections or    20063. Since then, research conducted in the United
         infections acquired after prolonged stays in health      States also has found MRSA in pigs on some farms
         care facilities (such as nursing homes) or in people     and in a small proportion of pork products. MRSA
         with weakened immune systems.                            also has been reported in pork producers and
           More attention was called to the pathogen when         veterinarians who visit pig farms.



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MRSA, People and Pigs                                      infections. As is the case with small animal
                                                           veterinarians and horse owners, it is not unusual
   MRSA is a type of Staphyloccocus aureus (Staph).        for the people who come in contact with MRSA-
Staph are bacteria found commonly in humans. In            carrying pigs to also carry MRSA. In many of those
fact, the Centers for Disease Control and Prevention       cases, the MRSA carried by people and by the pigs
(CDC) report that Staph can be found in 25 to 50           is of the same type. The bacteria do not appear to
percent of the United States’ population at any given      cause illness in the pigs and there are no data to
time without causing infection4.                           support that the humans carrying this pathogen are
   MRSA however, can only be found on between              at a higher risk of developing infection than the rest
1 to 3.5 percent of the U.S. population. As with Staph,    of the population.
a person usually carries MRSA in the nasal passages           Similarly, recent studies of health-care workers
or on the skin without developing an infection.            in Holland have found no statistical difference in
   MRSA also can be found on other animals,                the number that carry MRSA and have contact with
domestic and wild. Domestic animals such as cats,          livestock and those with no animal contact5.
horses and dogs can carry the bacterium. Livestock,
including cattle and pigs, and poultry also may carry
                                                           MRSA and Pork
MRSA. Wild animals (such as marine mammals,
rabbits and turtles) and game animals also have               Several independent studies, abroad and in North
been found to carry it.                                    America, have found MRSA in samples of meat
   Just as MRSA is a type of Staph, there are many         offered for retail sale6. The bacterium has been found
types of MRSA. Some have been associated more              in samples of beef, veal, chicken, turkey, lamb, pork
commonly with health-care associated infections,           and game meats.
some with community-acquired infections and some              The European Union food safety and health
are more commonly associated with animals. The             agencies issued a joint scientific report on MRSA in
CDC has stated that the MRSA more commonly                 livestock. They concluded that there is currently no
associated with health-care facilities is different than   evidence for increased risk of human colonization or
the one commonly found in community-acquired               infection following contact or consumption of food
infections. It also has stated that the MRSA               contaminated by MRSA both in the community and
associated with community-acquired infections is           in a hospital.7
clearly of human origin.                                      Furthermore, experiments designed to find MRSA
   The MRSA most commonly found in pigs                    in retail meats have found very small amounts of
on North American farms is different from the              MRSA in the samples. It is not clear if the amount
one associated with health-care and community              found would be enough to cause infection and
                                                           no human infection has ever been reported from
                                                           handling or consuming pork carrying MRSA.
                                                           Dutch studies have determined that, “The numbers
                                                           of MRSA bacteria found on foodstuffs are so low
                                                           that the risk of [human] colonization as a result is
                                                           considered to be particularly slight.”8
                                                              It is commonly accepted that conventional,
                                                           safe handling and cooking practices reduce the
                                                           risk of MRSA infection even further. In a report
                                                           commissioned by the U.S. House Committee on
                                                           Agriculture, the CDC states that, “it is reasonable to
                                                           conclude that the vast majority of infections result
                                                           from person-to-person contact.”9 The CDC also
                                                           has stated that “although the finding of MRSA in



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         retail meats suggests a possible role for foodborne     (MRSA) in livestock, companion animals and foods.
         transmission, if such transmission occurs, it likely    EFSA-Q-2009-00612 (EFSA Scientific Report 2009
         accounts for a very small proportion of human           301, 1-10) and EMEA/CVMP/SAGAM/624/2009
                                                                   8
         infections in the United States.”                           Voedsel en Waren Autoriteit. Accessed Nov.
            Recommended guidelines10 for the handling            2008. www.vwa.nl
                                                                   9
         of meat that reduce the potential for any type of           Centers for Disease Control and Prevention.
         foodborne illness are:                                  2007. Responses to questions on MRSA in food-
             • Clean                                             producing animals addressed in the Dec. 14, 2007,
             • Separate                                          Letter from the House Committee on Agriculture.
                                                                   10
             • Cook                                                   Partnership for Food Safety Education. Online.
             • Chill                                             Accessed Nov. 2008. www.fightbac.org
            Hand washing before handling food products
         and between different products to avoid cross           Community Respiratory Health
         contamination also is important.
            Proper wound care, including prompt treatment           Preserving the health of those employed in pork
         and covering of wounds should always be done and        production, as well as that of the people living in
         especially if food is to be handled.                    communities hosting pork production is a priority
                                                                 for pork producers.
                                                                    People who work in close contact and for long
         References                                              hours with pigs may have an increase in respiratory
           1
             Hanselman, Kruth, Rousseau, Low, Willey,            symptoms such as sneezing, sinusitis or bronchitis.
         McGeer and Weese. 2006. Methicillin-resistant           Pork producers routinely provide personal protec-
         Staphylococcus aureus colonization in veterinary        tive equipment to their workers to help alleviate
         personnel. Emerg Infect Dis.                            these symptoms. These concerns are not considered
           2
             Khanna, Friendship, Dewey and Weese. 2007.          relevant to neighbors because the level of exposure
         Methicillin-resistant Staphylococcus aureus             that pork producers and their employees have to
         colonization in pigs and pig farmers. Vet. Microbiol.   their work environment is much higher than the one
           3
             van Loo, Diederen, Savelkoul, Woudenberg,           neighbors experience.1 Research that includes medi-
         Roosendaal, van Belkum, et al. 2007. Methicillin-       cal testing on neighbors in the United States has not
         resistant Staphylococcus aureus in meat products,       been published. However, a systematic review of
         the Netherlands. Online. Emerg Infect Dis. Accessed     North American and European studies did not find
         Aug. 2008. Available from http://www.cdc.gov/EID/       consistent evidence for a strong association between
         content/13/11/1753.htm                                  community health and proximity to animal feeding
           4
             Chambers. 2001. The changing epidemiology of        operations.
         Staph aureus?. Online. Emerg Infect. Dis. Accessed         There are several studies on the levels of emis-
         Nov. 2008. Available from http://www.cdc.gov/           sions that neighbors of pork producers may experi-
         ncidod/eid/vol7no2/chambers.htm#6                       ence. In 2002, the Missouri Department of Health
           5
             Wulf, Tiemersma, Kluytmans, Bogaers,                and Senior Services (DHSS) and the Agency for
         Leenders, Jansen, Berkhout, Ruijters, Haverkate,        Toxic Substances and Disease Registry (ATSDR)
         Isken, and Voss. 2008. MRSA carriage in healthcare      conducted an exposure investigation to assess the
         personnel in contact with farm animals. Journal of      community’s level of exposure to airborne ammonia
         Hospital Infection.                                     from a swine concentrated animal feeding operation
           6
             Weese, et al. 2008. International Conference        (CAFO) in northern Missouri. The site was permit-
         on Emerging Infectious Diseases, Atlanta, Georgia.      ted to house 123,648 hogs.
         Proceedings.                                               Air monitoring conducted during this study did
           7
             Joint scientific report of ECDC, EFSA and           not find airborne ammonia exposures from the farm
         EMEA on meticillin resistant Staphylococcus aureus      occurring at a level expected to cause negative health



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effects in the community. Furthermore, it does not          and the respiratory health of their neighbors, pork
appear that residential indoor ammonia levels were          producers make every effort to reduce any detri-
significantly increased by outdoor concentrations. The      mental impact on the quality of life in their commu-
study classified airborne ammonia exposures as “no          nities. By reducing their impact on air quality and
apparent public health hazard”.2                            taking preventive management measures to reduce
   Additional research conducted by Iowa State              gas emissions, pork producers are doing their part
University’s Department of Agriculture and                  to improve public health at the local level.
Biosystems Engineering demonstrated that lifestyles
of a residence’s occupants, such as the use of cleaning
supplies, having household pets or smoking cigarettes,      References
                                                              1
may contribute more to the levels of ammonia in that             Von Essen S and Auvermann B. 2005. Health
residence than its proximity to a swine facility.3          Effects from Breathing Air near CAFOS for Feeder
   Asthma is a respiratory illness that is on the rise in   Cattle or Hogs. Journal of Agromedicine. 10:55-64.
                                                               2
urban and rural areas. As is well known, there are               Missouri Department of Health and Senior
many factors that are associated with the development       Services (DHSS)/Agency for Toxic Substances and
of asthma. These include family history; exposure to        Disease Registry (ATSDR) exposure investigation at
smoking; early childhood respiratory infections and         Premium Standard Farms, 2002. http://www.atsdr.
other exposures. However, scientific studies have dis-      cdc.gov/hac/PHA/valleyview/caf_p1.html
                                                               3
agreed on the potential contribution of farm emissions           Air Emissions Monitoring Protocol, Steven
to the development of asthma. In fact, studies within       J. Hoff PhD, PE, Professor, Department of
the same state found that asthma decreased when             Agricultural and Biosystems Engineering Iowa State
the number of farms increased near schools4, while          University, 2006
                                                               4
another study found a slight increase in self-reported           Elliott L, Yeatts K, and Loomis D. 2004.
asthma when children attended schools where odor            Ecological Associations between Asthma Prevalence
from swine operations was reported inside the schools       and Potential Exposure to Farming. European
more than twice a month5. However, even that study          Respiratory Journal. 24:938-941.
                                                               5
found that there was less asthma reported when the               Mirabelli MC, Wing S, Marshall SW and
level of exposure to CAFOs near the school was ranked       Wilcosky T. 2006. Asthma Symptoms among
as high, rather than low.                                   Adolescents who Attend Public Schools that are
   While more research is needed to understand the          located near confined swine feeding operations.
relationship between pork production operations             Pediatrics 119:66-75.




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Pork Safety
   U.S. pork producers recognize their obligation to
build and maintain the trust of customers and the
public in their products. To achieve this, producers:
    • Use management practices consistent with pro-
      ducing safe food.
    • Manage the health of the herd to produce safe
      food.
    • Manage technology to produce safe food.
   Their primary goal is to provide an abundant,
safe, and wholesome food supply to consumers,
as outlined in the industry’s We Care initiative.
Modern production systems and practices are
designed to help accomplish that goal, together
with Pork Checkoff programs, such as Pork Quality
Assurance® Plus.
   Modern production practices have virtually elimi-
nated some former common causes of human food-
borne illness. Pathogens, such as Trichinella spiralis,
formerly one of the most prominent pathogens,
have largely disappeared with the movement of pigs
to indoor production.
   The changing face of the industry has led some
to believe that modern and large pork producers
contribute to foodborne illness more than the tradi-
tional operations of the past. However, recent stud-
ies (2008) have shown that exposure to Salmonella,
                                                          the globe, U.S. pork producers work diligently to
Toxoplasma and Trichinella in pigs raised outdoors
                                                          understand and satisfy product requirements for
and in antibiotic-free systems were higher than in
                                                          diverse customers.
pigs raised in indoor production systems.
                                                            One example of a market requirement is the
   Additionally, according to the USDA (2006), bac-
                                                          establishment of maximum residue limits (MRLs)
terial contamination of pork carcasses in packing
                                                          of chemicals, including animal health products
plants is consistently lowest in large packing plants,
                                                          in pork. The Pork Checkoff, working with the
which, due to the large volume of production, are
                                                          American Association of Swine Veterinarians and
most likely to acquire animals from large producers.
                                                          animal health companies has compiled a list of ani-
                                                          mal health products and their withdrawal times to
Residues and our Trade Partners                           serve as a guideline for pork producers and veteri-
  Never in the history of the pork industry has pork      narians when administering medications to animals
been as safe as it is today. However, the standards       that will enter the food supply.
used to set market requirements for pork around the          More information on international MRLs is avail-
world may vary. As major exporters of pork around         able online at pork.org.



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Pork Stats
   For America’s pork producers, 2008 and 2009                              from April through September. But even the third-largest
were among the most difficult years ever. In fact, the                      corn crop on record was not enough to keep feed prices
combined losses incurred by producers in 2008 and 2009                      from rising sharply in late summer and fall, bringing
exceeded the previously worst two-year period on record,                    financial losses to hog producers once again.
1998-1999. By the end of 2009, U.S. pork producers had                          Since feed comprises anywhere from 55 to 60 percent
lost money in 24 of the past 26 months, amounting to                        of the total cost of producing a market pig, higher feed
nearly $6 billion. The top graph below shows monthly                        costs mean higher production costs and, unless pig prices
profit/loss estimates.                                                      rise commensurately, losses for pork producers.
   Profitability returned for U.S. hog producers in March                       The bottom chart shows the price of No. 2 yellow corn
2010, and, on average, producers enjoyed healthy returns                    and cost of production estimates. These two data series
                                                                                                  clearly are highly correlated. Higher
                                                                                                  corn prices cause the price of soybean
  Proﬁts/Losses —
                                                                                                  meal, the other major ingredient
  Iowa Farrow-to-Finish Hog Operations
                                                                                                  in hog diets, to rise as well due to
     60                                                                                           corn and soybeans competing for a
                                                                                                  limited number of tillable acres. Hog
     40                                                                                           production costs averaged $52.76/
     20
                                                                                                  cwt., carcass weight, for 1999 through
                                                                                                  2006, $69.56/cwt. for 2007 through
  $/head




      00                                                                                          2009 and $72.24/cwt. for January
                                                                                                  through November of 2010. Corn
    -20
                                                                                                  and soybean meal futures prices
    -40                                                                                           in early January of 2011 indicated
                                                                                                  that costs will average over $81/cwt.
    -60
                                                                                                  through the end of 2011.
    -80                                                                                              Producers were able to recapture
         ’91 ’92 ’93 ’94 ’95 ’96 ’97 ’98 ’99 ’00 ’01 ’02 ’03 ’04 ’05 ’06 ’07 ’08 ’09 ’10          only about one-fourth of the losses
                                                                                                  they incurred from 2007 through
  Farrow-to-Finish Production Cost &                                                              early 2010 during the short period of
  Nearby Corn Futures                                                                             profit in mid-2010. Hog producers’
                                                                                                  financial positions remain weak as we
      85                                                                              10          enter 2011 and further reductions of
                                                                                       9          output are certainly not out of
                                                                                                                                 Nearby Corn Futures Price — $/bushel




      80             Production Cost
                     Nearby Corn Futures                                               8          the question.
                             75
     Costs — $/cwt carcass




                                                                                                                             7
                             70                                                                                              6
                             65                                                                                              5

                             60                                                                                              4
                                                                                                                                                                        Steve Meyer,
                                                                                                                             3                                          president of Paragon
                             55
                                                                                                                             2                                          Economics and a Pork
                             50
                                                                                                                             1                                          Checkoff consultant,
                                                                                                                                                                        helped compile the
                             45                                                                                              0                                          information in the
                                  ’91 ’92 ’93 ’94 ’95 ’96 ’97 ’98 ’99 ’00 ’01 ’02 ’03 ’04 ’05 ’06 ’07 ’08 ’09 ’10                                                       Pork Stats section.
                              Source: Iowa State University Department of Economics and USA Agricultural Marketing Service




                                                                                                                                                                                           Stats   81
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             U.S. Pig Production Density, 2007*


              Numbers Sold:
                  500,000 or more
                  250,000 to 499,999
                  100,000 to 249,999
                  50,000 to 99,999
                  10,000 to 49,999
                  500 to 9,999
                  1 to 499
                  None




             Source: U.S.D.A. 2007
                     Census of Agriculture

             *U.S.D.A. Census of Agriculture
             is completed every five years.

             Map provided by National Hog
             Farmer magazine




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                                                                        Stats 83
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      America’s Top 100 Pig Counties – 2007*

     Rank          State            County   Inventory   Rank        State            County       Inventory

        1     North Carolina   Duplin        2,285,224     51   Minnesota        Freeborn           260,274
        2     North Carolina   Sampson       2,156,254     52   Iowa             Fayette            255,138
        3     Oklahoma         Texas         1,145,999     53   North Carolina   Pender             254,180
        4     Iowa             Sioux         1,094,268     54   Minnesota        Brown              251,718
        5     Iowa             Hardin          875,386     55   Iowa             Cherokee           246,170
        6     North Carolina   Bladen          811,876     56   Iowa             Grundy             232,942
        7     Iowa             Plymouth        765,318     57   Minnesota        Cottonwood         229,655
        8     Iowa             Kossuth         747,370     58   Minnesota        Redwood            229,045
        9     Minnesota        Martin          692,093     59   North Carolina   Pitt               228,665
       10     Iowa             Franklin        599,768     60   Iowa             Jasper             228,492
       11     Iowa             Washington      593,631     61   Indiana          Carroll            225,587
       12     Iowa             Wright          576,113     62   Illinois         De Kalb            225,397
       13     Iowa             Lyon            561,045     63   Ohio             Darke              225,171
       14     Minnesota        Blue Earth      537,657     64   Iowa             Howard             224,101
       15     North Carolina   Wayne           533,997     65   Illinois         Clinton            222,241
       16     Iowa             Carroll         529,108     66   Iowa             Pocahontas         222,118
       17     Iowa             Palo Alto       528,486     67   Iowa             Chickasaw          219,213
       18     Iowa             O’Brien         477,181     68   Minnesota        Watonwan           217,641
       19     Iowa             Sac             474,104     69   Iowa             Clay               215,294
       20     Iowa             Hamilton        466,691     70   Nebraska         Boone              207,756
       21     Iowa             Osceola         451,961     71   North Carolina   Johnston           205,995
       22     Iowa             Buena Vista     445,321     72   North Carolina   Jones              201,120
       23     Minnesota        Nobles          416,370     73   Iowa             Dubuque            199,665
       24     North Carolina   Greene          411,971     74   Minnesota        Lyon               196,834
       25     North Carolina   Lenoir          357,268     75   Michigan         Allegan            195,695
       26     Pennsylvania     Lancaster       355,023     76   Kansas           Scott              190,559
       27     North Carolina   Robeson         350,775     77   Nebraska         Cuming             189,750
       28     Nebraska         Platte          349,992     78   Iowa             Keokuk             187,682
       29     Missouri         Sullivan        348,167     79   Indiana          White              186,106
       30     Iowa             Crawford        345,434     80   Iowa             Clayton            182,309
       31     Iowa             Butler          340,877     81   Indiana          Decatur            179,324
       32     Missouri         Vernon          338,569     82   Iowa             Johnson            177,012
       33     Iowa             Delaware        337,066     83   North Carolina   Edgecombe          172,067
       34     Minnesota        Nicollet        309,046     84   Minnesota        Ddodge             171,807
       35     Iowa             Calhoun         306,224     85   Illinois         Livingston         170,473
       36     Minnesota        Mower           305,181     86   Illinois         Henry              167,932
       37     Minnesota        Pipestone       303,680     87   Illinois         Hancock            166,252
       38     Minnesota        Rock            303,090     88   Minnesota        Stevens            164,448
       39     Minnesota        Waseca          292,091     89   Minnesota        Murray             164,323
       40     Iowa             Hancock         285,163     90   Iowa             Webster            163,750
       41     Iowa             Audubon         281,883     91   Iowa             Emmet              163,749
       42     Minnesota        Jackson         278,656     92   Nebraska         Antelope           163,269
       43     North Carolina   Onslow          277,894     93   Iowa             Cedar              160,784
       44     Iowa             Mitchell        275,550     94   Minnesota        Yellow Medicine    157,790
       45     Ohio             Mercer          273,762     95   Iowa             Floyd              157,739
       46     Iowa             Buchanan        271,198     96   Nebraska         Holt               157,473
       47     Iowa             Mahaska         264,176     97   Nebraska         Clay               156,213
       48     North Carolina   Columbus        263,048     98   Michigan         Cass               156,205
       49     Minnesota        Renville        261,807     99   North Carolina   Northhampton       153,834
       50     Minnesota        Faribault       260,536    100   Indiana          Adams              152,980
 Source: USDA, 2007 Census of Agriculture
 * Latest data available




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   State Rankings by Inventory – 2010
                                                                     Value of                              Inventory on            Cash
                            Production1        Marketings2                             Marketings4
            State                                                  Production3                              Dec 1, 2009         Receipts3, 4
                            (1,000 lbs.)       (1,000 lbs.)                            (1,000 head)
                                                                     ($1,000)                              (1,000 head)          ($1,000)
  1   Iowa                    9,623,124        10,339,702            3,585,441              40,476              19,200           4,427,373
  2   North Carolina          4,099,445         4,151,504            1,836,124              19,171               9,600           1,877,798
  3   Minnesota               3,426,675         3,720,325            1,420,587              16,563               7,300           1,661,343
  4   Illinois                1,840,656         1,875,824              908,335              10,276               4,300             951,831
  5   Indiana                 1,730,277         1,798,910              724,077               7,633               3,650             834,021
  6   Missouri                1,697,108         1,752,581              675,320               8,874               3,100             766,564
  7   Nebraska                1,368,535         1,411,677              629,840               7,742               3,100             656,779
  8   Oklahoma                1,265,851         1,315,666              473,680               7,391               2,300             511,301
  9   Ohio                      997,333         1,020,960              391,012               3,873               2,010             414,992
 10   Kansas                    915,237           945,505              326,925               3,628               1,810             364,859
 11   Pennsylvania              408,916           415,282              159,393               1,769               1,160             170,086
 12   South Dakota              675,571           727,222              295,942               4,062               1,160             337,467
 13   Michigan                  606,574           611,350              223,320               2,206               1,080             229,612
 14   Texas                     303,688           341,515              115,156               1,763                 770             129,461
 15   Utah                      324,647           326,550              154,114               1,556                 730             155,111
 16   Colorado                  268,688           280,771              129,681               2,684                 710             137,645
 17   Mississippi               179,790           180,305               69,416                 723                 365              69,804
 18   Virginia                  110,882           111,205               48,725                 470                 365              49,701
 19   Wisconsin                 188,766           190,727               90,422                 863                 360              93,833
 20   Kentucky                  173,505           181,620               66,522                 755                 350              72,491
 21   South Carolina             49,908            54,270               22,035                 293                 225              24,706
 22   Arkansas                  109,779           129,037               75,542               1,695                 200              85,382
 23   Georgia                    89,957           102,929               43,588                 791                 195              52,247
 24   Tennessee                  92,354            98,465               36,343                 402                 185              39,489
 25   Montana                    78,601            80,750               33,794                 421                 175              36,502
 26   Arizona                    76,521            75,660               38,575                 292                 167              38,360
 27   North Dakota               60,908            69,228               39,733                 797                 155              43,845
 28   Alabama                    69,863            78,783               30,467                 400                 140              35,322
 29   California                 53,886            56,880               18,979                 253                 100              24,771
 30   Wyoming                   122,787           123,484               50,231                 583                  87              50,741
 31   New York                   25,347            27,992                8,708                 161                  77               9,901
 32   Idaho                      25,984            25,660               10,366                  93                  36              10,656
 33   Maryland                   15,250            16,109                6,079                  94                  30               7,067
 34   Washington                 11,453            11,585                4,377                  56                  23               4,629
 35   Florida                     7,879             8,240                2,927                  58                  20               3,118
 36   Oregon                      9,484             9,435                4,239                  39                  17               4,217
 37   Hawaii                      3,319             3,096                3,212                  15                  13               2,996
 38   Massachusetts               1,813             1,608                  666                  10                  11                 631
 39   Louisiana                   2,757             2,869                  976                  15                  10               1,024
 40   New Jersey                  1,814             2,520                  426                  27                   8                 832
 41   Deleware                    4,241             4,683                1,793                  39                   8               2,106
 42   West Virginia               2,263             1,786                  982                   9                   5                 781
 43   Maine                       2,135             1,633                  857                   9                   5                 698
 44   Vermont                     1,285             1,087                  501                   5                   3                 427
 45   Connecticut                   831               746                  321                   4                   3                 292
 46   Nevada                      2,650             2,744                1,001                  12                   3               1,066
 47   New Hampshire               1,235             1,349                  388                   6                   2                 528
 48   Rhode Island                  452               392                  176                   3                   2                 154
 49   New Mexico                    780               524                  267                   3                   2                 186
 50   Alaska                        604               409                  547                   2                   1                 368
      US                     31,131,408        32,693,154           12,762,128            149,065               65,327          14,395,114

1 Adjustments made for changes in inventory and for inshipments.
2 Excludes custom slaughter for use on farms where produced and interfarm sales within the state.
3 Includes allowance for higher average price of state inshipment and outshipments of feeder pigs.
4 Includes custom slaughter for use on farms where produced and state outshipments, but excludes interfarm sales within the state.
Source: Meat Animal Production, Disposition and Income, USDA, NASS, April 2010
                                                                                                                                        Stats 85
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             Hogs & Pigs – Inventory: 2007




                                                                    1 dot = 20,000 hogs and pigs
                                                                    U.S. total = 67,786,318




              The vast majority of hogs and pigs in the United Stated reside in the upper
              Midwest or Corn Belt states. Since 1990, though, significant pork production has
              developed in North Carolina, the Oklahoma-Texas Panhandle region and Utah.




              Source: USDA, 2007 Census of Agriculture,
                      U.S. Department of Agriculture, National Agricultural Statistics Service




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Hogs & Pigs – Change in Inventory: 2002 to 2007




                                                       1 dot = increase of 5,000 hogs and pigs
                                                       1 dot = decrease of 5,000 Hogs and Pigs
                                                       United States Net Increase + 7,381,215



 Since 1997, U.S. hog inventories have moved from “fringe” Corn Belt areas
 and the southeast states and have become even more concentrated in Iowa,
 Minnesota, the high plains of Oklahoma, Texas, Kansas, Colorado and Utah.
 Most of these areas are close to packing plants and have ample grain supplies.




 Source: USDA, 2007 Census of Agriculture,
         U.S. Department of Agriculture, National Agricultural Statistics Service




                                                                                                 Stats 87
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              Number of U.S. Hog Operations by Inventory Size

                                                                                                                   700


                                                                                                       5000+       600

                                                                                                       2000+
                                                                                                                   500




                                                                                                                         Thousand Operations
                                                                                                       1000+

                                                                                                       500+
                                                                                                                   400
                                                                                                       100 - 499

                                                                                                       1 - 99      300
                                                                                                       Total
                                                                                                                   200


                                                                                                                   100

             ’77 ’79
                       ’81 ’83
                                 ’85 ’87                                                                           0
                                           ’89 ’91
                                                     ’93 ’95
                                                               ’97
                                                                     ’99 ’01
                                                                               ’03
                                                                                     ’05
                                                                                           ’07
                                                                                                 ’09




                           • Categories for 500 head or more are
                             cumulative (i.e., the 500+ column
                             includes the 1,000+ column, which
                             includes the 2,000+ etc.)

                           • An operation is any farm that has one
                             or more hogs or pigs on hand at any
                             time during the year.




                Sources: USDA, Hogs and Pigs Report (December 1977-2002)
                         Livestock Operations (April 2004)
                         Farms, Land in Farms and Livestock Operations (2005-2010)




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  Number of U.S. Hog Operations

                                                   Thousands of Operations by Inventory Size
             Inventory
                                                                          Head in Inventory
        Thousand     Head per
Year                                 1 - 99      100 - 499        500+         1,000+         2,000+       5,000+         Total
          Head       Operation
1977      56,539        87.39        504.01        120.99         22.00                                                  647.00
1978      60,356        95.00        498.71        113.08         23.51                                                  635.30
1979      67,318       103.05        501.69        124.12         27.44                                                  653.24
1980      64,462        96.71        515.24        123.31         28.00                                                  666.55
1981      58,698       101.32        445.49        106.59         27.23                                                  579.31
1982      54,534       113.37        366.07         90.44         24.53                                                  481.04
1983      56,694       122.69        340.58         93.81         27.73                                                  462.11
1984      54,073       126.18        319.25         83.56         25.71                                                  428.53
1985      52,314       134.63        286.76         75.77         26.03                                                  388.57
1986      51,001       147.36        251.26         70.26         24.57                                                  346.09
1987      54,384       165.48        230.38         73.29         24.98          8.54                                    328.64
1988      55,466       165.81        226.45         77.04         30.35         10.34                                    333.50
1989      53,788       173.88        205.02         74.95         29.73         10.84                                    309.70
1990      54,416       197.78        178.21         68.86         28.37         10.47                                    275.44
1991      57,649       227.20        157.41         66.01         30.47         10.92                                    253.89
1992      58,202       232.93        151.45         65.87         32.19         12.48                                    249.50
1993      57,940       257.11        137.50         56.94         30.77         12.14           3.74                     225.21
1994      59,738       288.45        124.60         53.00         30.38         12.70           4.16                     207.98
1995      58,201       320.57        108.80         45.51         28.24         12.52           4.80                     181.75
1996      56,124       359.49         94.80         36.27         25.18         12.16           4.96          1.44       156.25
1997      61,158       500.64         69.46         28.01         24.61         12.94           6.18          1.83       122.16
1998      62,204       546.46         61.67         27.32         24.85         13.50           6.67          1.91       113.83
1999      59,335       602.63         52.73         22.85         22.88         13.63           7.13          2.01         98.46
2000      59,110       684.46         48.21         17.78         20.40         12.77           6.92          2.09         86.36
2001      59,722       738.40         45.81         15.41         19.66         12.46           6.99          2.20         80.88
2002      59,554       781.04         45.64         12.26         18.35         12.12           7.08          2.27         76.25
2003      60,453       821.37         44.29         11.62         17.70         12.01           7.14          2.27         73.60
2004      60,982       877.44         42.10         10.36         17.05         11.89           7.44          2.31         69.50
2005      61,463       913.54         40.56         10.12         16.60         11.86           7.60          2.36         67.28
2006      62,516       948.07         39.88          9.60         16.46         11.97           7.75          2.47         65.94
2007      63,947       847.54         52.45          7.08         15.93         12.31           8.26          2.86         75.45
2008      67,400       921.39         50.68          6.74         15.73         12.24           8.29          2.92         73.15
2009      65,327       914.30         50.40          6.10         14.95         11.75           8.20          2.95         71.45

Notes:
1) Categories for 500 head or more are cumulative (i.e. the 500+ column includes the 1,000+ column which includes the 2,000+)
2) USDA data for number of hog operations represent the number of “locations” that had “a” hog in inventory on the given date.

Sources: USDA, Hogs and Pigs Report (December 1977-2002)
         Livestock Operations (April 2004)
         Farms, Land in Farms and Livestock Operations (2005-2010)




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     U.S. Hog Operations by Size Groups and Percent of Inventory - 2009
                                                       60                                                                                                                                       56.7%
      Thousand Operations/Percent of Total Inventory




                                                                  50.37
                                                       50
                                                                                                            Number of Operations
                                                                                                            Percent of Inventory
                                                       40


                                                       30


                                                       20

                                                                                                                                  9.7%                                         9.0%
                                                       10                                                                                      8.0%            7.3%
                                                                              5.37
                                                                                                                   4.0%
                                                                                      2.2%    2.05 2.2%      1.9            2.2
                                                                      0.9%                                                               0.745         0.35            0.185                 0.13
                                                         0
                                                                    1-99         100-              500-            1,000-     2,000-         5,000-      10,000-            20,000-           50,000+
                                                                                 499               999             1,999      4,999          9,999       19,999             49,999
                                                       Source: Farms, Land in Farms, and Livestock Operations, April 2010



     Number of Operations by Size Group, Selected States and United States, 2006-2007                                                                                                 1, 2




                                                                                                            Operations Having:
                                                              1-99              100-499               500-999             1,000-1,999        2,000-4,999              5,000+
 State                                                                                                                                                                                              Total
                                                              Head               Head                  Head                  Head               Head                   Head
                                                         2006       2007     2006       2007       2006      2007       2006      2007       2006      2007      2006        2007        2006          2007
 Ark.                                                       600        610       34        32          48       44           34       33         28       25            6         6             750           750
 Col.                                                       740        745       23        21          10        6            5        3          9       10           13        15             800           800
 Ill.                                                       820        800      670       660         400      370          420      390        410      380          180       200           2,900         2,800
 Ind.                                                     1,300      1,290      510       530         300      280          240      230        330      340          120       130           2,800         2,800
 Iowa                                                     1,030        900    2,400     2,300       1,500    1,500        1,500    1,500      1,700    1,700          570       600           8,700         8,500
 Kan.                                                       860        860      240       240          90       90           90       90         75       75           45        45           1,400         1,400
 Mich.                                                    1,540      1,600      240       300          75       70           80       70        120      110           45        50           2,100         2,200
 Minn.                                                    1,200      1,200    1,200     1,100         700      690          600      600        800      800          300       310           4,800         4,700
 Mo.                                                        930        900      530       500         135      110           60       70        220      200          125       120           2,000         1,900
 Neb.                                                       800        750      800       750         350      350          270      270        190      190           90        90           2,500         2,400
 N.C.                                                       790        820       90       110          55       50          140      140        595      570          630       610           2,300         2,300
 Ohio                                                     2,700      2,800      600       600         200      190          290      270        180      200           30        40           4,000         4,100
 Okla.                                                    2,300      2,300      120       120          50       50           45       45         50       50           35        35           2,600         2,600
 Pa.                                                      2,400      2,500      320       310         130      120          100       90        220      250           30        30           3,200         3,300
 S.D.                                                       370        340      285       260         160      130          125      110         90       90           70        70           1,100         1,000
 Texas                                                    3,532      3,534      130       130           8        9            7        6          5        4           18        17           3,700         3,700
 Wis.                                                     1,540      1,550      410       400         120      130           80       70         40       40           10        10           2,200         2,200
 Other
                                                         16,430     16,645    1,000          900      160       150         130        135       220     200          150       160          18,090     18,190
 States3
     U.S.                                               39,882      40,144    9,602     9,263       4,491    4,339        4,216    4,122     5,282     5,234     2,467        2,538          65,940     65,640

                                                       1 An operation is any farm having one or more hog or pig on hand at any time during the year.
                                                       2 Data for 2007 is the most recent available. State operation data is now available only in the Census of Agriculture.
                                                       3 Individual state estimates not available for the 33 other states.
                                                       Source: Farms, Land in Farms, and Livestock Operations 2007 Summary: Released February 1, 2008, by the National Agricultural
                                                               Statistics Service (NASS), Agricultural Statistics Board, U.S. Department of Agriculture.
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Market Share by Operation Size
                                          1988     1991 1994 1997 2000 2003                         2006
           Number Marketed
                                                     (percent of total marketings)
               Under 1,000                32        23        17         5        2         1        1
               1,000 - 1,999               19       20        17        12        7
               2,000 - 2,999               11       13        12        10        5
               1,000 - 3,000                                                                8        5
               3,000 - 4,999               10       12        12        10        7         4        3
               5,000 - 9,999                9       10        12        11       10         9        6
             10,000 - 49,999               12       13        13        17       18        19       21
             50,000-499,999                                                                19       21
                  50,000+                   7         9       17       36        51
                 500,000+                                                                  40       43
      Source: 2007 Pork Industry Study (National Pork Board, PIC, Land O’ Lakes, Monsanto Choice Genetics,
      Univ. of Mo., Iowa State Univ., Pork Magazine). These are the most recent data available.




Number, Percent and Market Share of U.S. Operations by Size (2006)

                                             Number of             Percent of         Percent Market
           Number Marketed
                                             Operations            Operations            Share
               Under 1,000                      48,434                  86.1                    1
               1,000 - 2,999                     4,025                    7.1                   5
               3,000 - 4,999                     1,150                    2.0                   3
               5,000 - 9,999                     1,100                    1.9                   6
             10,000 - 49,999                     1,450                    2.6               21
             50,000-499,999                       164                     0.3               21
                 500,000+                           27                    0.1               43
                    Total                       56,350                 100.0               100
      Source: 1998 Pork Industry Study (National Pork Board, PIC, Land O’ Lakes, Monsanto Choice Genet-
      ics, Univ. of Mo., Iowa State Univ., Pork ‘98). These are the most recent data available.




                                   Technological innovations, such as raising pigs indoors and early weaning,
                                   have contributed to structural change in the pork industry. Indoor facilities
                                   allow one person to effectively manage the comfort and performance of more
                                   pigs. Early weaning protects young pigs from being infected with diseases
                                   carried by their mother, allows for more efficient use of space and maximizes
                                   the productive potential of sows and workers. All of these factors contribute
                                   to lower-cost pork for consumers.




                                                                                                                   Stats 91
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               Quarterly U.S. Commercial Hog Slaughter

                                  32,000


                                  29,000
             Thousand Head




                                  26,000


                                  23,000


                                  20,000


                                  17,000


                                  14,000
                                           1970 1973 1976 1979 1982 1985 1988 1991 1994 1997 2000 2003 2006 2009
                Source: USDA, Livestock Slaughter




               Quarterly U.S. Commercial Pork Production
                                   6,500

                                   6,000

                                   5,500
             Million Lbs, Carc.




                                   5,000

                                   4,500

                                   4,000

                                   3,500

                                   3,000

                                   2,500

                                   2,000
                                           1970 1973 1976 1979 1982 1985 1988 1991 1994 1997 2000 2003 2006 2009
                Source: USDA, Livestock Slaughter




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                                                                                  Quick Facts



  U.S. Breeding Herd and Production                                          U.S. Breeding Herd, Quarterly

  Thousand Head                                            Mil. lbs. carc.   Thousand Head
  8,000                                                          6,500       8,000

  7,500                                                          6,000       7,500

                                                                 5,500
  7,000                                                                      7,000
                                                                 5,000
  6,500                                                                      6,500
                                                                 4,500
  6,000                                                                      6,000
                                                                 4,000

  5,500                                                          3,500       5,500
                                                                                                  Sept. 1, 2010: 5.770 million head
  5,000                                                          3,000       5,000
            ’87 ’89 ’91 ’93 ’95 ’97 ’99 ’01 ’03 ’05 ’07 ’09                          ’85 ’87 ’89 ’91 ’93 ’95 ’97 ’99 ’01 ’03 ’05 ’07 ’09
             Quarterly Breeding Herd     Quarterly Pork Production



  U.S. Pigs Saved Per Litter                                                 U.S. Swine Breeding Herd and Farrowings

    Pigs                                                                     Thousand Head                                            Litters Born
    10.0                                                                     8,000                                                          3,500
                           Average Growth Rate,
                           Q3-'07 through Q3-'10 = 2.0%
     9.5                                                                     7,500
                                                                                                                                            3,000
             Average Growth Rate,
     9.0     1994 through 1997 = 1.7%                                        7,000
                                                                                                                                            2,500
     8.5                                                                     6,500
                                                                                                                                            2,000
     8.0                                                                     6,000
                                    Average Growth Rate,
                                    1998 through Q2-07 = 0.5%                                                                               1,500
     7.5                                                                     5,500

     7.0                                                                     5,000                                                          1,000
           ’85 ’87 ’89 ’91 ’93 ’95 ’97 ’99 ’01 ’03 ’05 ’07 ’09                    ’85 ’87 ’89 ’91 ’93 ’95 ’97 ’99 ’01 ’03 ’05 ’07 ’09
                                                                                                Breeding Herd       Farrowings

Source: USDA, Hogs and Pigs and Livestock Slaughter




                                                                                                                                           Stats 93
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       U.S. Commercial Livestock Slaughter and Meat Production

                    Hog             Pork            Cattle          Beef           Chicken         Chicken           Turkey           Turkey
       Year      Slaughter      Production        Slaughter     Production        Slaughter       Production        Slaughter       Production
                (1,000 head)    (million lbs.)   (1,000 head)   (million lbs.)   (million head)   (million lbs.)   (million head)   (million lbs.)

       1950       69,543                          17,901           9,248
       1951       76,061                          16,376           8,549
       1952       77,690                          17,856           9,337
       1953       66,913                          23,606          12,055
       1954       64,827                          25,017          12,601
       1955       74,216          13,477          25,723          13,213
       1956       78,513          13,805          26,862          14,090
       1957       72,595          12,822          26,232          13,852
       1958       70,965          12,674          23,555          12,983
       1959       81,582          14,540          22,931          13,233
       1960       79,036          13,905          25,224          14,374            1,534             3,699              71              948
       1961       77,335          13,647          25,635          14,930            1,726             4,287              93            1,256
       1962       79,334          13,953          26,083          14,931            1,763             4,361              79            1,097
       1963       83,324          14,492          27,232          16,049            1,835             4,607              82            1,164
       1964       83,019          14,597          30,818          18,037            1,915             4,810              88            1,253
       1965       73,784          12,782          32,347          18,325            2,058             5,194              93            1,330
       1966       74,011          12,797          33,727          19,493            2,236             5,604             103            1,478
       1967       82,124          14,130          33,869          19,991            2,319             5,876             114            1,665
       1968       85,160          14,516          35,026          20,664            2,336             5,939              97            1,456
       1969       83,839          14,244          35,237          20,960            2,516             6,484              95            1,433
       1970       85,817          14,699          35,025          21,505            2,770             7,161             106            1,567
       1971       94,438          16,006          35,585          21,733            2,779             7,281             112            1,642
       1972       84,707          14,422          35,779          22,250            2,936             7,823             121            1,797
       1973       76,795          13,223          33,687          21,089            2,908             7,786             123            1,788
       1974       81,762          14,331          36,812          22,843            2,900             7,917             127            1,836
       1975       68,687          11,779          40,911          23,672            2,922             7,966             119            1,716
       1976       73,784          12,688          42,654          25,667            3,253             8,987             134            1,950
       1977       77,303          13,248          41,856          24,986            3,334             9,227             128            1,892
       1978       77,315          13,393          39,552          24,009            3,516             9,883             132            1,983
       1979       89,099          15,451          33,678          21,262            3,843            10,916             146            2,182
       1980       96,074          16,617          33,807          21,469            3,929            11,272             159            2,332
       1981       91,575          15,873          34,953          22,214            4,076            11,906             166            2,509
       1982       82,190          14,229          35,843          22,366            4,068            12,039             160            2,459
       1983       87,584          15,199          36,649          23,060            4,133            12,389             165            2,563
       1984       85,168          14,812          37,582          23,418            4,272            12,999             166            2,574
       1985       84,492          14,807          36,293          23,557            4,439            13,569             175            2,800
       1986       79,598          14,063          37,288          24,213            4,643            14,266             197            3,133
       1987       81,081          14,374          35,647          23,405            4,972            15,502             231            3,717
       1988       87,795          15,684          35,079          23,424            5,159            16,124             237            3,923
       1989       88,691          15,813          33,917          22,974            5,499            17,334             252            4,175
       1990       85,135          15,354          33,243          22,634            5,841            18,555             271            4,561
       1991       88,169          15,999          32,689          22,800            6,140            19,728             277            4,652
       1992       94,889          17,234          32,874          22,968            6,425            21,052             281            4,829
       1993       93,068          17,088          33,324          22,942            6,681            22,178             276            4,848
       1994       95,697          17,696          34,196          24,278            7,072            23,846             279            4,992
       1995       96,326          17,849          35,639          25,115            7,371            25,021             281            5,129
       1996       92,394          17,117          36,584          25,419            7,546            26,336             293            5,466
       1997       91,960          17,274          36,318          25,384            7,736            27,271             290            5,478
       1998      101,029          19,010          35,465          25,653            7,838            27,863             273            5,281
       1999      101,544          19,308          36,150          26,386            8,112            29,741             265            5,297
       2000       97,976          18,952          35,631          26,777            8,261            30,495             268            5,402
       2001       97,962          19,160          34,771          26,107            8,406            31,266             268            5,562
       2002       99,927          19,682          35,000          27,000            8,546            32,240             271            5,713
       2003      100,931          19,966          34,907          26,238            8,537            32,749             268            5,650
       2004      103,463          20,529          32,728          24,548            8,752            34,063             254            5,454
       2005      103,582          20,704          32,388          24,683            8,854            35,365             248            5,504
       2006      104,737          21,074          33,698          26,152            8,838            35,500             255            5,682
       2007      109,172          21,963          34,264          26,421            8,903            36,159             265            5,951
       2008      116,452          23,367          34,365          26,561            8,921            36,906             271            6,247
       2009      113,618          23,020          33,338          25,965            8,520            35,510             246            5,662
                       Source: USDA, Red Meat Yearbook and Poultry Yearbook, 2008; Livestock Slaughter and Poultry Slaughter, 2009 and 2010.
                                          *Pork and beef production is carcass weight. Chicken and turkey production is ready-to-cook weight.
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                                                                                Quick Facts



   Productivity Measures of U.S. Pork Industry
                                                     Pork
                                     Pigs                                                                                             Retail
                       Litters/                   Production/          Live                   Dressed        Lard       Retail
           Pigs/                   Marketed/                                     Dressing                                             Meat
 Year                 Breeding                     Breeding          Weight                   Weight         Yield      Meat
           Litter                  Breeding                                      Percent                                              yield
                       Animal                       Animal            (lbs.)                   (lbs.)        (lbs.)     (lbs.)
                                    Animal                                                                                            (lbs.)
                                                     (lbs.)
 1974         7.10       1.43         8.52       1706.00             245.3         77.8        190.7                    129.0         52.6
 1975         7.17       1.36         8.30       1583.74             240.3         77.6        186.4         14.8       130.0         54.1
 1976         7.26       1.43         8.19       1537.52             238.3         78.4        186.8         14.4       131.0         55.0
 1977         7.15       1.42         8.14       1535.37             237.5         71.5        169.8         13.5       131.0         55.2
 1978         7.12       1.40         7.83       1487.15             240.2         71.4        171.5         13.0       132.0         55.0
 1979         7.09       1.46         8.02       1535.79             242.0         71.2        172.3         13.0       133.0         55.0
 1980         7.22       1.51         9.21       1766.39             242.0         71.0        171.9         12.8       133.0         55.0
 1981         7.39       1.53         9.89       1891.02             243.1         71.0        172.5         12.9       134.0         55.1
 1982         7.38       1.57        10.11       1917.80             242.8         70.9        172.3         11.2       134.0         55.2
 1983         7.47       1.61        10.26       1954.39             243.4         71.3        173.7         11.2       135.0         55.5
 1984         7.50       1.62        10.81       2058.53             243.8         71.2        173.6         11.0       135.0         55.4
 1985         7.65       1.63        11.22       2140.32             245.0         71.4        174.9         11.0       136.0         55.5
 1986         7.72       1.65        11.23       2157.08             246.3         71.8        176.8         11.0       138.0         56.0
 1987         7.76       1.63        10.62       2166.23             247.8         71.5        177.3         10.6       137.0         55.3
 1988         7.70       1.67        11.05       2212.50             249.2         71.8        178.9         10.6       138.0         55.4
 1989         7.79       1.68        11.44       2225.2              248.8         71.8        178.7                    138.0         55.5
 1990         7.88       1.66        11.26       2209.4              249.9         72.3        180.6                    140.6         56.3
 1991         7.90       1.67        11.12       2187.1              252.2         72.0        181.7                    141.3         56.0
 1992         8.08       1.69        11.99       2357.9              253.0         71.8        181.8                    142.1         56.2
 1993         8.10       1.68        11.92       2366.6              254.3         72.3        183.8                    143.0         56.2
 1994         8.19       1.70        12.02       2415.5              255.7         72.6        185.5                    143.9         56.3
 1995         8.31       1.71        12.68       2554.0              256.5         72.4        185.8                    144.1         56.2
 1996         8.50       1.68        12.61       2537.6              254.0         73.2        186.0                    144.3         56.8
 1997         8.68       1.69        12.25       2495.3              256.3         73.5        188.4                    146.2         57.0
 1998         8.71       1.76        13.29       2727.2              256.6         73.6        188.8                    146.5         57.1
 1999         8.79       1.82        14.37       3008.1              258.9         73.7        190.9                    148.2         57.2
 2000         8.83       1.83        14.24       3037.4              262.5         74.1        194.5                    150.9         57.5
 2001         8.84       1.84        14.20       3111.3              264.3         74.4        196.5                    152.5         57.7
 2002         8.85       1.87        14.62       3246.6              265.3         74.4        197.5                    153.3         57.8
 2003         8.88       1.91        14.78       3381.5              266.6         74.6        198.8                    154.2         57.9
 2004         8.94       1.93        15.14       3505.8              266.9         74.7        199.3                    154.7         58.0
 2005         9.02       1.93        15.18       3519.9              268.9         74.7        200.9                    155.9         58.0
 2006         9.08       1.95        15.01       3544.7              269.3         74.9        201.7                    156.5         58.1
 2007         9.22       2.05        15.24       3631.3              269.1         74.9        201.5                    156.4         58.1
 2008         9.41       2.04        16.70       3947.2              268.4         74.9        200.9                    155.9         58.1
 2009         9.62       1.98        17.33       4003.7              270.8         74.9        202.9                    157.5         58.1


Notes:
Slaughter/Breeding Animal computed as U.S.-born Barrow & Gilt slaughter divided by average sow herd for the year.
Pork Production/Breeding Animal computed as U.S. pork production (all of U.S. born pigs’ weights, 20#/head on imported feeder pigs,
none of the production from imported slaughter hogs) divided by average breeding herd.




                                                                                                                                         Stats 95
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              Estimated Daily U.S. Slaughter Capacity
                                                                              Fall 2004             Fall 2005             Fall 2006             Fall 2007           Spring 2009
                            Company                          Plant        Plant     Co. Total   Plant     Co. Total   Plant     Co. Total   Plant     Co. Total   Plant    Co. Total
              1 Smithﬁeld                          Tar Heel , N.C.        32,000                32,000                32,000                32,000                33,000
                Smithﬁeld, Va.                     Gwaltney, Va.           9,500                10,800                10,800                 9,500                 9,500
                                         Morrell   Sioux Falls, S.D.      17,000                17,000                17,000                19,000                19,000
                                                   Sioux City, Iowa       14,500                14,500                14,500                11,200                14,000
                                       Farmland    Crete, Neb.            10,400                10,400                10,400                10,400                10,500
                                                   Denison, Iowa           9,200                 9,200                 9,200                 9,200                 9,300
                                                   Monmouth, Ill.          9,000 101,600         9,000 102,900         9,000                10,400                10,500
                                Premium Standard   Milan, Mo.              7,300                 7,300                 7,300                10,200                10,500
                                                   Clinton, N.C.          10,000      17,300    10,000      17,300    10,000 120,200        10,000 121,900        10,000 126,300
              2 Tyson Foods (IBP)                  Waterloo, Iowa         19,200                19,200                19,200                19,350                19,350
                Dakota Dunes, S.D.                 Logansport, Ind.       14,500                14,500                14,500                14,800                14,500
                                                   Storm Lake, Iowa       14,500                15,000                15,000                15,500                15,500
                                                   Col. Junction, Iowa     9,800                 9,800                 9,800                 9,500                10,000
                                                   Madison, Neb.           7,500                 7,500                 7,500                 7,750                 7,800
                                                   Perry, Iowa             6,800      72,300     6,800      72,800     6,800      72,800     7,400      74,300     7,400     74,550
              3 Swift                              Worthington, Minn.     17,500                17,500                17,500                18,500                18,500
                Greeley, Col.                      Marshalltown, Iowa     18,500                18,500                18,500                18,500                18,500
                                                   Louisville, Ky.        10,000      46,000    10,000      46,000    10,000      46,000    10,000      47,000    10,000     47,000
              4 Excel                              Beardstown, Ill.       18,000                18,000                18,000                18,000                20,000
                Wichita, Kan.                      Ottumwa, Iowa          18,000      36,000    18,000      36,000    18,000      36,000    18,000      36,000    18,500     38,500
              5 Hormel                             Austin, Minn.          18,000                18,000                18,000                19,000                19,000
                Austin, Minn.                      Fremont, Neb.           8,800      26,800    10,500                10,500                10,500                10,500
                                      Clougherty   Los Angeles, Calif.     7,300        7,300    7,300      35,800     7,300      35,800     7,300      36,800     7,500     37,000
              6   Seaboard Farms                   Guymon, Okla.          16,000      16,000    16,000      16,000    16,000      16,000    16,800      16,800    19,200     19,200
              7   Triumph Foods                    St. Joseph, Mo.                               8,000        8,000   16,000      16,000    17,500      17,500    19,000     19,000
              8   Indiana Packing Co.              Delphi, Ind.           12,500      12,500    12,500      12,500    14,000      14,000    15,000      15,000    16,500     16,500
              9   Hatﬁeld Quality Meats            Hatﬁeld, Pa.           10,200      10,200    10,200      10,200    10,200      10,200    10,600      10,600    10,600     10,600
             10   J.H Routh                        Sandusky, Ohio          4,200       4,200     4,200        4,200    4,200        4,200    4,200        4,200    4,200      4,200
             11   Meadowbrook Farms                Rantoul, Ill.           4,000       4,000     4,000        4,000    3,800        3,800    3,800        3,800   Closed     Closed
             12   Sioux-Preme Packing              Sioux Center, Iowa      3,500       3,500     3,500        3,500    3,500        3,500    3,500        3,500    4,200      4,200
             13   Johnsonville Sausage             Watertown, Wis.           600                   600                   600                   650                   650
                                                   Momence, Ill.           1,350                 1,350                 1,350                 1,600                 1,600
                               Oldham’s Sausage    Holton, Kan.              600       2,550       600        2,550      600        2,550      900        3,150    1,000      3,250
             14   Greenwood Packing                Greenwood, S.C.         3,000       3,000     3,000        3,000    3,000        3,000    3,000        3,000    3,000      3,000
             15   Pine Ridge Farms                 Des Moines, Iowa        2,500       2,500     2,500        2,500    2,500        2,500    2,500        2,500    2,850      2,850
             16   Sara Lee (Jimmy Dean)            Newbern, Tenn.          2,600       2,600     2,600        2,600    2,600        2,600    2,600        2,600    2,800      2,800
             17   Pork King Packing                Marengo, Ill.           2,000       2,000     2,000        2,000    2,000        2,000    2,000        2,000    2,000      2,000
             18   Premium Iowa Pork                Hospers, Iowa                                                                             1,600        1,600    2,400      2,400
             19   Fisher Ham and Meat              Spring, Texas            1500                  1500                  1500                 1,500                 1,500
                                                   Navasota, Texas           500       2000        500       2000        500       2000        500        2,000      500      2,000
             20 USA Pork Products                  Hazellton, Pa.           2000        2000      2000        2000      2000        2000     2,000        2,000    2,000      2,000
             20 Abbyland Foods                     Curtiss, Wis.           1,700       1,700     1,700       1,700     1,700       1,700     2,000        2,000    2,000      2,000
             22 Bob Evans Farms                    Bidwell, Ohio             200                   200                   200                   220                   220
                                                   Xenia, Ohio               300                   300                   300                   330                   330
                                                   Hillsdale, Mich.          300                   300                   300                   330                   330
                                                   Galva, Ill.               300                   300                   300                   330                   330
                                  Owens Sausage    Richardson, Texas         600       1,700       600       1,700       600       1,700       440        1,650      440      1,650
             23   Spectrum Meats                   Mount Morris, Ill.      1,600       1,600     1,600       1,600     1,600       1,600     1,600        1,600    1,600      1,600
             24   Yosemite Meats                   Modesto, Calif.         1,500       1,500     1,500       1,500     1,500       1,500     1,500        1,500    1,500      1,500
             24   Dakota Pork, Inc                 Estherville, Iowa                                                                                               1,500      1,500
             26   Leidy’s                          Souderton, Pa.          1,400       1,400     1,400       1,400     1,400       1,400     1,400       1,400     1,400      1,400
             27   Vin-Lee-Rom                      Mentone, Ind.           1,100       1,100     1,100       1,100     1,100       1,100     1,300       1,300     1,300      1,300
             27   Martin’s Pork Products           Falcon, N.C.            1,000       1,000     1,000       1,000     1,000       1,000     1,200       1,200     1,300      1,300
             29   Heritage Acres Foods             Pleasant Hope, MO                                                                                               1,200      1,200
             29   Verschoor Meats                  Sioux City, Iowa          800         800       800         800       800         800       800         800     1,200      1,200
             30   Olson Meat Company               Orland, Calif.                                                                            1,200       1,200     1,000      1,000
             30   Odom’s Sausage                   Little Rock, AR         1,000       1,000     1,000       1,000     1,000       1,000     1,000       1,000     1,000      1,000
             31   The Pork Company                 Warsaw, N.C.              750         750       750         750       750         750       900         900       900        900
             32   Jim’s Farm Meats                 Atwater, Calif.                                                                             450         450       850        850
             33   Cloverdale Foods                 Minot, N.D.               920         920       920         920       920         920       600         600       800        800
             33   Swaggerty Sausage Co.            Kodak, Tenn.                                                                                                      800        800
             35   Independent Meats                Twin Falls, Idaho         650         650       650         650       650         650       650         650       750        750
             36   Peoria Packing                   Chicago, Ill.             750         750       750         750       750         750       750         750       600        600
             37   Masami Meat Company              Klammath Falls, Ore.      650         650       650         650       650         650       550         550       550        550
             38   Dekalb Packing Company           De Kalb, Ill.             500         500       500         500       500         500       500         500       500        500
             39   Parks Family Meats               Warsaw, N.C.              300         300       300         300       300         300       450         450       450        450
             39   Calihan Packing Company          Peoria, Ill.              425         425       425         425       425         425       425         425       450        450
             41   Pioneer Packing Company          Bowling Green, Ohio                                                                                               425        425
             42   F.B. Purnell Sausage             Simsonville, Ky.          400         400       400         400       400         400       400         400       400        400
             42   J.C. Potter                      Durant, Okla.             400         400       400         400       400         400       400         400       400        400
             42   Williams Sausage Co.             Union City, Ky.           400         400       400         400       400         400       400         400       400        400
             45   Carleton Packing Company         Carleton, Ore.            375         375       375         375       375         375       375         375       375        375
             46   Morris Meat Packing              Morris, Ill.              200         200       200         200       200         200       200         200       300        300
             47   Wampler’s Sausage                Lenoir City, Tenn.        200         200       200         200       200         200       250         250       250        250
             47   VanDeRose Farms                  Wellsburg, Iowa                                                                                                   250        250
             49   Dean Sausage                     Atalla, Ala.              225         225       225         225       225         225       225         225       225        225
             50   Southern Pride Meats             Goldsboro, N.C.                                                                                                   210        210
             51   Avco                             Gadsen, Ala.                                                                                205         205       205        205
             52   Dealaman Eterprises, Inc.        Warren, N.J.                                                                                200         200       200        200
             53   Weltin Meat Packing              Minden City, Mich.                                                                          175         175       175        175
             54   Southern Quality Meats           Pontotoc, Miss.           130         130       130         130       130         130       130         130       150        150
             55   Gunnoe Sausage                   Goode, Va.                100         100       100         100       100         100       100         100       110        110
             56   Dayton Meat Co.                  Dayton, Ore.                                                                                                      100        100
             56   Kapowsin Meats, Inc.             Graham, Wash.                                                                               100        100        100        100
                  TOTAL CAPACITY                                                    407,875               411,575               420,875               428,335               444,925
         Source: Paragon Economics, Inc. and National Hog Farmer, May 2009

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                                                                      Quick Facts



  U.S. Packing Plant Closings — 1993-2009
                Company                           Plant                 Date Closed                      Capacity
  Swift                                  St. Joseph, Mo.              December 1993                         10,000
  Seaboard                               Alber Lea, Minn.             February 1994                         14,000
  Thorn Apple Valley                     Hyrum, Utah                  1995                                   1,500
  Reeves Packing                         Ada, Okla.                   1995                                     400
  Worth’ton Pack                         Worthington, Ind.            April 1996                             4,700
  Premium Pork                           Moultrie, Ga.                April 1996                             4,700
  Ohio Packing Co.                       Columbus, Ohio               April 1996                               900
  IBP                                    Council Bluffs, Iowa         April 1997                             7,300
  Dakota Pork                            Huron, S.D.                  August 1997                            5,850
  Thorn Apple Valley                     Detroit, Mich.               July 1998                             14,000
  Fisher Packing                         Louisville, Ky.              1998                                   3,000
  Field Packing                          Owensboro, Ky.               July 1999                              1,200
  AVA Pork                               Shamokin, Pa.                February 2000                          2,500
  Farmland                               Dubuque, Iowa                June 2000                             11,000
  Brown Packing                          Little Rock, Ark.            June 2000                                600
  Fineberg Packing                       Memphis, Tenn.               February 2001                            500
  Excel                                  Marshall, Mo.                July 2001                              8,000
  Mosby Packing Co.                      Meridian, Miss.              July 2001                                400
  AMPAC/Iowa Pack                        Chicago, Ill.                December 2001                          3,600
  Hormel                                 Rochelle, Ill.               January 2003                           7,100
  Metzger Foods                          Paduca, Ky.                  March 2003                               250
  Simeus Foods                           Forest City, N.C.            October 2003                             300
  America’s Family Farms                 Alcester, S.D.               November 2003                            600
  RC Pork (Pork Packers Int’l)           Downs, Kan.                  May 2004                               1,500
  Smithﬁeld Foods                        Smithfield, Va.              September 2005                         7,800
  Bryan Foods (Sara Lea)                 West Point, Miss.            March 2006                             6,200
  Lowell Packing                         Fitzgerald, Ga.              June 2005                                350
  Meadowbrook Farms                      Rantoul, Ill.                December 2008                          3,800
  TOTAL CAPACITY                                                                                           122,050

Source: Paragon Economics, Inc.



  Estimated Daily U.S. Slaughter Capacity – Sows & Boars
                                                                 Fall 2006             Fall 2007           Spring 2009
                                                                                                                 Co.
 Rank   Company                        Plant                 Plant    Co. Total    Plant   Co. Total     Plant
                                                                                                                 Total
  1     Johnsonville Foods             Watertown, Wis.         600                   650                   650
                                       Momence, Ill.         1,350                 1,600                 1,600
        Oldham’s Sausage               Holton, Kan.            600       2,550       900      3,150      1,000     3,250
  2     Pine Ridge Farms               Des Moines, Iowa      2,500       2,500     2,500      2,500      2,850     2,850
  3     Jimmy Dean (Sara Lee)          Newburn, Tenn.        2,600       2,600     2,600      2,600      2,800     2,800
  4     Pork King Packing              Marengo, Ill.         2,000       2,000     2,000      2,000      2,000     2,000
  4     USA Pork Products*             Hazellton, Pa.        2,000       2,000     2,000      2,000      2,000     2,000
  4     Abbyland Foods                 Curtiss, Wis.         1,700       1,700     2,000      2,000      2,000     2,000
  7     Bob Evans Farms                Bidwell, Ohio           200                   220                   220
                                       Xenia, Ohio             300                   330                   330
                                       Hillsdale, Mich.        300                   330                   330
                                       Galva, Ill.             300                   330                   330
        Owens Sausage                  Richardson, Texas       600       1,700       440      1,650        440     1,650
  8     Odom’s Sausage                 Little Rock, Ark.     1,000       1,000     1,000      1,000      1,000     1,000
  9     Calihan Packing Company        Peoria, Ill.            425         425       425        425        450        450
 10     Pioneer Packing Company        Bowling Green, Ohio                                                 425        425
 11     F.B. Purnell Sausage           Simsonville, Ky.         400          400     400           400     400        400
 11     J.C. Potter Sausage            Durant, Okla.            400          400     400           400     400        400
 11     Williams Sausage Company       Union City, Ky.          400          400     400           400     400        400
 14     Swaggerty Sausage Co           Kodak, Tenn.                                                        300        300
 15     Dean Sausage                   Atalla, Ala.             225          225     250           250     250        250
 16     Wampler’s Sausage              Lenoir City, Tenn.       200          200     225           225     225        225
 17     Southern Pride Meats           Goldsboro, N.C.                                                     210        210
 18     Avco                           Gadsen, Ala.             205        205       205        205        205        205
 19     Gunnoe Sausage                 Goode, Va.               100        100       100        100        110        110
        TOTAL                                                           18,405               19,305               20,925
* USA Pork Products handles 80 percent boars, 20 percent butcher hogs

                                                                                                                            Stats 97
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             Cost to Produce a Market Hog — Monthly


                      150


                      120
             $/Head




                       90


                       60


                       30


                        0
                            ’91 ’92 ’93 ’94 ’95 ’96 ’97 ’98 ’99                               ’03 ’04 ’05 ’06 ’07 ’08 ’09 ’10

                        Cost of 50# Feeder Pig       Corn Costs       Supplement       Non-Feed Costs       12# Weaned Pig Price — $/Head

                            Source: Iowa State University, Department of Economics, Estimated Livestock Costs and Returns




             Feeder Pig & Market Hog Prices — Monthly

                       90

                       80

                       70

                       60

                       50
             Dollars




                       40

                       30

                       20

                       10

                        0
                            ’91 ’92 ’93 ’94 ’95 ’96 ’97 ’98 ’99 ’00 ’01 ’02 ’03 ’04 ’05 ’06 ’07 ’08 ’09 ’10

                                    50-lb. Iowa feeder pig price – $/head                  51-52% lean hog price – $/cwt live

                                                           12-lb. Weaned Pig Price – $/Head
                            Source: Iowa State University, Department of Economics, Estimated Livestock Costs and Returns



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                 Quick Facts


                     U.S.PORK
                    U.S.   PORKEXPORTS
                                 EXPORTS                                                                           U.S.TOTAL
                                                                                                                 U.S.   TOTAL&&NET
                                                                                                                                NETPORK
                                                                                                                                    PORKEXPORTS
                                                                                                                                          EXPORTS
                                                                                                         U.S. Total
                                                                                                               U.S.
                                                                                                                 AS A&PERCENT
                                                                                                                        Net& NET
                                                                                                                 U.S.TOTAL
                                                                                                                       TOTAL Pork
                                                                                                                             & NET
                                                                                                                                OF Exports
                                                                                                                                 PORK EXPORTS
                                                                                                                                   PORK EXPORTS
                                                                                                                                   PRODUCTION
                    U.S.
                      U.S.PORK
        U.S. Pork Exports   PORKEXPORTS
                                  EXPORTS                                                                         ASproduction)
                                                                                                         (percent of  A PERCENT OF PRODUCTION
                                                                                                                  ASASA PERCENT
                                                                                                                         A PERCENTOFOFPRODUCTION
                                                                                                                                        PRODUCTION
           Mil.lbs.
          Mil.  lbs.carcass
                     carcass                                                                              Percent
                                                                                                         Percent
           5000
          Mil.
          5000  lbs.
              Mil.   carcass
                   lbs. carcass                                                                           25%
                                                                                                         Percent
                                                                                                         25%Percent
                                                                                                                  TotalExports
                                                                                                                 Total  Exports
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           4500                                                                                          25%25%   NetExports
                                                                                                                 Net   Exports
                       2008: U.S.
                      2008:   U.S.pork
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                                        exportsgrew
                                                grewby
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                                                        49%                                               20%
                                                                                                         20%     Total Exports
                                                                                                                    Total Exports
          45004500
           4000
          4000                                                                                                   NetNet
                                                                                                                     Exports
                                                                                                                        Exports2008: 20.2% Exported
                       2009:
                      2008:
                        2008:
                      2009:   U.S.
                               U.S.
                             U.S.  pork
                                    pork
                                  pork  exports
                                         exports
                                       exports  fell
                                               grew  by
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                                               fell byby12%
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                                                        by
                                                       12% 49%                                           20%20%                2008: 20.2% Exported
          40004000
           3500
          3500                                                                                            15%
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                                                                                                                                 2008:     Exported
                                                                                                                                       20.2% Exported
                   2009: U.S.
                     2009:    pork
                           U.S.    exports
                                pork       fellfell
                                     exports    byby12%
                                                      12%
          35003500                                                                                       15%15%
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        U.S. Pork Export Markets by Volume                                                               U.S. Pork Export Markets by Value
        Metrictons
        Metric tons                                                                                  Million$$
                                                                                                    Million
         450,000
        450,000
        Metric   tons
            Metric tons                                                                               1,600,000
                                                                                                    1,600,000
                                                                                                    Million
                                                                                                        Million $ $
                          Japan                  Mexico                                                                  Japan
                                                                                                                        Japan                 Mexico
                                                                                                                                             Mexico
        450,000
            450,000      Japan                  Mexico
                                                                                                    1,600,000
                                                                                                         1,600,000
         400,000
        400,000           Canada
                         Canada                  Russia
                                                Russia                                                1,400,000
                                                                                                    1,400,000            Canada
                                                                                                                        Canada                Russia
                                                                                                                                             Russia
                         Japan
                             Japan              Mexico
                                                    Mexico                                                              Japan
                                                                                                                            Japan            Mexico
                                                                                                                                                 Mexico
                          Korea,South
                                  South          China/HongKong
                                                              Kong                                                       Korea,South
                                                                                                                        Korea,   South        China/HongKong
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            400,000      Korea,                 China/Hong
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        350,000          Canada
                             Canada             Russia
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                                                                                                                            Canada           Russia
                                                                                                                                                 Russia
                          Australia(*)
                         Australia(*)
                         Korea,  South
                             Korea,  South
                                                 Philippines
                                                Philippines
                                                China/Hong   Kong
                                                    China/Hong  Kong
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                         Taiwan                                                                                         Taiwan
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        300,000          Australia(*)
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                                                    Philippines                                     1,200,000
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              0 0                                                                                           0 0
                 19911991199319931995199519971997199919992001200120032003200520052007200720092009              1991199119931993199519951997199719991999 2001200120032003200520052007200720092009


                   U.S.PORK
                  U.S.   PORKEXPORT
                               EXPORTMARKETS
                                      MARKETSBY
        Source: USDA, Economic Research Service     VOLUME
                                               BY VOLUME                                                              U.S.PORK
                                                                                                                     U.S.   PORKEXPORT
                                                                                                                                  EXPORTMARKETS
                                                                                                                                         MARKETSBYBYVALUE
                                                                                                                                                      VALUE
                  U.S.
                    U.S.PORK
                          PORKEXPORT   MARKETSBYBY VOLUME
                                EXPORTMARKETS        VOLUME                                                          U.S.
                                                                                                                       U.S.PORK
                                                                                                                             PORKEXPORT
                                                                                                                                   EXPORTMARKETS
                                                                                                                                          MARKETSBYBYVALUE
                                                                                                                                                       VALUE


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                                                                           Quick Facts



   Hog-Corn Price Ratio
   The hog-corn price ratio is a
time-honored measure of pork             Hog-Corn Price Ratio
production profitability, and, as
such, is a good predictor of future     Ratio
production levels. The reason it        40
works is that feed represents 65 to
70 percent of the cost of producing     35
a pig while corn, or a close
                                        30
substitute, such as grain sorghum
or barley, makes up about 60            25
percent of total feed costs.
   The hog-corn price ratio is          20
simply the ratio of the market hog
price in dollars per 100 pounds         15
(cwt.) to the price of corn in
                                        10
dollars per bushel. So if hogs are
selling for $50 per cwt. and corn        5
costs $2.50 per bushel, the hog-             ’91 ’92 ’93 ’94 ’95 ’96 ’97 ’98 ’99 ’00 ’01 ’02 ’03 ’04 ’05 ’06 ’07 ’08 ’09 ’10
corn price ratio is 20.
                                                        Hog Corn Ratio
   History tells us that a hog-
corn price ratio of 20 or greater
suggests that pork production            Hog-Corn Price Ratio and Pork Production
will exceed year-earlier levels 12
to 18 months later. Conversely, a       Ratio                                                                        Percent Change
hog-corn price ratio of 16 or less
                                        40                                                                                      20%
suggests that pork production will
fall below year-earlier levels in       35                                                                                      15%
about 12 to 18 months.
   This lead-lag relationship           30                                                                                      10%
was once a function of grain
producers’ decisions on whether to      25                                                                                       5%
sell corn or feed it to livestock. In
                                        20                                                                                       0%
this age of specialized production,
many pork producers do not raise        15                                                                                      -5%
their own grain. However, the
potential profitability indicated       10                                                                                     -10%
by the hog-corn price ratio is still
a good indicator of the incentives       5                                                                                     -15%
                                             ’91 ’92 ’93 ’94 ’95 ’96 ’97 ’98 ’99 ’00 ’01 ’02 ’03 ’04 ’05 ’06 ’07 ’08 ’09 ’10
that the marketplace provides
producers to either expand or                           Hog Corn Ratio         8-week average of production change, no lag
contract production.




                                                                                                                               Stats 99
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               World Pork Consumption

               World Per Capita Pork Consumption, Lbs., Carcass Weight

              Rank Country                     2008         2009    2010    Rank Country                 2008      2009     2010
                 1 Belarus                       99.0        92.5    94.0     26 Moldova                  34.6     28.7     30.6
                 2 EU-27                         94.3        93.2    92.1     27 Philippines              29.1     29.1     30.4
                 3 China/Hong Kong               77.7        80.8    82.1     28 Panama                   24.7     26.2     29.1
                 4 Serbia                        80.0        76.7    78.7     29 Brazil                   26.8     26.9     28.0
                 5 Taiwan                        78.7        81.3    78.5     30 Uruguay                  21.6     22.7     25.1
                 6 Montenegro                    91.0        88.6    72.7     31 Dominican Republic       21.3     23.3     24.5
                 7 Switzerland                   73.8        73.4    72.5     32 Macedonia                21.4     22.4     24.5
                 8 Korea, South                  69.2        67.2    69.0     33 Cuba                     21.8     22.0     22.5
                 9 Bahamas, The                  43.4        57.3    63.9     34 Trinidad and Tobago      17.9     17.9     19.7
                10 United States                 63.8        64.6    59.9     35 Korea, North             17.1     16.7     16.8
                11 Singapore                     53.6        57.3    59.1     36 Albania                  13.4     17.6     15.0
                12 Croatia                       57.3        56.9    58.4     37 Angola                   15.3     16.0     14.8
                13 Norway                        57.5        55.8    55.1     38 Argentina                13.7     13.9     14.3
                14 Canada                        56.3        56.1    52.0     39 Georgia                  17.1     13.8     13.4
                15 Chile                         45.8        49.0    50.0     40 Armenia                  16.3     13.4     13.4
                16 Australia                     47.8        48.4    48.7     41 Kyrgyzstan               11.0     11.0     11.9
                17 Russia                        47.9        47.2    48.5     42 Guatemala                11.2     11.7     11.7
                18 Vietnam                       47.3        46.7    45.8     43 Bosnia & Herzegovina     10.1     10.5     11.4
                19 New Zealand                   44.9        47.2    45.6     44 Gabon                    13.4     13.1     11.4
                20 Japan                         43.0        42.8    42.3     45 Venezuela                11.1     10.6     10.4
                21 Netherlands Antilles          39.1        38.8    38.5     46 Honduras                  8.0      8.2      9.4
                22 Ukraine                       39.7        34.4    37.5     47 Colombia                  8.4      8.8      8.8
                23 Mexico                        32.2        35.0    34.6     48 Haiti                     9.9      8.8      8.4
                24 Ecuador                       33.7        33.3    33.9     49 South Africa              7.6      7.9      7.9
                25 Kazakhstan                    30.9        31.7    32.4     50 Jamaica                   7.9      7.0      7.7



               World Meat                                              Turkey 2%                                 Other 5%

               Consumption
               Shares – 2009                                                        Chicken
                                                                                     29%
                                                                                                        Pork
                                                                                                        40%


                                                                                           Beef
                                                                                           24%




                Source: USDA Foreign Agricultural Service



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                                              What Determines the Price of Hogs?
                                                Market hog prices in the U.S. are determined by the basic economic forces of supply
                                              and demand. The supply of hogs is determined by the price of production inputs and
                                              production technology while demand for market hogs is derived from the demand for
                                              pork and other products made from the pig.
                                                The interaction of supply and demand results in prices that vary over time. This graph
                                              demonstrates all of the forms of price variation – trend, cycle and seasonal. Trends can be
                                              seen in the growth of hog prices during the 1970s (largely attributable to increasing meat
                                              demand and inflation) and the decline of hog prices during the 1990s, as new technologies
                                              and lower grain prices reduced the average cost required to produce pigs. The uptrend of
                                              prices from 1998 to present is due to stronger export demand and higher costs, primarily
                                              due to higher feed prices driven by ethanol.
                                                Cyclical variation can be seen in the 3- to 4-year period between price peaks and lows.
                                              The “hog cycle” is caused by the biological lags inherent in pig production, producers’
                                              need for sufficient resources in order to expand and producers’ natural tendency to try to
                                              endure hard times before reducing production.




                  Iowa-Minnesota Market Hog Prices — Weekly


                               100.00

                                90.00

                                80.00

                                70.00
              $/cwt. Carcass




                                60.00

                                50.00

                                40.00

                                30.00

                                20.00

                                10.00

                                 0.00
                                    ’73 ’75 ’77 ’79 ’81 ’83 ’85 ’87 ’89 ’91 ’93 ’95 ’97 ’99 ’01 ’03 ’05 ’07 ’09

              Source: USDA Agricultural Marketing Service




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  U.S. Seasonal Pork Price Indexes
   U.S. pork production and pig prices vary in a predict-                Pig growth rates vary by season, as well, largely
able manner during the calendar year. Such variation is               because of variations in feed intake. Pigs eat less
called seasonality or seasonal variation. The graph below             during hot weather and thus grow slower. This pushes
shows the seasonal indexes for both pork production and               market hogs out of summer months and into the
market hog prices from 1980 through 2010.                             fall. Higher feed intake in cooler months causes pigs
   An index shows the percent of the annual average that              to perform exceptionally well and pulls marketings
prevails during a particular month. For example, this                 forward in the spring months. Both of these cause
graph shows a seasonal production index of 92 percent                 fewer pigs to reach market weights during the summer.
and a seasonal price index of 110 percent for July. These                Pig prices, quite logically, follow a seasonal pattern
numbers mean that, on average, July pork production                   opposite of what happens with pork production.
will be about 92 percent of a year’s monthly average                  But there are seasonal components to pork and hog
production, while July pork prices will be about 110                  demand as well.
percent of the average annual price.                                     Summer grilling season increases the demand
   As “seasonal” implies, weather is a main driver of                 for loins, ribs, Boston butts and pork trimmings, a
pork production levels. When considering seasonal                     major ingredient in hot dogs and other sausages.
factors, one must always consider biological time lags,               This strength drives up pork and hog prices. Pork
such as gestation period (about four months for pigs)                 bellies, the raw material from which bacon is made,
and feeding period (about six months for pigs).                       once contributed greatly to summer-demand strength
   Breeding performance is better in the cooler weather               due to the availability of tomatoes and the popularity
of fall and winter. This results in more and larger litters           of BLTs. Increased year-round use of bacon by
being farrowed in spring and early summer and more                    foodservice operations has removed much of the
pigs available for harvest the next fall and winter.                  seasonal variation in bacon use and belly prices.
   Conversely, higher temperatures cause poorer breed-                   Holiday demand for hams causes their prices to
ing performance in the spring and summer, resulting in                vary “counter-seasonally” to hog prices with the year’s
fewer and smaller litters in the fall and winter and fewer            lowest ham prices being in the summer and highest
market hogs the following spring and summer.                          prices usually occurring in October and November.


  Seasonal Hog Supply and Price Indexes – 1980-2010

                                  115

                                             Pork Production
                                  110
    Percent of Annual Average




                                             IA-S. MN Hog Price

                                  105

                                  100

                                   95

                                   90

                                   85
                                        J     F    M      A       M   J      J       A       S       O       N       D

  Source: Paragon Economics, Inc.



                                                                                                                              Stats 101
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        U.S. Per Capita Meat Consumption

                             Retail Weight (pounds)                                        Boneless Equivalent (pounds)

              Beef   Pork   Veal    Lamb Chicken Turkey       Fish   Total   Beef   Pork     Veal   Lamb Chicken Turkey   Fish   Total
      1960    63.5   59.1     5.2    4.2   23.5      6.3      10.3   172.1   59.1   48.9      4.2    3.1   16.1    4.9    10.3   146.7
      1961    65.5   56.7     4.8    4.5   26.0      7.4      10.7   175.6   61.0   47.1      3.9    3.3   17.8    5.9    10.7   149.6
      1962    66.3   57.3     4.6    4.5   26.0      7.1      10.6   176.3   61.8   47.7      3.7    3.4   17.8    5.6    10.6   150.5
      1963    70.4   58.4     4.1    4.3   27.2      6.9      10.5   181.7   65.5   48.9      3.4    3.2   18.6    5.5    10.5   155.5
      1964    74.8   58.4     4.4    3.7   27.8      7.4      10.5   187.0   70.6   49.2      3.6    2.7   19.0    5.8    10.5   161.5
      1965    74.8   51.8     4.4    3.3   29.8      7.5      10.9   182.5   70.6   43.8      3.6    2.4   20.4    6.0    10.9   157.7
      1966    78.3   50.7     3.8    3.5   32.1      7.9      10.9   187.3   73.9   43.1      3.2    2.6   21.9    6.3    10.9   161.8
      1967    80.1   55.5     3.3    3.4   32.6      8.7      10.6   194.2   75.5   47.4      2.7    2.5   22.3    6.8    10.6   167.9
      1968    82.2   56.7     3.1    3.3   32.9      8.1      11.0   197.3   77.6   48.7      2.5    2.4   22.5    6.4    11.0   171.1
      1969    82.8   55.0     2.7    3.1   34.9      8.4      11.2   198.0   78.1   47.5      2.3    2.3   24.1    6.6    11.2   171.9
      1970    84.7   55.9     2.4    2.9   36.9      8.1      11.7   202.6   79.9   48.6      2.0    2.1   25.4    6.4    11.7   176.1
      1971    84.0   60.6     2.2    2.8   36.7      8.4      11.5   206.3   79.2   53.0      1.8    2.1   25.1    6.6    11.5   179.3
      1972    85.8   54.7     1.8    2.9   38.5      9.0      12.5   205.2   81.0   48.1      1.5    2.2   26.3    7.1    12.5   178.6
      1973    80.8   49.0     1.4    2.4   37.0      8.4      12.7   191.6   76.2   43.4      1.2    1.7   25.2    6.7    12.7   167.0
      1974    85.7   52.8     1.9    2.0   36.9      8.7      12.1   200.1   80.8   47.1      1.5    1.5   25.1    6.9    12.1   175.0
      1975    88.2   43.0     3.4    1.8   36.7      8.3      12.1   193.5   83.2   38.5      2.8    1.3   25.0    6.5    12.1   169.5
      1976    94.6   45.5     3.2    1.6   39.9      8.9      12.9   206.7   89.2   41.1      2.7    1.2   27.1    7.0    12.9   181.2
      1977    91.7   47.1     3.1    1.5   40.7      8.8      12.6   205.5   86.5   42.6      2.6    1.1   27.7    6.9    12.6   180.0
      1978    87.5   47.0     2.4    1.4   43.1      8.7      13.4   203.5   82.5   42.8      1.9    1.0   29.2    6.9    13.4   177.8
      1979    78.2   53.7     1.6    1.3   46.0      9.3      13.0   203.1   73.7   49.1      1.3    1.0   31.7    7.3    13.0   177.2
      1980    76.6   57.3     1.5    1.4   45.8     10.3      12.5   205.4   72.3   52.6      1.2    1.0   31.7    8.1    12.5   179.3
      1981    78.3   54.7     1.6    1.4   46.9     10.6      12.7   206.1   73.8   50.4      1.3    1.0   32.4    8.4    12.7   180.1
      1982    77.1   49.1     1.6    1.5   47.0     10.6      12.5   199.4   72.7   45.3      1.3    1.1   32.6    8.4    12.5   173.9
      1983    78.6   51.7     1.6    1.5   47.4     11.0      13.4   205.2   74.1   47.8      1.3    1.1   32.9    8.7    13.4   179.3
      1984    78.5   51.5     1.7    1.5   49.2     11.1      14.2   207.7   74.0   47.6      1.4    1.1   34.2    8.7    14.2   181.3
      1985    79.3   51.9     1.8    1.4   51.0     11.6      15.1   212.1   74.8   48.1      1.5    1.1   35.4    9.2    15.1   185.1
      1986    78.9   49.0     1.8    1.4   52.0     12.9      15.5   211.5   74.6   45.6      1.5    1.0   36.1   10.2    15.5   184.5
      1987    73.9   49.2     1.5    1.3   55.1     14.7      16.2   211.9   69.7   46.0      1.2    1.0   38.3   11.6    16.2   184.1
      1988    72.7   52.5     1.3    1.4   55.3     15.7      15.2   214.1   68.7   49.2      1.1    1.0   38.6   12.4    15.2   186.3
      1989    69.0   52.0     1.2    1.4   56.7     16.6      15.6   212.5   65.3   48.8      1.0    1.0   39.7   13.1    15.6   184.6
      1990    67.8   49.7     1.1    1.4   59.5     17.6      15.0   212.1   64.1   46.7      0.9    1.1   41.6   13.9    15.0   183.3
      1991    66.6   50.2     1.0    1.4   62.0     17.9      14.9   214.0   63.1   47.2      0.8    1.0   43.4   14.2    14.9   184.6
      1992    66.2   52.8     1.0    1.3   65.6     17.9      14.8   219.6   62.7   49.6      0.8    1.0   45.8   14.2    14.8   188.9
      1993    64.6   51.9     0.9    1.3   68.0     17.7      15.0   219.5   61.2   48.8      0.8    1.0   47.4   14.0    15.0   188.2
      1994    66.3   52.5     0.9    1.2   68.8     17.8      15.2   222.7   63.1   49.3      0.8    0.9   48.1   14.1    15.2   191.4
      1995    66.6   51.8     1.0    1.2   68.0     17.8      15.0   221.3   63.7   48.6      0.8    0.9   47.6   14.0    15.0   190.6
      1996    67.2   48.4     1.2    1.1   69.4     18.4      14.8   220.4   64.2   45.4      1.0    0.8   48.5   14.5    14.8   189.3
      1997    65.7   47.9     1.0    1.1   71.4     17.3      14.6   219.0   62.8   45.0      0.8    0.8   50.1   13.7    14.6   187.7
      1998    66.7   51.5     0.8    1.2   72.1     17.7      14.9   224.8   63.8   48.4      0.7    0.9   50.5   14.0    14.9   193.0
      1999    67.5   52.7     0.7    1.1   76.3     17.6      15.4   231.4   64.6   49.5      0.6    0.8   53.5   13.9    15.4   198.2
      2000    67.7   51.2     0.7    1.1   76.9     17.3      15.2   230.2   64.7   48.1      0.5    0.8   53.9   13.7    15.2   197.0
      2001    66.3   50.2     0.6    1.1   76.6     17.5      14.8   227.2   63.3   47.2      0.5    0.8   53.7   13.8    14.8   194.2
      2002    67.7   51.5     0.6    1.2   80.5     17.7      15.6   234.8   64.6   48.4      0.5    0.9   56.4   14.0    15.6   200.4
      2003    65.0   51.7     0.6    1.1   81.4     17.4      16.3   233.5   61.9   48.6      0.5    0.8   57.1   13.7    16.3   198.9
      2004    66.2   51.4     0.5    1.1   84.5     17.1      16.6   237.5   63.3   48.3      0.4    0.8   59.2   13.5    16.6   202.2
      2005    65.6   50.1     0.5    1.1   85.9     16.7      16.2   236.1   62.7   47.0      0.4    0.8   60.2   13.2    16.2   200.6
      2006    65.8   49.5     0.4    1.1   86.5     17.0      16.5   237.0   63.0   46.5      0.4    0.8   60.7   13.4    16.5   201.3
      2007    65.2   50.8     0.4    1.1   85.2     17.6      16.3   236.7   62.4   47.8      0.3    0.8   59.7   13.9    16.3   201.2
      2008    62.8   49.5     0.4    1.0   83.4     17.6      16.0   230.7   60.0   46.5      0.3    0.7   58.5   13.9    16.0   195.9

      Source: USDA, U.S. Department of Commerce (fish data)



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Nominal* U.S. Per Capita Meat Expenditures

                   300

                   250                                                                                                                            Beef
 Nominal Dollars




                   200                                                                                                                            Pork

                                                                                                                                                  Broiler
                   150
                                                                                                                                                  Turkey

                   100

                    50

                     0
                         1978
                                1980
                                       1982
                                              1984
                                                     1986
                                                             1988
                                                                    1990
                                                                           1992
                                                                                   1994
                                                                                          1996
                                                                                                 1998
                                                                                                        2000
                                                                                                               2002
                                                                                                                      2004
                                                                                                                             2006
                                                                                                                                    2008
                      Beef               Pork               Broiler               Turkey                *Not adjusted for inflation
1978                 156.38              67.51               28.67                 7.13                  Source: USDA data, Livestock Marketing
1979                 173.91              77.43               31.62                 8.32                  Information Center
1980                 178.97              79.97               45.08                 9.11
1981                 183.69              83.42               49.50                10.33
1982                 183.75              86.19               48.62                 9.80
1983                 183.91              87.84               49.88                10.12
1984                 184.80              83.41               58.67                10.91
1985                 181.19              84.08               58.57                12.20
1986                 178.92              87.44               66.67                13.73
1987                 176.18              92.66               65.94                14.92
1988                 182.01              96.25               74.11                15.02
1989                 183.38             100.53               83.89                16.39
1990                 190.44             111.88               86.38                17.44
1991                 192.10             112.56               88.87                17.89
1992                 188.32             110.60               92.98                17.38
1993                 189.64             108.61               97.88                17.73
1994                 187.67             110.02               99.90                17.82
1995                 189.43             106.67               97.94                18.20
1996                 188.25             113.04              104.47                19.20
1997                 183.73             117.25              107.59                18.18
1998                 184.79             124.87              110.72                17.59
1999                 194.27             127.14              117.78                17.43
2000                 207.64             132.26              119.52                17.89
2001                 223.91             135.48              121.00                19.24
2002                 224.48             137.03              130.47                18.66
2003                 243.21             137.72              131.56                18.86
2004                 268.65             143.22              145.47                18.56
2005                 268.51             141.49              149.58                17.96
2006                 261.73             138.94              136.09                18.79
2007                 271.49             145.91              140.70                20.22
2008                 270.35             145.42              145.70                22.04
2009                 260.39             146.50              141.69                23.61




                                                                                                                                                            Stats 103
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                                                                                              U.S. Total & Net Pork Exports
        U.S. Pork Exports                                                                     (as a Percent of Production)

          Mil. lbs. carcass                                                                    Percent
          5000                                                                                 25%
                                                                                                                 Total Exports
          4500                                                                                                   Net Exports
                         2008: U.S. pork exports grew by 49%                                   20%
          4000                                                                                                                     2008: 20.2% Exported
                         2009: U.S. pork exports fell by 12%
          3500                                                                                 15%

          3000
                                                                                               10%
          2500
                                                                                                5%
          2000

          1500                                                                                  0%
                     The NAFTA signed in 1994
          1000
                                                                                                -5%
           500

              0                                                                               -10%
                  1970 1974 1978 1982 1986 1990 1994 1998 2002 2006                                1970 1974 1978 1982 1986 1990 1994 1998 2002 2006




        U.S. Pork Export Markets by Volume                                                    U.S. Pork Export Markets by Value

        Metric tons                                                                          Million $
        450,000                                                                              1,600,000
                           Japan                 Mexico                                                            Japan                  Mexico
        400,000            Canada                Russia                                      1,400,000             Canada                 Russia
                           Korea, South          China/Hong Kong                                                   Korea, South           China/Hong Kong
        350,000            Australia(*)          Philippines                                                       Australia(*)           Philippines
                                                                                             1,200,000
                           Taiwan                                                                                  Taiwan
        300,000
                                                                                             1,000,000
        250,000
                                                                                              800,000
        200,000
                                                                                              600,000
        150,000
                                                                                              400,000
        100,000

         50,000                                                                               200,000

              0                                                                                       0
                  1991    1993     1995   1997    1999    2001   2003   2005   2007   2009                1991    1993      1995   1997     1999    2001    2003   2005   2007   2009

        Source: USDA, Economic Research Service




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               Grain Usage for Pork Production –
               Total Corn and Soybeans Fed to Hogs



                                    1200



                                    1000



                                     800
              Millions of Bushels




                                     600



                                     400



                                     200



                                      0
                                           2000 2001 2002 2003 2004 2005 2006 2007 2008 2009 2010		
                                           											                                       (est)

                                                            Corn        Soybeans
                        Source: Paragon Economics, Inc.




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                     U.S.PORK
                    U.S.   PORKEXPORTS
                                 EXPORTS                                                                           U.S.TOTAL
                                                                                                                  U.S.  TOTAL&&NET
                                                                                                                                NETPORK
                                                                                                                                      PORKEXPORTS
                                                                                                                                           EXPORTS
                                                                                                         U.S. Total
                                                                                                               U.S.
                                                                                                                 AS A&PERCENT
                                                                                                                        Net& NET
                                                                                                                 U.S.TOTAL
                                                                                                                       TOTAL Pork
                                                                                                                             & NET
                                                                                                                                OF Exports
                                                                                                                                 PORK EXPORTS
                                                                                                                                   PORK EXPORTS
                                                                                                                                   PRODUCTION
                    U.S.
                      U.S.PORK
        U.S. Pork Exports   PORKEXPORTS
                                  EXPORTS                                                                          AS AofPERCENT
                                                                                                         (as a Percent             OF PRODUCTION
                                                                                                                          Production)
                                                                                                                   ASASA PERCENT
                                                                                                                         A PERCENTOFOFPRODUCTION
                                                                                                                                        PRODUCTION
           Mil.lbs.
          Mil.  lbs.carcass
                     carcass                                                                              Percent
                                                                                                         Percent
           5000
          Mil.
          5000  lbs.
              Mil.   carcass
                   lbs. carcass                                                                           25%
                                                                                                         Percent
                                                                                                         25%Percent
                                                                                                                  TotalExports
                                                                                                                 Total  Exports
          5000
          45005000
           4500                                                                                          25%25%   NetExports
                                                                                                                 Net   Exports
                       2008: U.S.
                      2008:   U.S.pork
                                   porkexports
                                        exportsgrew
                                                grewby
                                                     by49%
                                                        49%                                               20%
                                                                                                         20%     Total Exports
                                                                                                                    Total Exports
          45004500
           4000
          4000                                                                                                   NetNet
                                                                                                                     Exports
                                                                                                                        Exports2008: 20.2% Exported
                       2009:
                      2008:
                        2008:
                      2009:   U.S.
                               U.S.
                             U.S.  pork
                                    pork
                                  pork  exports
                                         exports
                                       exports  fell
                                               grew  by
                                                  grew
                                               fell byby12%
                                                         49%
                                                        by
                                                       12% 49%                                           20%20%                2008: 20.2% Exported
          40004000
           3500
          3500                                                                                            15%
                                                                                                         15%                   2008: 20.2%
                                                                                                                                 2008:     Exported
                                                                                                                                       20.2% Exported
                   2009: U.S.
                     2009:    pork
                           U.S.    exports
                                pork       fellfell
                                     exports    byby12%
                                                      12%
          35003500                                                                                       15%15%
           3000
          3000
                                                                                                          10%
                                                                                                         10%
          30003000
           2500
          2500                                                                                           10%10%
          25002500                                                                                        5%5%
           2000
          2000
                                                                                                          5% 5%
          20002000
           1500
          1500                                                                                            0%0%
                       TheNAFTA
                      The  NAFTAsigned
                                 signedinin1994
                                            1994
          15001500
           1000
          1000                                                                                            0% 0%
                      The NAFTA
                        The     signed
                            NAFTA       in in
                                   signed  1994
                                              1994                                                         -5%
                                                                                                         -5%
          10001000
            500
           500
                                                                                                         -5%-5%
           5000 0500                                                                                      -10%
                                                                                                        -10%
                  1970 1974
                1970      1974 1978
                                  1978 1982
                                          1982 1986
                                                  1986 1990
                                                          1990 1994
                                                                  1994 1998
                                                                          1998 2002
                                                                                  2002 2006
                                                                                          2006                 1970 1974
                                                                                                              1970   1974 1978
                                                                                                                           1978 1982
                                                                                                                                 1982 1986
                                                                                                                                       1986 1990
                                                                                                                                             1990 1994
                                                                                                                                                   1994 1998
                                                                                                                                                         1998 2002
                                                                                                                                                               2002 2006
                                                                                                                                                                     2006
              0 0                                                                                       -10%-10%
                 19701970197419741978197819821982198619861990199019941994199819982002200220062006             19701970197419741978197819821982198619861990199019941994199819982002200220062006


        U.S. Pork Export Markets by Volume                                                               U.S. Pork Export Markets by Value
        Metrictons
        Metric tons                                                                                  Million$$
                                                                                                    Million
         450,000
        450,000
        Metric   tons
            Metric tons                                                                               1,600,000
                                                                                                    1,600,000
                                                                                                    Million
                                                                                                        Million $ $
                          Japan                  Mexico                                                                  Japan
                                                                                                                        Japan                 Mexico
                                                                                                                                             Mexico
        450,000
            450,000      Japan                  Mexico
                                                                                                    1,600,000
                                                                                                         1,600,000
         400,000
        400,000           Canada
                         Canada                  Russia
                                                Russia                                                1,400,000
                                                                                                    1,400,000            Canada
                                                                                                                        Canada                Russia
                                                                                                                                             Russia
                         Japan
                             Japan              Mexico
                                                    Mexico                                                              Japan
                                                                                                                            Japan            Mexico
                                                                                                                                                 Mexico
                          Korea,South
                                  South          China/HongKong
                                                              Kong                                                       Korea,South
                                                                                                                        Korea,   South        China/HongKong
                                                                                                                                             China/Hong    Kong
        400,000
            400,000      Korea,                 China/Hong
                                                                                                    1,400,000
                                                                                                         1,400,000
         350,000
        350,000          Canada
                             Canada             Russia
                                                    Russia                                                              Canada
                                                                                                                            Canada           Russia
                                                                                                                                                 Russia
                          Australia(*)
                         Australia(*)
                         Korea,  South
                             Korea,  South
                                                 Philippines
                                                Philippines
                                                China/Hong   Kong
                                                    China/Hong  Kong
                                                                                                      1,200,000
                                                                                                    1,200,000
                                                                                                                         Australia(*)
                                                                                                                        Australia(*)
                                                                                                                        Korea,  South
                                                                                                                            Korea,  South
                                                                                                                                              Philippines
                                                                                                                                             Philippines
                                                                                                                                             China/Hong   Kong
                                                                                                                                                 China/Hong  Kong
                                                                                                                         Taiwan
        350,000
            350,000       Taiwan
                         Taiwan                                                                                         Taiwan
         300,000
        300,000          Australia(*)
                             Australia(*)       Philippines
                                                    Philippines                                     1,200,000
                                                                                                         1,200,000      Australia(*)
                                                                                                                            Australia(*)     Philippines
                                                                                                                                                 Philippines
                         Taiwan
                            Taiwan                                                                    1,000,000
                                                                                                    1,000,000           Taiwan
                                                                                                                           Taiwan
        300,000
            300,000
         250,000
        250,000                                                                                     1,000,000
                                                                                                        1,000,000
                                                                                                       800,000
                                                                                                      800,000
        250,000
            250,000
         200,000
        200,000
                                                                                                     800,000
                                                                                                         800,000
        200,000
            200,000                                                                                   600,000
                                                                                                     600,000
         150,000
        150,000
                                                                                                     600,000
                                                                                                         600,000
        150,000
            150,000                                                                                   400,000
                                                                                                     400,000
         100,000
        100,000
                                                                                                     400,000
                                                                                                         400,000
        100,000
            100,000                                                                                   200,000
                                                                                                     200,000
          50,000
         50,000
         50,000
             50,000                                                                                   200,000
                                                                                                          200,000
              00                                                                                            00
                  1991 1993
                1991      1993 1995
                                  1995 1997
                                          1997 1999
                                                  1999 2001
                                                          2001 2003
                                                                  2003 2005
                                                                          2005 2007
                                                                                  2007 2009
                                                                                          2009                  1991 1993
                                                                                                               1991     1993 1995
                                                                                                                                1995 1997
                                                                                                                                        1997 1999
                                                                                                                                                1999 20012001 2003
                                                                                                                                                                 2003 2005
                                                                                                                                                                         2005 2007
                                                                                                                                                                                 2007 2009
                                                                                                                                                                                         2009
              0 0                                                                                           0 0
                 19911991199319931995199519971997199919992001200120032003200520052007200720092009              1991199119931993199519951997199719991999 2001200120032003200520052007200720092009


                   U.S.PORK
                  U.S.   PORKEXPORT
                               EXPORTMARKETS
                                      MARKETSBY
        Source: USDA, Economic Research Service     VOLUME
                                               BY VOLUME                                                              U.S.PORK
                                                                                                                     U.S.   PORKEXPORT
                                                                                                                                  EXPORTMARKETS
                                                                                                                                         MARKETSBYBYVALUE
                                                                                                                                                      VALUE
                  U.S.
                    U.S.PORK
                          PORKEXPORT   MARKETSBYBY VOLUME
                                EXPORTMARKETS        VOLUME                                                          U.S.
                                                                                                                       U.S.PORK
                                                                                                                             PORKEXPORT
                                                                                                                                   EXPORTMARKETS
                                                                                                                                          MARKETSBYBYVALUE
                                                                                                                                                       VALUE


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U.S. Pork Exports and Net Exports

                    Million Lbs., Carcass Weight1                        Thousand Metric Tons, Product Weight 2

             Imports            Exports         Net Exports             Imports            Exports         Net Exports
1970           491.0                68.0            -423.0                 —                  —                —
1971           496.0                72.0            -424.0                 —                  —                —
1972           538.0              106.0             -432.0                 —                  —                —
1973           533.0               172.0            -361.0                 —                  —                —
1974           488.0              105.0             -383.0                 —                  —                —
1975           439.0               211.0            -228.0                 —                  —                —
1976           469.1              316.2             -152.9                 —                  —                —
1977           439.6              293.8             -145.7                 —                  —                —
1978           495.2               287.7            -207.6                 —                  —                —
1979           499.4              290.7             -208.8                 —                  —                —
1980           549.7               251.8            -297.9                 —                  —                —
1981            541.4              307.0            -234.4                 —                  —                —
1982            612.1              214.3            -397.8                 —                  —                —
1983           698.7              219.3             -479.4                 —                  —                —
1984           953.9              163.9             -790.0                 —                  —                —
1985          1,127.8             128.4             -999.4                 —                  —                —
1986         1,121.6                85.7          -1,035.9                 —                  —                —
1987         1,195.1              109.3           -1,085.8                 —                  —                —
1988          1,137.2             195.2             -942.0                 —                  —                —
1989           895.7              268.4             -627.2               346.0               92.8           -253.1
1990            897.9             243.7             -654.1               348.7               82.2           -266.5
1991            774.8             289.8             -485.0               307.5               94.0           -213.5
1992           645.5               419.9            -225.6               258.2              140.3           -117.9
1993           740.2              446.4             -293.8               295.2              148.3           -146.9
1994           743.8              548.5             -195.2               296.7              177.4           -119.3
1995           664.0               787.5             123.5               268.9              263.8             -5.0
1996           619.7              969.9              350.2               251.8              306.5             54.7
1997           634.1             1043.6              409.6               261.3              324.1             62.8
1998           705.4             1230.1              524.7               289.6              399.9            110.3
1999            827.1           1,277.1              450.0               345.9              434.3             88.4
2000           966.6            1,286.7              320.1               410.3              438.1             27.9
2001           950.7            1,559.5              608.7               404.2              528.1            123.8
2002         1,070.7            1,612.2              541.5               454.9              550.0             95.1
2003         1,185.2            1,716.7              531.5               505.3              578.2             72.9
2004         1,099.5            2,180.5            1,081.1               469.4              747.4            278.0
2005         1,023.9            2,666.1            1,642.3               436.6              905.9            469.2
2006           989.7            2,997.3            2,007.7               418.1             1017.6            599.5
2007           968.4             3,141.2           2,172.7               408.8             1052.2            643.5
2008           831.9            4,668.3            3,836.5               350.2             1566.8           1216.6
2009           833.8            4,094.1            3,260.3               356.7             1397.9           1041.2
2010*            —                  —                 —                  373.0             1425.9           1052.9
Source: 1USDA Economic Research Service, 2USDA Foreign Agricultural Service, *Paragon Economics Forecast




  China alone accounts for 50 percent of the world’s pork consumption.



                                                                                                                         Stats 105
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               World Pork Consumption

               World Per Capita Pork Consumption, Lbs., Carcass weight

              Rank Country                     2008         2009    2010    Rank Country                 2008      2009     2010
                 1 Belarus                       99.0        92.5    94.0     26 Moldova                  34.6     28.7     30.6
                 2 EU-27                         94.3        93.2    92.1     27 Philippines              29.1     29.1     30.4
                 3 China/Hong Kong               77.7        80.8    82.1     28 Panama                   24.7     26.2     29.1
                 4 Serbia                        80.0        76.7    78.7     29 Brazil                   26.8     26.9     28.0
                 5 Taiwan                        78.7        81.3    78.5     30 Uruguay                  21.6     22.7     25.1
                 6 Montenegro                    91.0        88.6    72.7     31 Dominican Republic       21.3     23.3     24.5
                 7 Switzerland                   73.8        73.4    72.5     32 Macedonia                21.4     22.4     24.5
                 8 Korea, South                  69.2        67.2    69.0     33 Cuba                     21.8     22.0     22.5
                 9 Bahamas, The                  43.4        57.3    63.9     34 Trinidad and Tobago      17.9     17.9     19.7
                10 United States                 63.8        64.6    59.9     35 Korea, North             17.1     16.7     16.8
                11 Singapore                     53.6        57.3    59.1     36 Albania                  13.4     17.6     15.0
                12 Croatia                       57.3        56.9    58.4     37 Angola                   15.3     16.0     14.8
                13 Norway                        57.5        55.8    55.1     38 Argentina                13.7     13.9     14.3
                14 Canada                        56.3        56.1    52.0     39 Georgia                  17.1     13.8     13.4
                15 Chile                         45.8        49.0    50.0     40 Armenia                  16.3     13.4     13.4
                16 Australia                     47.8        48.4    48.7     41 Kyrgyzstan               11.0     11.0     11.9
                17 Russia                        47.9        47.2    48.5     42 Guatemala                11.2     11.7     11.7
                18 Vietnam                       47.3        46.7    45.8     43 Bosnia & Herzegovina     10.1     10.5     11.4
                19 New Zealand                   44.9        47.2    45.6     44 Gabon                    13.4     13.1     11.4
                20 Japan                         43.0        42.8    42.3     45 Venezuela                11.1     10.6     10.4
                21 Netherlands Antilles          39.1        38.8    38.5     46 Honduras                  8.0      8.2      9.4
                22 Ukraine                       39.7        34.4    37.5     47 Colombia                  8.4      8.8      8.8
                23 Mexico                        32.2        35.0    34.6     48 Haiti                     9.9      8.8      8.4
                24 Ecuador                       33.7        33.3    33.9     49 South Africa              7.6      7.9      7.9
                25 Kazakhstan                    30.9        31.7    32.4     50 Jamaica                   7.9      7.0      7.7


                                                                       Turkey 2%                                 Other 5%
               World Meat
               Consumption
               Shares – 2009                                                        Chicken
                                                                                     29%
                                                                                                        Pork
                                                                                                        40%


                                                                                           Beef
                                                                                           24%




                Source: USDA Foreign Agricultural Service



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   Top 20 Markets for U.S. Pork Exports 2009 (Ranked by Quantity)

   Pork Exports, Product Weight                                            Pork Variety Meat Exports,
                                                                           Product Weight
                                      Quantity              Value                                      Quantity         Value
                                     Metric Tons            $1,000                                    Metric Tons       $1,000
  1    Japan                         400,456.4           1,498,630        1   Mexico                    175,930      158,657.2
  2    Mexico                        331,703.7             541,801        2   Hong Kong                 130,620      108,359.1
  3    Canada                        154,145.7             500,956        3   Russia                     49,114       28,610.2
  4    Russia                        100,809.8             205,551        4   Japan                      32,536       20,130.9
  5    Hong Kong                      96,218.4             176,295        5   China                      19,169       17,370.8
  6    Korea, South                   88,545.2             194,438        6   Taiwan                     17,951       14,943.1
  7    Australia                      40,566.7              91,965        7   Korea, South               19,169       14,908.2
  8    Philippines                    28,763.6              58,425        8   Canada                     11,414       13,813.2
  9    Taiwan                         27,397.3              47,462        9   Philippines                16,167       12,995.2
 10    China                          16,943.2              24,945       10   Australia                  15,027        7,158.1
 11    Honduras                       15,934.5              28,695       11   Vietnam                     4,865        4,156.2
 12    Dominican Republic             15,472.6              30,178       12   Dominican Republic          3,728        3,312.9
 13    Guatemala                       6,480.2              13,677       13   Haiti                       2,491        2,874.3
 14    Singapore                       6,137.3              13,884       14   Singapore                   2,839        1,904.8
 15    New Zealand                     5,839.6              12,562       15   Colombia                    2,580        1,777.0
 16    Cuba                            5,602.1              10,636       16   New Zealand                 2,482        1,265.6
 17    United Kingdom                  4,924.1              16,347       17   Honduras                    1,031          956.8
 18    Bahamas, The                    4,535.2              10,201       18   Guatemala                   1,193          889.7
 19    Ukraine                         4,252.1               6,180       19   Ukraine                     1,014          806.8
 20    Colombia                        4,203.2               8,197       20   Chile                       1,163          734.5
Source: Department of Commerce, U.S. Census Bureau,                      Source: Department of Commerce, U.S. Census Bureau,
        Foreign Trade Statistics                                                 Foreign Trade Statistics

      Top 10 Pork-Producing Countries                                       World Pork Export Shares – 2009

                                         Thousand Metric Tons                   Chile 3%                          Other 3%

                                            2009            2010*          China 4%
  1 China                                  48,905          50,000
  2 EU-27                                  22,159          22,250                     Brazil
  3 United States                          10,442          10,052                     12%
  4 Brazil                                   3,130           3,170                                      United States
                                                                                                             33%
  5 Russia                                   2,205           2,270
  6 Vietnam                                  1,850           1,870
                                                                                     Canada
  7 Canada                                   1,789           1,750                    20%
  8 Japan                                    1,310           1,280                                   EU-27
  9 Philippines                              1,240           1,255                                    25%
 10 Mexico                                   1,162           1,161
       Other                                 6,281           6,449
Source: USDA Foreign Agricultural Service, *2010 data are FAS forecast


      The importance of Exports to Producers
        Exports are critically important to producers. In 2009, the equivalent of one of every five hogs
      produced in the United States was exported. The value of pork and pork variety meat exports
      amounted to $36.10 per head for each hog harvested in the U.S. in 2009.




                                                                                                                                 Stats 107
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               Canadian Hog/Pork Exports

                                                                        Exports of
                          Live Exports1          Live Exports1                                                     Pork Exports1
                                                                        Live Pigs2            Total Pigs
                          (<50 kg head)         (> 50 kg head)                                                       (tonnes3)
                                                                          (head)
               1976                                                        44,984                                      39,350
               1977                                                        43,347                43,347                59,456
               1978                                                       187,966               187,966                72,139
               1979                                                       131,192               131,192               101,612
               1980                                                       237,590               237,590              149,277
               1981                                                       147,344               147,344              164,354
               1982                                                      305,294               305,294                207,898
               1983                                                      459,303               459,303               201,205
               1984                                                     1,346,472             1,346,472              223,869
               1985                                                     1,152,442             1,152,442              250,806
               1986                                                       512,183               512,183              271,898
               1987                                                       427,591               427,591              301,086
               1988           146,963               716,588                                    863,551                301,156
               1989           170,568               835,140                                   1,005,708              253,946
               1990           204,985              684,903                                     889,888                266,159
               1991           225,856               837,781                                  1,063,637               243,001
               1992           226,308               443,861                                     670,169              275,240
               1993           280,813               556,611                                     837,424              281,934
               1994           401,541               513,002                                     914,543               290,414
               1995           650,748             1,096,003                                   1,746,751              350,565
               1996           766,974             2,010,864                                   2,777,838              373,376
               1997           987,287             2,188,633                                   3,175,920              423,242
               1998         1,466,077             2,655,872                                   4,121,949              433,023
               1999         2,083,426             2,052,625                                   4,136,051               519,587
               2000         2,335,848             2,018,517                                  4,354,365               636,646
               2001         3,168,770             2,152,298                                  5,321,068                718,703
               2002         3,757,366             1,966,268                                  5,723,634                827,379
               2003         4,974,044             2,458,173                                   7,432,217              924,344
               2004         5,623,494             2,881,478                                  8,504,972               928,382
               2005         5,416,249             2,774,218                                   8,190,467            1,030,522
               2006         6,013,546             2,749,832                                   8,763,378             1,037,267
               2007         6,720,515            3,283,802                                  10,004,317               996,985
               2008         7,036,493             2,311,411                                   9,347,904            1,094,499
               2009         5,221,439              1,143,114                                 6,364,553              1,075,181

              1 Source: Statistics Canada Red Meat Section, Agriculture and Agri-Food Canada
              2 Breakdown of exports by > or < 50 kg not available prior to 1988
              3 1976-1987 weight of exports is on a dressed carcass basis, whereas 1988 onward is an actual shipped weight




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  Canadian Pork Exports – Dressed Carcass Basis

         1,200,000,000

         1,000,000,000

              800,000
Tonnes




              600,000

              400,000

              200,000

                     0
                         1976

                                1978

                                       1980

                                              1982

                                                     1984

                                                            1986

                                                                   1988

                                                                          1990

                                                                                 1992

                                                                                        1994

                                                                                               1996

                                                                                                      1998

                                                                                                             2000

                                                                                                                    2002

                                                                                                                           2004

                                                                                                                                  2006

                                                                                                                                          2008
    Source: Statistics Canada




  Canadian Live Hog Exports

         1,200,000,000

         1,000,000,000                    Live Exports < 50 kg*
                                          Live Exports > 50 kg*
              800,000
                                          Total Exports
Head




              600,000

              400,000

              200,000

                     0
                         1976

                                1978

                                       1980

                                              1982

                                                     1984

                                                            1986

                                                                   1988

                                                                          1990

                                                                                 1992

                                                                                        1994

                                                                                               1996

                                                                                                      1998

                                                                                                             2000

                                                                                                                    2002

                                                                                                                           2004

                                                                                                                                  2006

                                                                                                                                         2008




    Source: Statistics Canada
    * No data before 1988




                                                                                                                                                 Stats 109
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           Canadian Hog Inventory (January 1 of each year)

                        16,000

                        14,000                   East                 West              Total
                        12,000
        Thousand Head




                        10,000

                         8,000

                         6,000

                         4,000

                         2,000

                              0
                                  1976

                                         1978

                                                1980

                                                        1982

                                                               1984

                                                                       1986

                                                                              1988

                                                                                     1990

                                                                                            1992

                                                                                                   1994

                                                                                                          1996

                                                                                                                 1998

                                                                                                                        2000

                                                                                                                               2002

                                                                                                                                      2004

                                                                                                                                             2006

                                                                                                                                                    2008

                                                                                                                                                           2010
        Source: Statistics Canada


                      Canada has long had a vibrant pork industry that has for              of whether that sale is to a packing plant in the U.S. or one in
                   many years depended heavily on exports. With a population                Canada.
                   of only 32.6 million people who now eat just slightly less pork             About half of Canadian pork producers’ production costs
                   per capita than their U.S. neighbors, Canada has a domestic              (primarily feed) rose due to the cheaper Canadian dollar. The
                   market for only about 1.9 billion pounds of carcass-weight               weaker dollar thus caused all revenue to rise but only about
                   pork per year. In 2009, Canada produced a record 4.30 billion            half of costs to rise, meaning Canadian producers saw higher
                   pounds, carcass-weight, and exported 2.37 billion pounds,                profits as the Canadian dollar weakened. They responded quite
                   slightly less than 2008’s record exports of 2.41 billion pounds.         logically by increasing the breeding herd and output.
                      Canada also exported 6.4 million live hogs to the United                 But conditions have changed dramatically since 2002. The
                   States for feeding and/or harvest in 2009. Of the 6.4 million            Canadian dollar has strengthened by as much as 70 percent,
                   head, 5.22 million were feeder pigs (about 45 lbs.) or weaned pigs       reaching a high of $1.07U.S. per $Canada in May of 2007 and
                   (10 to 12 lbs.) that were subsequently fed to market weight in the       spending much of 2010 near par with the U.S. dollar. This
                   United States. The other 1.14 million head were market-weight            increase reduced 100 percent of Canadian producers’ income
                   hogs or culled sows and boars headed for U.S. packing plants.            while reducing only about 50 percent of their costs – thus
                      Canada’s pork industry grew rapidly from 1995 to 2004. It’s           driving profits lower. Canadian producers have also had to deal
                   breeding herd grew by over 50 percent, litters farrowed (born)           with the same higher grain and oilseed prices that have plagued
                   grew by 70 percent and pigs born grew by 83 percent. The                 U.S. producers since late 2006.
                   larger numbers for farrowings (births) and pigs born indicate a             Canada’s breeding herd shrunk 17 percent from 1.634 million
                   dramatic increase in productivity.                                       head in January 2005 to 1.298 million head in October 2010.
                      This growth was driven by two major developments. First,              Many observers believe it will eventually decline to less than 1.2
                   the repeal of transportation subsidies on grain shipments from           million head. Canada’s contribution to U.S. hog supplies has
                   the Prairie Provinces (Saskatchewan, Manitoba and Alberta)               declined, as well. After a peak of 10.04 million head in 2007,
                   to the Pacific Coast, Ontario and Quebec drove grain prices              imports of pigs from Canada fell to 9.35 million in 2008 and 6.4
                   lower in the prairies and encouraged livestock production. Due           million in 2009.
                   to supply controls, neither the dairy nor poultry sectors could             The reduction in imports of Canadian pigs has been
                   grow, so the pork and, to a lesser degree, beef sectors took             exacerbated by the U.S. mandatory country-of-origin labeling
                   advantage of this opportunity.                                           law that went into effect in September 2008. The law made
                      Also, the Canadian dollar lost substantial value from 1997            handling pork from pigs that were either born in Canada and
                   through 2001. Canadian hog prices are simply U.S. hog prices             fed in the U.S. or born and fed in Canada more expensive and
                   converted into Canadian dollars. So, when the Canadian dollar            troublesome for U.S. packers, processors and retailers. Some
                   loses value relative to the U.S. dollar, Canadian producers              now refuse to buy pigs that originate in Canada in order to
                   see more Canadian dollars when they sell pigs – regardless               simplify product inventory and flow systems.

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                                                                           Quick Facts




   Canadian Hog/Pork Production

                     Pork          Hog              Hog        Sow Herd1
                                                                              Farrowings1    Pigs Born1
    Year         Production1    Slaughter1     Slaughter1      Jan 1 ‘000
                                                                               (number)       (number)
                   (tonnes)      (# head)     (million head)     (head)

    1976              643,187       8,969.2            8.969         562.6           579.0       5,271.6
    1977              625,980       9,037.3            9.037         627.2         1,220.0      11,042.8
    1978              721,900       9,939.5            9.940         733.1         1,486.5      13,496.0
    1979              880,840      12,000.8           12.001         911.5         1,796.0      16,329.7
    1980            1,023,780      13,977.5           13.978        1,075.9        1,842.4      16,841.8
    1981            1,015,170      13,691.9           13.692        1,071.4        1,798.0      16,285.0
    1982            1,005,920      13,458.1           13.458        1,025.6        1,798.3      16,144.9
    1983            1,029,610      13,702.5           13.703        1,037.3        1,887.3      17,054.0
    1984            1,043,770      13,886.0           13.886        1,087.1        1,961.0      17,701.9
    1985            1,088,420      14,452.0           14.452        1,068.8        1,916.9      17,441.9
    1986            1,093,920      14,398.7           14.399        1,010.3        1,938.0      17,659.9
    1987            1,121,800      14,734.6           14.735        1,020.0        2,064.2      18,842.2
    1988            1,181,620      15,438.5           15.439        1,080.4        2,114.6      19,324.8
    1989            1,177,150      15,438.8           15.439        1,076.7        2,057.3      18,818.2
    1990            1,123,850      14,682.9           14.683        1,020.6        1,986.5      18,078.8
    1991            1,096,230      14,323.1           14.323        1,020.0        2,004.7      18,539.7
    1992            1,207,700      15,468.3           15.468        1,057.7        2,002.2      18,975.4
    1993            1,194,320      15,202.5           15.203        1,079.1        1,914.2      18,386.5
    1994            1,229,380      15,475.7           15.476        1,059.1        2,045.7      19,837.8
    1995            1,275,760      15,771.2           15.771        1,128.3        2,113.4      20,665.7
    1996            1,227,760      15,177.9           15.178        1,091.3        2,104.9      20,726.6
    1997            1,256,700      15,384.6           15.385        1,136.4        2,226.3      22,089.0
    1998            1,393,610      16,942.5           16.943        1,229.0        2,480.7      24,763.1
    1999            1,563,870      18,921.1           18.921        1,250.1        2,669.4      27,022.0
    2000            1,639,980      19,684.4           19.684        1,296.5        2,766.6      28,369.8
    2001            1,731,130      20,701.8           20.702        1,360.5        2,996.4      30,837.8
    2002            1,857,180      22,139.9           22.140        1,468.0        3,147.6      32,484.9
    2003            1,880,740      22,444.4           22.444        1,526.7        3,314.3      34,392.4
    2004            1,934,740      22,872.2           22.872        1,576.1        3,482.6      36,387.6
    2005            1,918,460      22,158.9           22.159        1,597.1        3,434.8      36,231.2
    2006            1,899,660      21,619.6           21.620        1,570.1        3,329.7      35,433.4
    2007            1,906,720      21,078.3           21.078        1,545.1        3,257.4      34,891.6
    2008            1,947,830      21,534.4           21.534        1,482.5        3,158.8      33,953.4
    2009            1,945,200      21,639.1           21.639        1,371.2        2,950.4      31,903.3
    2010                                                            1,332.0

1 Source: Statistics Canada




                                                                                                           Stats 111
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              Grain Usage for Pork Production –
              Total Corn and Soybeans Fed to Hogs from 2000–2010



                                    1200



                                    1000



                                     800
              Millions of Bushels




                                     600



                                     400



                                     200



                                      0
                                           2000   2001   2002   2003   2004   2005    2006   2007   2008   2009   2010
                                                                                                                  (est)

                                                                   Corn              Soybeans
                     Source: Paragon Economics, Inc.




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Typical Market Pig Today



  Typical Market Pig                                           Carcass Breakdown
  Live weight (pounds).................265.0
                                                                                          Retail Other      Carcass
  Carcass weight (pounds) ..........200.0                                                 Pork* Products     Total
  Backfat, 10th rib (inches) ..............0.7
                                                              Ham (50.7 lbs.)
  Loin-eye area (square inches) .......6.6                     Cured ham                   28.5
  Fat-free lean (percent.) ...............54.0                 Fresh ham                    2.3
                                                               Trimmings                    5.8
  Pounds of lean meat ................108.0                    Skin, fat, bone                     14.1
                                                              Total                        36.6    14.1       50.7
  A 265 lb. Live Pig…                                         Loin (46.0 lbs.)
                                                               Backribs                     3.5
                                                               Boneless loin               16.0
                                                               Sirloin roast                6.2
                                                               Tenderloin                   2.0
                                                               Trimmings                   13.0
                                                               Fat and bone                         5.3
                                                              Total                        40.7     5.3       46.0

                                                              Side (28.1 lbs.)
                                                               Cured bacon                 15.4
                                                               Spare ribs                   7.6
                                                               Trimmings                    4.1
                                                               Fat                                  1.0
                                                              Total                        27.1     1.0       28.1
  Produces a 200 lb. Carcass
                                                              Boston Butt (21.4 lbs.)
                                                               Blade steaks                 5.9
                                                               Blade roast                 10.5
                                                               Trimmings                    2.1
                                                               Fat                                  2.9
                                                              Total                        18.5     2.9       21.4

                                                              Picnic (21.6 lbs.)
                                                               Boneless picnic meat        15.5
                                                               Skin, fat, bone                      6.1
                                                              Total                        15.5     6.1       21.6

                                                              Miscellaneous (32.2 lbs.)
                                                               Jowls, feet, tail,
                                                                 neckbones, etc            12.6
                                                               Fat, skin, bone                     17.6
                                                               Shrink and loss                      2.0
                                                              Total                        12.6    19.6       32.2

                                                              Total                       151.0    49.0      200.0

                                                              * Retail cuts on semi-boneless basis. Fully boneless
                                                                would show lower retail weights.
                                                              Source: National Pork Board



  Figures are averages taken from actual cutting tests. Carcass data vary, depending
  on cutting method and type of pig.




                                                                                                                      Stats 113
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              Wholesale USDA Prices for Pork Sub-primals

                                                                                          2009 Annual        2010 Annual
                                                                                            Average            Average          Year-to-Year
              Cut                             Description                                  (dollars per       (dollars per     Percent Change
                                                                                             pound)             pound)
              Butt                            1/4˝ trimmed butt, 5-10 lbs.                   0.73                0.94                 29%
              Primal, various styles –        1/4˝ trimmed steak ready butt                  0.82                0.99                 21%
              10% of carcass                  1/8˝ trimmed steak ready butt                  0.89                1.09                 22%
                                              1/4˝ trimmed Loin, under 21 lbs.               0.93                1.16                 25%
                                              1/8˝ trimmed Loin, under 21 lbs.               1.03                1.25                 22%
                                              Loins, bone-in, center-cut, tender in          1.29                1.56                 21%
              Loin
                                              Boneless loin, center-cut, strap on            1.23                1.54                 26%
              Primal, various styles –
                                              Boneless loin, center-cut, strap off           1.38                1.68                 21%
              25% of carcass
                                              Boneless sirloin, 0.75-1.5 lbs.                0.99                1.17                 18%
                                              Tenderloin, under 1.25 lbs.                    2.23                2.38                  7%
                                              Loin Backrib, boxed, 2.00 lbs. and over        2.49                2.52                  1%
                                              Bone-in ham, trimmed, 17-20 lbs.               0.53                0.75                 41%
              Ham                             Bone-in ham, trimmed, 20-23 lbs.               0.52                0.78                 50%
              Primal, various styles –        Bone-in ham, trimmed, 23-27 lbs.               0.51                0.76                 49%
              25% of carcass                  Boneless ham, 4 muscle                         0.97                1.34                 37%
                                              Boneless ham, 5 muscle                         0.94                1.30                 37%
              Picnic                          Smoker trim picnic, combo box                  0.47                0.70                 48%
              Primal, various styles –        Boneless picnic meat, 72%, fresh               0.54                0.85                 56%
              11% of carcass                  Picnic cushion meat, 92%, combo                0.89                1.14                 28%
              Trim Primal, various styles –   42% lean pork trim, fresh                      0.27                0.47                 78%
              10-30% of carcass               72% pork trim, fresh                           0.43                0.78                 82%
              Spareribs                       3 bag/3 Pcvac 4.25 lbs. and under              1.03                1.34                 31%
              Primal, various styles –        3 bag combos, 4.25 lbs. and under              0.93                1.29                 39%
              5% of carcass                   2 bag/3 Pcvac over 4.25 lbs.                   1.03                1.28                 25%
              Belly                           Pork belly, skin-on, trimmed, 12-14 lbs.       0.71                1.21                 69%
              Primal, various styles –        Pork belly, skin-on, trimmed, 14-16 lbs.       0.74                1.14                 55%
              16% of carcass                  Pork belly, skin-on, trimmed, 16-18 lbs.       0.69                1.13                 64%




                                                                                   Loin 25%
                                                  Butt 10%

                                                                         Sparerib                                        Ham
                                                                           5%                                            25%
                                                                                             Belly 16%
                                         Jowl         Picnic
                                          2%           11%




                 Neckbones, Tail
                and Cutting Loss                                                     Feet 2%
                      4%




              Note: Primal yields include trim, fat, skin, bone, shrink. Total yields do not calculate to 100% due to other products derived from
              carcass (jowl, neckbones, tail, feet, cutting loss). Trim yield is approximate due to various styles of cutting primals.
              Source: Steiner Consulting Group.




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Glossary
Agronomy – branch of agriculture dealing with crop
   production and soil management
AI – artificial insemination; mechanical insertion of
    semen into the female’s reproduction tract
All-in/all-out production – production system where
    animals are moved in and out of facilities in distinct
    groups to help reduce the spread of disease; facilities
    are normally cleaned and disinfected thoroughly
    between groups
Animal welfare – The American Veterinary Medical              CAFO – confined animal feed operation
   Association (AVMA) has defined animal welfare as           Carbon cycle – the movement of carbon between
   “a human responsibility that encompasses all aspects          its main reservoirs (atmosphere, ground surface,
   of animal well-being, including proper housing,               including fresh surface water, ocean and sediments)
   management, nutrition, disease prevention and
                                                              Carbon footprint – a measure of an entity’s impact
   treatment, responsible care, human handling and,
                                                                 on the environment in terms of the amount of
   when necessary, humane euthanasia.”
                                                                 greenhouse gas emissions it produces; usually
Antibiotic – a chemical substance produced by a                  measured in units of carbon dioxide.
   microorganism that has the capacity to inhibit the
                                                              Carcass – the two sides of the same processed animal
   growth of or to kill other microorganisms
                                                              Case-ready – meat that is pre-packaged by the
Antimicrobial – an agent that kills bacteria or
                                                                 processor for immediate display in the meatcase
   suppresses their multiplication or growth; includes
   antibiotics and synthetic agents                           Cold storage – the system whereby meat is stored
                                                                  under refrigeration or in the frozen state for a period
Aquifer – layer of permeable rock, sand or gravel that
                                                                 of time to provide flexibility in the marketing of
   contains or conducts groundwater indicator of the
                                                                 various products; not intended to take the heat out
   overall fat content of the animal; used in selecting
                                                                 of products but rather maintain their previous cold
   breeding stock and in grading carcasses
                                                                 state achieved before entering the facility. Stocks of
Barrow – a male hog that has been castrated                      various products in cold storage may fluctuate during
Balanced diet – feed that has all the nutrients an               the year depending upon the supply and demand for
   animal needs to stay healthy and grow normally                that product. For instance, hams are collected in cold
                                                                 storage throughout the fall in anticipation of the huge
Belly – lower side of a hog remaining after the loin and         demand for hams during the Christmas season.
   spareribs are removed; used to make bacon
                                                              Confinement – modern hog facility where hogs are
Biosecurity program – a program to help prevent                 raised indoors
   diseases from being spread between herds; the
   program isolates animals, controls human traffic           Conservation plan – a combination of land uses and
   in and around the operation and includes facilities          practices to protect and improve soil productivity and
   sanitation                                                   to prevent soil deterioration

Boar – intact male pig; used for breeding                     Consumption – the total amount of a product
                                                                consumed. Note: No direct measurement of meat
Boston butt – upper part of the pork shoulder                   consumption is available, so for pork and other
Breeding herd – boars and females in gestation,                 meats, consumption is assumed to equal other
   breeding and farrowing stages of production                  disappearance.




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          Contract production – a business model in which            Effluent – the liquid layer of manure after solids have
            one or more phases of the pig production enterprise          settled out, such as in a lagoon
            is performed by a person or company (a “grower”)         Estrus – period during which a gilt or sow is receptive to
            that does not own the pigs; growers provide land,           mating and during which ovulation occurs
            buildings, labor, utilities and waste management
            services in return for a per pig or per pig space fee    Estrous female – a gilt or sow in estrus
          Conventional buildings – totally enclosed housing          Euthansia – the humane death of an animal occurring
            facility where the environment (temperature,                without pain or distress
            humidity and lighting) and manure disposal is            Farrow – to give birth to piglets
            typically automated; automated heating, cooling and
                                                                     Farrowing – the process of birthing for swine
            ventilation equipment is used to ensure the pig’s
            health and access to feed and water
          Cross-fostering – the practice of placing piglets from
             mothers with too many piglets to feed adequately
             to mothers with extra udder space; done preferably
             within the first hours after birth after piglets have
             consumed colostrum
          Crude protein – chemically analyzed protein content
             in a given feed
          Cut-out value – the weighted average value of all
             wholesale cuts in a pig carcass
          Demand – the quantities of a good consumers are
            willing and able to purchase at alternative prices       Farrow-to-finish operation – a production system
                                                                        that contains all production phases, from breeding to
          Deep pit – pit under a hog barn used to temporarily           gestation to farrowing to nursery to grow-finishing to
            store manure; typically below a slotted floor               market
                                                                     Feed efficiency (or feed conversion ratio) – the
          Disappearance, other – the amount of production
                                                                        amount of feed a pig consumes to gain one unit
             that cannot be accounted for by uses where the
                                                                        of body weight; the smaller the amount, the more
             quantity is known
                                                                        efficient the pig
             For pork, other disappearance is determined by:         Feeder pig – a young pig weighing 30 and 90 pounds
                                                                     Feeder pig operation – a production system where
             Beginning inventory (a known quantity, USDA                pigs are sold out of the nursery phase to a finishing
                 Cold Storage Report)                                   operation to grow them to market weight
             + Production (a known quantity, USDA Livestock
                 Slaughter)                                          Finish – to feed a pig until it reaches market weight
             + Imports (a known quantity, U.S. Department of         Finisher pig – a pig that is beyond the feeder stage being
                 Commerce and USDA FAS)                                  raised for sale
                                                                     Finishing operation – an operation that purchases
             = Total supply                                              feeder pigs and feeds them to market weight
                                                                     Gestation – pregnancy; 112-114 days in length for pigs
             - Exports (a known quantity, U.S. Department of         Gilt – young female that has not farrowed her first litter
                  Commerce and USDA FAS)
             - Ending inventory (a known quantity, USDA Cold         Greenhouse gases (GHG) – Gases that accumulate
                  Storage Report)                                       infrared radiation in the atmosphere resulting in
                                                                        climate change. Some result from natural processes
                                                                        while others are generated only through human
              = Other Disappearance                                     activities.



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Greenhouse gas emissions – A term that describes              Lagoon – a biological
   greenhouse gases emitted into the atmosphere by an            treatment system
   activity, a process, an individual or an organization.        designed and operated
   Also known as carbon emissions.                               for biodegradation,
Grower pig – a young pig weighing between about 50               or converting organic
   and 200 pounds                                                matter to a more
                                                                 stable end product;
Ham – cured and smoked meat from the hind leg of                 lagoons may be
  pork, excluding the shank                                      anaerobic, aerobic or
Hand mating – an individual female that is ready to be           facultative
  bred is exposed to an individual boar in a small pen        Litter – the group of pigs born to a sow during one
  for mating, under the supervision of the producer               farrowing; normally 8-12 pigs per litter
Harvest – the process of animals being harvested for food     Loin – wholesale cut of pork that is comprised of the
   usage. There are two measures in the U.S. Federally           spine and associated muscles between the shoulder
   inspected (FI) slaughter is the number of animals             and the ham
   harvested in plants that are subject to inspection by
   USDA Food Safety Inspection Service. Commercial            Market-weight pigs – pigs that have reached 240 to
   slaughter/ harvest includes FI slaughter and the harvest     280 pounds
   that occurs in state-inspected facilities                  Mating – breeding an estrous gilt or sow
Hoop structure – low-cost, uninsulated and naturally          Meat breeds – breeds used in boar lines in cross-
  ventilated hoop-shaped production building; the floor         breeding schemes; include Hampshire, Duroc, Poland
  is usually earthen and typically bedded with straw or         China, and Pietrain
  cornstalk                                                   Mother breeds – used in maternal lines in cross-
Immunization – the process of rendering a subject               breeding schemes; include Yorkshire, English Large
  immune or of becoming immune, either by                       White, Landrace, and Chester White
  conventional vaccination or exposure to disease             Necropsy – post-mortum excamination of a pig; used as
Intact pigs – male pigs that have not been castrated but        a veterinarian diagnostic tool
    have not been kept for breeding purposes                  Non-productive sow days – days a sow is neither
Lactating – period when a sow provides milk to her pigs         lactating or gestating
                                                              Niche pork production – supplying unique pork
                                                                 and pork products in a way that specific customer
                                                                 segments prefer or value; does not use traditional
                                                                 commodity market channels and does not necessarily
                                                                 mean “small”
                                                              Nursery pig – the growth phase from weaning until pigs
                                                                 enter the feeder phase
                                                              Nursing pig – any pig not yet weaned
                                                              Offal – entrails and internal organisms of an animal
                                                                 used for food
                                                              Pasture system – a pork production system in which
                                                                 pigs are housed in large paddocks containing grass
                                                                 or legume forages; housing is usually limited to
                                                                 primitive, portable, open front buildings that are
                                                                 manually ventilated and bedded with straw, corn
                                                                 stalks or other materials as needed




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                                                                       Picnic – a wholesale cut of pork comprised of
                                                                          the lower portion of the shoulder and front leg
                                                                       Pig – term usually applied to young, immature swine
                                                                       Piglet – newborn pigs
                                                                       Piglet – the number of pigs produced by a given number
                                                                          of sows; usually expressed as the percent of pigs
                                                                          weaned to sows bred
                                                                       Production – the number of pounds of a specific meat
                                                                          produced; determined by the number of animals
                                                                          slaughtered/ harvested and the average weight of the
                                                                          animals; usually measured in carcass weight for pork
                                                                          and beef, and in ready-to-cook weight for poultry
                                                                       Segregated Early Weaning (SEW) – removal of pigs
                                                                          from mother at 10 - 14 days of age in order to reduce
                                                                          disease transmission from the mother to her offspring
                                                                       Service – breeding, or the deposition of boar semen
                                                                          into the female; may be done naturally by a boar or
                                                                          artificially by the manager using semen obtained from
                                                                          a local boar or purchased from a supplier
                                                                       Sirloin – the distal (rearward) end of the loin.
                                                                       Sludge – a layer of settled solids found in manure
                                                                          storage; primarily accumulated in lagoons
          Parity – the condition of having given birth or, for sows,   Slurry – manure with a consistency of 5-10 percent dry
             farrowed; second-parity sows have farrowed two               matter handled by some liquid storage systems
             litters, third-parity sows three litters, etc.            Sow – female pig that has farrowed at least one litter
          Pen mating – boar is placed in a pen with a group of         Supply – the quantities of a good which producers are
             sows to allow for breeding                                   willing and able to sell at alternative prices.
          Per capita consumption – total consumption of                Tenderloin – the muscle that lies on both sides of the
             a good divided by total U.S. population; can be              spine against the ribs at the distal end of the loin
             measured on three different weight bases
                                                                       Tilth – the workability of soil
              Carcass weight - the weight of pork in carcass form
                after evisceration, de-hairing and removal of          Wean – to separate young pigs from the sow
                the head and internal fat. The most appropriate        Weaner pig – pigs from weaning up to about 40 pounds
                measure of pork produced by packing plants.
                                                                       Yield – amount of salable retail cuts that can be obtained
              Retail weight - the estimated weight of the retail          from a carcass
                cuts that comes from a carcass. USDA currently
                estimates that one pound of carcass weight pork
                yields 0.762 pounds of retail weight pork. This is
                the most appropriate estimate of pork purchased
                by consumers.
              Boneless equivalent - the estimated weight of
                boneless pork that comes from a carcass. USDA
                currently estimates that one pound of retail weight
                pork yields 0.96 pounds of boneless pork. This
                is the most appropriate estimate of pork actually
                eaten by consumers.




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For More Information…
Pork Checkoff                         Arkansas Pork Producers          Hawaii Pork Industry         Kentucky Pork Producers
                                      Association                      Association                  Association
Contact the National Pork
                                      Jerry Masters                    Elliot Telles                Bonnie Jolly
Board, which oversees the Pork
                                      625 Buck Mountain Rd             1654 Kaumoli St              1110 Hawkins Dr
Checkoff, for more information
                                      Dover, AR 72837                  Pearl City, HI 96782         Elizabethtown, KY 42701-0607
about Checkoff-funded research,
                                      (479) 331-9708                   (808) 668-8921               (270) 737-5665
eduation and promotion
                                      (877) 444-7675                   jayshog@hawaii.rr.com        kypork@bbtel.com
programs.
                                      arkpork@yahoo.com
                                      www.arpork.org                   Idaho Pork Producers         Louisiana Pork Producers
National Pork Board
                                                                       Association                  Association
1776 NW 114th St.
                                      California Pork Producers        Bonnie Hanson                Chip LeMieux
Des Moines, IA 50325
                                      Association                      6770 Happy Valley Rd.        319 W Claude St
(515) 223-2600
                                      Lesa Carlton                     Kuna, ID 83634               Lake Charles, LA 70605
                                      1225 H St Ste 106                (208) 880-2316               (337) 475-5691
Pork Checkoff Service
                                      Sacramento, CA 95814             Idahopigs@gmail.com          clemieux@mcneese.edu
Center
                                      (916) 447-8950                                                www.laporkproducers.com
(800) 456-7675
                                      lesa@calpork.com                 Illinois Pork Producers
                                      www.calpork.com                  Association                  Maine Hog Growers
                                                                       Jim Kaitschuk                Association
State Associations                    Colorado Pork Producers          6411 S 6th St Rd             Clark Souther
                                      Council                          Springfield, IL 62712-6817   161 Souther Rd
The Pork Act requires that a          Ivan Steinke                     (217) 529-3100               Livermore Falls, ME 04254-4227
percentage of the Checkoff funds      822 7th St                       ijim@ilpork.com              (207) 931-7706
collected each year be returned       Greeley, CO 80631                www.ilpork.com               clsouther@myfairpoint.net
to the state pork producer            (970) 378-0500 x12                                            www.katahdinoutdoors.com/
associations. On average, about 20    isteinke@coloradolivestock.org   Indiana Pork                 mainepork
percent of producer and importer                                       Mike Platt
Checkoff receipts are returned to     Delaware Pork Producers          5722 W 74th St               Maryland Pork Producers
states and used for state Checkoff-   Association                      Indianapolis, IN 46278       Association
funded projects. Contact              John Tigner                      (317) 872-7500 x1            Lynne Hoot
information for the 44 state pork     2582 Arthursville Rd             mplatt@inpork.org            53 Slama Rd
associations as of Jan. 15, 2011      Hartly, DE 19953-3239            www.indianapork.com          Edgewater, MD 21037-1423
was as follows.                       (302) 242-4315                                                (410) 956-5771
                                      tignerfarms@yahoo.com            Iowa Pork Producers          lynnehoot@aol.com
Alabama Pork Producers                                                 Association
Guy Hall                              Florida Pork Improvement         Rich Degner                  Michigan Pork Producers
PO Box 11000                          Group                            1636 NW 114th St             Association
2108 East South Boulevard             Frankie Hall                     Clive, IA 50325-7071         Sam Hines
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(334) 612-5181                        Gainesville, FL 32614-7030       (800) 372-7675               Holt, MI 48842-1000
(800) 392-5705 1x5181                 (352) 374-1542                   rdegner@iowapork.org         (517) 699-2145
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www.alabamaporkproducers.org                                                                        www.mipork.org
                                      Georgia Pork Producers           Kansas Pork Association
Arizona Pork Council                  Association                      Tim Stroda
Tom Miller                            Charles Griffin                  2601 Farm Bureau Rd
1102 E Avenida Grande                 PO Box 272                       Manhattan, KS 66502-3066
Casa Grande, AZ 85222-1004            Camilla, GA 31730                (785) 776-0442
(520) 836-0050                        (229) 336-7760                   tims@kspork.org
tmiller0050@yahoo.com                 gapork@camillaga.net             www.kspork.org
                                      www.gapork.org




                                                                                                         Names and Numbers       119
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        Minnesota Pork Board           New York                   Pennsylvania Pork           Virginia Pork Industry
        Dave Preisler                  Pork Producers             Producers Council           Association
        151 Saint Andrews Ct Ste 810   Cooperative Inc            Amy Bradford                John Parker
        Mankato, MN 56001              Jamie Mesmer               Northwood Office Center     102 Governor St Rm 316
        (507) 345-8814                 PO Box 124                 2215 Forest Hills Drive     Richmond, VA 23219-3642
        david@mnpork.com               Fayette, NY 13165          Suite 39                    (804) 786-7092
        www.mnpork.com                 (315) 730-2066             Harrisburg, PA 17112-1099   john.parker@
                                       newyorkporkproducers@      (717) 651-5923              vdacs.virginia.gov
        Mississippi Pork               yahoo.com                  ABradford@pennag.com
        Producers Association                                                                 Washington Pork
        Mark Crenshaw                  North Carolina Pork        South Carolina              Producers
        PO Box 9815                    Council Inc                Pork Board                  Don VanTine
        Mississippi State, MS 39762-   Deborah Johnson            Chad Truesdale              2001 VanTine Rd
        9815                           2300 Rexwoods Dr Ste 340   PO Box 11280                Garfield, WA 99130-9768
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        markc@ext.msstate.edu          (919) 781-0361             (803) 734-2218              dvantine@colfax.com
                                       deborah@ncpork.org         ctruesd@scda.sc.gov
        Missouri Pork Producers        www.ncpork.org                                         West Virginia Pork
        Association                                               South Dakota Pork           Producers
        Don Nikodim                    North Dakota Pork          Producers Council           Jack Yokum
        6235 W Cunningham Dr           Council                    Glenn Muller                HC 32 Box 418
        Columbia, MO 65202-9162        Charlotte Meier            500 N Western Ave Ste 500   Petersburg, WV 26847-9612
        (573) 445-8375                 9905 66th St SW            Sioux Falls, SD 57104       wvporkpc@frontiernet.net
        don@mopork.com                 Regent, ND 58650           (605) 332-1600
        www.mopork.com                 (701) 563-4513             gmuller@sdppc.org           Wisconsin Pork
                                       ndpork@ndsupernet.com                                  Association
        Montana Pork Producers                                    Tennessee Pork              Mike Wehler
        Council                        Ohio Pork Producers        Producers Association       Hwy C
        Anne Miller                    Council                    Phyllis Ferguson            Plain, WI 53577
        PO Box 485                     Dick Isler                 13994 Versailles Rd         (608) 723-7551
        Jordan, MT 59337               5930 Sharon Woods Blvd     Rockvale, TN 37153          mikewhlr@chorus.net
        (406) 557-2982                 Ste 101                    (615) 274-6533              www.wppa.org
        mtpork@midrivers.com           Columbus, OH 43229-2666    porkpromotn@tds.net
                                       (614) 882-5887                                         Wyoming Pork Producers
        Nebraska Pork Producers        (800) 320-7991             Texas Pork Producers        Anne Miller
        Association Inc                disler@ohiopork.org        Association                 Phone: (406) 557-2980
        Larry Sitzman                  www.ohiopork.org           Ken Horton                  mtpork@midrivers.com
        7441 O Street Ste 104                                     PO Box 10168
        Lincoln, NE 68510              Oklahoma Pork Council      8500 Shoal Creek Blvd.
        (402) 472-2563                 Roy Lee Lindsey            Bldg 4 Suite 120
        larry@nepork.org               One North Hudson Ste 900   Austin, TX 78757
                                       Oklahoma City, OK 73102    (512) 453-0615
        Nevada Pork Producers          (405) 232-3781             (800) 501-7675
        Association                    (888) 729-7675             ken@texaspork.org
        Dave Louk                      rllindsey@okpork.org       www.texaspork.org
        PO Box 493                     www.okpork.org
        Winnemucca, NV 89446-0493                                 Utah Pork Producers
        (775) 623-0199                 Oregon Pork Producers      Association
        louk@winnemucca.net            Association                Haven Hendricks
                                       Lee Letsch                 55 E 200 N
        New Hampshire Pork             14600 Salt Creek Rd        Providence, UT 84332-9605
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